     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 1 of 282. PageID #: 147




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

THE BOARD OF COUNTY COMMISSIONERS )
OF THE COUNTY OF FORD,            )
STATE OF KANSAS,                  )
                                  ) CASE NO. 6:20-cv-1262
           Plaintiff,             )
                                  )
     v.                           )
                                  ) STATE COURT RECORDS
ALLERGAN PLC, et al.,             )
                                  )
           Defendants.            )
                                  )

       Pursuant to Local Rule 81.2, Defendants Johnson & Johnson and Janssen Pharmaceuticals,

Inc. submit herewith a complete copy of all records and proceedings had in the state court.

                                                 Respectfully submitted,


                                                 /s/ Sandra J. Wunderlich
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                                                 Pharmaceuticals, Inc. n/k/a Janssen
                                                 Pharmaceuticals, Inc., Janssen
                                                 Pharmaceutica, Inc. n/k/a Janssen
                                                 Pharmaceuticals, Inc., and Johnson &
                                                 Johnson
     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 2 of 282. PageID #: 148




                                    PROOF OF SERVICE

        I hereby certify that on September 29, 2020, a copy of the foregoing State Court Records

was served via electronic mail, and via First Class U.S. Mail, postage prepaid to the following:
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                                                 Respectfully submitted,


                                                 /s/ Sandra J. Wunderlich
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                                                 Pharmaceuticals, Inc., Ortho-McNeil Janssen
                                                 Pharmaceuticals, Inc. n/k/a Janssen
                                                 Pharmaceuticals, Inc., Janssen Pharmaceutica,
                                                 Inc. n/k/a Janssen Pharmaceuticals, Inc., and
                                                 Johnson & Johnson



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   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 3 of 282. PageID #: 149
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                                  CLERK OF THE FORD COUNTY DISTRICT COURT
                                        CASE NUMBER: 2020-CV-000090




           IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                     SIXTEENTH JUDICIAL DISTRICT

THE BOARD OF COUNTY
COMMISSIONERS OF THE COUNTY
OF FORD, STATE OF KANSAS,

           Plaintiff,

     vs.

ALLERGAN PLC

ALLERGAN USA, INC.

ACTAVIS, INC.                             Case No. ________________________

WATSON PHARMACEUTICALS, INC.
n/k/a ACTAVIS, INC.

WATSON LABORATORIES, INC.

ACTAVIS LLC

ACTAVIS PHARMA, INC. f/k/a
WATSON PHARMA, INC.

TEVA PHARMACEUTICAL
INDUSTRIES, LTD.

TEVA PHARMACEUTICALS USA,
INC.

CEPHALON, INC.

ENDO HEALTH SOLUTIONS INC.

ENDO PHARMACEUTICALS, INC.

PAR PHARMACEUTICAL
COMPANIES, INC.

PAR PHARMACEUTICALS, INC.

JANSSEN PHARMACEUTICALS, INC.

 ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. n/k/a
JANSSEN PHARMACEUTICALS, INC.


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   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 4 of 282. PageID #: 150




JANSSEN PHARMACEUTICA, INC.
n/k/a JANSSEN PHARMACEUTICALS,
INC.

JOHNSON & JOHNSON

MALLINCKRODT, PLC.

MALLINCKRODT LLC

SPECGX LLC

MYLAN N.V.

MYLAN PHARMACEUTICALS, INC.

MYLAN INSTITUTIONAL, INC.

HIKMA PHARMACEUTICALS USA
INC. f/k/a WEST-WARD
PHARMACEUTICALS CORP.

JOHN KAPOOR, an individual

MICHAEL BABICH, an individual

AMERISOURCEBERGEN
CORPORATION

AMERISOURCEBERGEN DRUG
CORPORATION

MCKESSON CORPORATION

MCQUEARY BROS. DRUG COMPANY,
LLC

CARDINAL HEALTH, INC.

CARDINAL HEALTH 5, LLC

CARDINAL HEALTH, 100, INC.

CARDINAL HEALTH 110, LLC

CARDINAL HEALTH 122, LLC

CARDINAL HEALTH 132, LLC



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    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 5 of 282. PageID #: 151




CARDINAL HEALTH 200, LLC

CARDINAL HEALTH 414, LLC

CARDINAL HEALTH PHARMACY
SERVICES, LLC

NOVARTIS PHARMACEUTICALS
CORPORATION f/k/a SANDOZ, INC.

WALGREEN CO.

WALGREEN CO. dba WALGREENS
#7817

WALMART INC.

WAL-MART STORES EAST, LP

WAL-MART STORES EAST, LP dba
WALMART SUPERCENTER #372

KROGER LIMITED PARTNERSHIP I

DILLON COMPANIES, LLC

DOES 1 through 1000,

             Defendants.


                              PETITION FOR DAMAGES
                 [Pursuant to Chapter 60 of the Kansas Statutes Annotated]

      Plaintiff The Board of County Commissioners of the County of Ford, State of Kansas brings

this civil action against Defendants ALLERGAN PLC; ALLERGAN USA, INC.; ACTAVIS PLC;

ACTAVIS, INC.; WATSON PHARMACEUTICALS, INC. n/k/a ACTAVIS, INC.; WATSON

LABORATORIES, INC.; ACTAVIS LLC; ACTAVIS PHARMA, INC. f/k/a WATSON PHARMA,

INC.; TEVA PHARMACEUTICAL INDUSTRIES, LTD.; TEVA PHARMACEUTICALS USA,

INC.; CEPHALON, INC.; ENDO HEALTH SOLUTIONS INC.; ENDO PHARMACEUTICALS,

INC.; PAR PHARMACEUTICAL COMPANIES, INC.; PAR PHARMACEUTICALS, INC.;
JANSSEN PHARMACEUTICALS, INC.; ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS,


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     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 6 of 282. PageID #: 152




INC. n/k/a JANSSEN PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICA, INC. n/k/a

JANSSEN PHARMACEUTICALS, INC.; JOHNSON & JOHNSON; MALLINKRODT, PLC;

MALLINKRODT LLC; SPEC GX LLC; NOVARTIS PHARMACEUTICALS CORPORATION

f/k/a SANDOZ, INC.; MYLAN INSTITUTIONAL, INC.; HIKMA PHARMACEUTICALS USA

INC. f/k/a WEST-WARD PHARMACEUTICALS CORP.; JOHN KAPOOR; MICHAEL BABICH;

AMERISOURCEBERGEN                 CORPORATION;             AMERISOURCEBERGEN                 DRUG

CORPORATION;         MCKESSON CORPORATION; MCQUEARY                          BROTHERS        DRUG

COMPANY, LLC; CARDINAL HEALTH, INC.; CARDINAL HEALTH 5, LLC; CARDINAL

HEALTH, 100, INC.; CARDINAL HEALTH 110, LLC; CARDINAL HEALTH 122, LLC;

CARDINAL HEALTH 132, LLC; CARDINAL HEALTH 200, LLC; CARDINAL HEALTH 414,

LLC; CARDINAL HEALTH PHARMACY SERVICES, LLC; KROGER LIMITED

PARTNERSHIP II; WALGREEN CO.; WALMART INC.; WAL-MART STORES EAST LP;

DILLON COMPANIES, LLC; and DOES 1 through 1000, states and alleges as follows.

I.     INTRODUCTION

       1.      Opiates1 are killing people every day in this country and Kansans have not been

spared. Each of the Defendants in this action engaged in an industry-wide effort to downplay the

addictive and deadly potential effects of the misuse of prescription opioids. The opioid epidemic has

hit every community in Kansas hard, including Ford County. The Board of County Commissioners

of the County of Ford, State of Kansas (hereinafter referred to as “Ford County,” the “County,” or

“Plaintiff”) brings this Amended Petition for Damages (“Petition”) seeking redress for the societal

and financial damage it has suffered at the hands of those directly responsible for the crisis—the

manufacturers, distributors, prescribers, and dispensers of prescription opioids.

       1
           The term “opiate” technically refers only to chemicals that occur naturally in the opium
plant, including morphine, codeine, thebaine and papaverine. “Opioid,” by contrast, refers instead to
compounds that have the same effect as opiates but do not occur naturally in the opium plant, such as
heroin, oxycodone, hydrocodone, hydromorphone and oxymorphone (“semi-synthetic” opioids) as
well as methadone, fentanyl, meperidine and tramadol (“synthetic” opioids).

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     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 7 of 282. PageID #: 153




        2.      This case is about corporate greed. Simply stated, each of the Defendants put their

desire for profits above the health and well-being of Ford County and its citizens and Plaintiff has

incurred substantial, continuous costs as a result.

        3.      This case is not about taking away medically necessary opioids from the patients who

need them. Plaintiff does not ask the Court to decide whether opioids are clinically appropriate, nor

does Plaintiff seek to blame the well-meaning healthcare providers and suppliers who prescribed

opioids to their patients in good faith. Instead, Plaintiff only asks that this Court hold the Defendants

accountable for their persistent, ongoing misconduct and the damage they caused to Ford County,

that Defendants were always in the best position to prevent.

        A.      The Manufacturer Defendants’ Two-Part Scheme to Increase Opioid Sales

        4.      First, as part of a broader scheme to target communities in the United States where

the elements most conducive to opioid addiction were prevalent, Defendants ALLERGAN PLC;

ALLERGAN USA, INC.; ACTAVIS PLC; ACTAVIS, INC.; WATSON PHARMACEUTICALS,

INC. n/k/a ACTAVIS, INC.; WATSON LABORATORIES, INC.; ACTAVIS LLC; ACTAVIS

PHARMA, INC. f/k/a WATSON PHARMA, INC.; TEVA PHARMACEUTICAL INDUSTRIES,

LTD.; TEVA PHARMACEUTICALS USA, INC.;                        CEPHALON, INC.; ENDO HEALTH

SOLUTIONS INC.; ENDO PHARMACEUTICALS, INC.; PAR PHARMAECEUTICAL

COMPANIES, INC.; PAR PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICALS,

INC.;    ORTHO-MCNEIL-JANSSEN                PHARMACEUTICALS,               INC.    n/k/a    JANSSEN

PHARMACEUTICALS, INC.; JANSSEN PHARMACEUTICA, INC. n/k/a JANSSEN

PHARMACEUTICALS, INC.; JOHNSON & JOHNSON; NOVARTIS PHARMACEUTICALS

CORPORATION f/k/a SANDOZ, INC.; MYLAN N.V.; MYLAN PHARMACEUTICALS, INC.;

MYLAN INSTITUTIONAL, INC.; HIKMA PHARMACEUTICALS USA INC. f/k/a WEST-

WARD PHARMACEUTICALS CORP.; MALLINKRODT, PLC; MALLINKRODT LLC; SPEC
GX LLC; and the individual defendants JOHN KAPOOR; and MICHAEL BABICH (the



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     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 8 of 282. PageID #: 154




“Manufacturer Defendants”), targeted the State of Kansas, including the citizens of Ford County.

The Manufacturer Defendants developed and engaged in a sophisticated, manipulative scheme

designed to increase the number of opioid prescriptions written across the state, including in Ford

County. Defendants’ scheme was particularly well-suited to Ford County, because Ford County is

home to many economically and medically vulnerable populations that Defendants knew were

uniquely predisposed to opioid addiction, including the elderly.

       5.      Second, the Manufacturer Defendants dramatically increased the number of opioid

prescriptions in Ford County and across the country by (i) concealing the truth about the risk of

addiction and death associated with long-term use of their products, and (ii) pressuring their

respective sales forces to deceive and encourage local prescribers to oversupply Kansas—and Ford

County—with powerful prescription opioids. In 2017, for instance, Kansas providers wrote 69.8

opioid prescriptions for every 100 persons compared to the U.S. average rate of 58.7 prescriptions

for every 100 persons.2

       B.      The Distributor Defendants Turned a Blind Eye to the Manufacturers’ Scheme

       6.      Defendants              AMERISOURCEBERGEN                        CORPORATION;

AMERISOURCEBERGEN              DRUG      CORPORATION;          MCKESSON         CORPORATION;

MCQUEARY BROTHERS DRUG COMPANY, LLC; CARDINAL HEALTH, INC.; CARDINAL

HEALTH 5, LLC; CARDINAL HEALTH 100, INC.; CARDINAL HEALTH 110, LLC;

CARDINAL HEALTH 122, LLC; CARDINAL HEALTH 132, LLC; CARDINAL HEALTH 200,

LLC; CARDINAL HEALTH 414, LLC; CARDINAL HEALTH PHARMACY SERVICES, LLC;

KROGER LIMITED PHARMACY II; WALGREEN CO.; and WALMART INC. (the “Distributor

Defendants”) shipped and/or distributed prescription opioids throughout the country, including

Kansas and Ford County. Rather than meet their obligations under Kansas law—including to report

       2
          National Institute of Health (“NIH”), National Institute on Drug Abuse, Kansas Opioid
Summary, DrugAbuse.gov (Mar. 2019), https://www.drugabuse.gov/opioid-summaries-by-
state/kansas-opioid-summary.

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     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 9 of 282. PageID #: 155




suspicious orders of controlled substances—the Distributor Defendants: (i) willfully ignored and

failed to act reasonably in response to impossibly large opioids orders being shipped to locations

where it was inconceivable that any legitimate medical need could have required the quantities

and/or dosages shipped; (ii) failed to report these suspicious shipments despite their clear statutory,

regulatory and common law obligations to do so, and in contravention of their own internal policies

and procedures; (iii) distributed opioids pursuant to apparently invalid or otherwise suspicious

prescription orders; and/or (iv) wrongfully and unreasonably contributed to opioid diversion across

the State of Kansas generally and in Ford County specifically, thereby creating, maintaining and/or

assisting in the creation or maintenance of an illicit opioid market that continues to damage,

inconvenience, annoy, vex, and work harm to the rights, property, and comfort of Plaintiff and its

citizens. The Distributor Defendants’ breaches of their respective reporting obligations were willful,

motivated by their desire to maximize profits, and were committed without consideration of the cost

to Ford County or its citizenry.

       C.      The Pharmacy Defendants Understood but Violated their Duties

       7.      Defendants DILLON COMPANIES, LLC; WAL-MART STORES EAST LP dba

WALMART SUPERCENTER #372; and WALGREEN CO. dba WALGREENS #7817

(collectively, the “Pharmacy Defendants”) earned enormous profits by flooding the State of Kansas,

including Ford County, with prescription opioids. Like the Distributor Defendants, the Pharmacy

Defendants gained unique knowledge of the oversupply of prescription opioids through the extensive

data and information they developed and maintained in connection with dispensing opioids to Ford

County patients as both distributors and retail outlets. Rather than act to stem the flow of opioids

into communities like Ford County, they participated in and profited from the oversupply.

       D.      The Devastating Effects of Defendants’ Conduct

       8.      Each of the Defendants was fully aware of the potential for their opioid products to
place patients at an unreasonable risk of opioid-related addiction and/or death. Despite this



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    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 10 of 282. PageID #: 156




knowledge, the Manufacturer Defendants continue to misrepresent the risks associated with

prescription opioids to misleadingly influence physicians and other Kansas prescribers with the goal

of increasing sales of prescription opioids to Ford County citizens. Further, as distributors of

opioids, the Distributor Defendants and Pharmacy Defendants continue to breach their opioid-related

supply chain duties under Kansas law to monitor, report, and prevent suspicious shipments of

prescription opioids, despite knowing that their failure to discharge these duties placed Ford County

and its residents at an unreasonably high risk of opioid diversion.

       9.      The Defendants’ conduct precipitated the opioid crisis that has ravaged Ford County

for years, and will continue to do so for many years, even decades, to come. Defendants’ scheme

has succeeded—Defendants have made untold billions of dollars from prescription opioids.

Meanwhile, the death toll they have caused in Ford County and elsewhere is unconscionable.

       10.     Ford County dedicates substantial portions of its tax revenues to provide and pay for a

broad array of services for its population, including, but not limited to, health care, law enforcement,

emergency medical services, and other public services. However, as a result of the opioid epidemic,

Ford County has been significantly hampered in its ability to continue to provide the requisite level

of service in each of these categories for its citizens. This creates a perverse dichotomy. The

overburdened service areas require a greater share of Ford County’s scarce tax dollars, while at the

same time, the crisis itself decreases the tax dollars Ford County can generate. That is because

opioid addiction takes productive members of society out of the economy, usually due to death or the

inability to work. Simply put, most who become addicted to opioids are no longer able to work, and,

therefore, are no longer able to care for their families, earn a paycheck, or spend money in the same

way they did before they fell victim to addiction. This downward spiral means Ford County’s tax

revenues have suffered. These harms are the direct and proximate result of Defendants’ scheme to

increase their profits without regard for the end users of Defendants’ drugs, or the counties and




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    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 11 of 282. PageID #: 157




municipalities that must bear the brunt of the increased demand for their services brought on by the

epidemic.

       11.      In addition to its tax-related damages, Ford County has suffered damage to its

reputation at the hands of Defendants. This is due, in large measure, to the opioid epidemic in Ford

County that the Defendants caused, exacerbated, and/or failed to abate. Plaintiff has been able to

ameliorate this problem, to a degree, only by dedicating its tax dollars to measures designed to

restore its reputation as a desirable community for its citizens. The financial costs to Ford County

that resulted from the Defendants’ misdeeds as described in this Petition, are discussed in detail

below, in Section IV.P.

       12.      Things were not always this way in Ford County. Though Defendants have been

manufacturing, marketing, distributing and/or selling prescription opioids for decades—including

brand-name drugs like OxyContin, Percocet, and Duragesic, as well as generic formulations of these

drugs such as oxycodone, hydrocodone, and fentanyl—only since the late 1990s have Defendants’

powerful narcotic painkillers been used to treat more than just short-term, acute or cancer-related

pain. Indeed, for the vast majority of the twentieth century, Defendants’ drugs were considered too

addictive and debilitating for patients suffering from long-term (chronic) pain due to non-cancer

conditions like arthritis, fibromyalgia and migraines.3

       13.      In the late 1990s, however, and continuing today, Defendants began a sophisticated

marketing and distribution scheme premised on deception to persuade patients that opioids can and

should be used to treat chronic pain. Defendants spent, and some continue to spend, millions of

dollars on promotional activities and materials that falsely deny or trivialize the risks and overstate

the benefits of opioids. As to the risks, Defendants falsely and misleadingly: (1) downplayed the

serious risk of addiction;4 (2) promoted the concept of “pseudoaddiction,” falsely claiming that signs

       3
           In this Petition, “chronic pain” refers to non-cancer pain lasting three months or longer.
       4
           Addiction is classified as a spectrum of “substance use disorders” that range from misuse


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    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 12 of 282. PageID #: 158




of addiction should be treated with more opioids; (3) exaggerated the effectiveness of screening tools

in preventing addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5)

denied the risks of higher opioid dosages; and (6) exaggerated the effectiveness of abuse-deterrent

opioid formulations to prevent abuse by—inter alia—falsely claiming these opioids “cannot be

crushed.” Defendants also falsely touted the benefits of long-term opioid use, including its supposed

ability to improve function and quality of life, even though there was no credible evidence to support

those benefits—a fact that Defendants not only knew at all times relevant to this action, but

effectively suppressed and concealed.

       14.     Indeed, at all times relevant to this action, Defendants knew their longstanding and

ongoing misrepresentations of the risks and benefits of opioids were not supported by or were

directly contrary to the scientific evidence. Moreover, regulators and the medical community at

large have come to recognize the serious risks posed by opioid pain medications. Indeed, according

to recently established and widely accepted clinical guidelines for opioid therapy, “[t]he science of

opioids for chronic pain is clear: for the vast majority of patients, the known, serious, and too-often-

fatal risks far outweigh the unproven and transient benefits.”

       15.     Opioid manufacturers, including Defendant Endo Pharmaceuticals, Inc., have also

entered into agreements with public entities that prohibit them from making many of the

misrepresentations identified in this Petition in other jurisdictions. Yet, even now, Defendants

continue to misrepresent the risks and benefits of long-term opioid use in Kansas, including in Ford

County, and continue to fail to correct their past misrepresentations.

       16.     Specifically, Defendants concealed what their own internal documents and


and abuse of drugs to addiction. Patients suffer negative consequences wherever they fall on this
spectrum. In this Petition, “addiction” refers to the entire range of substance abuse disorders. (See,
e.g., American Society of Addiction Medicine (“ASAM”), Public Policy Statements, Terminology
Related to the Spectrum of Unhealthy Substance Use, p. 1-2 (July 2013),
https://www.asam.org/docs/default-source/public-policy-statements/1-terminology-spectrum-sud-7-
13.pdf?sfvrsn=d93c69c2_2.

                                                  10
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 13 of 282. PageID #: 159




communications show they already knew, and had known for decades: not only were Defendants’

opioids both medically unnecessary and, in fact, life-threatening for non-cancer patients with chronic

pain, but further, none of Defendants’ representations about the manageability or prevention of

opioid addiction was true. As set forth in detail below, for decades, the Manufacturer and

Distributor Defendants have made and continue to make a series of inaccurate claims about the risks

and benefits associated with their opioids, essentially bribing Key Opinion Leader (“KOL”) groups

and prescribers to substantiate the veracity of Defendants’ false statements. In creating the illusion

that prescription opioids were a low risk treatment option for chronic pain compared to non-opioid

pharmacologic approaches, Defendants successfully targeted vulnerable patient populations, like the

elderly. Defendants further tainted the sources that many healthcare providers and patients in Ford

County relied upon for guidance, including treatment guidelines, continuing medical education

programs, medical conferences and seminars, and scientific articles. As a result, Defendants

successfully transformed the way doctors treat chronic pain in Ford County, opening the floodgates

of opioid prescribing, misuse, addiction, incapacitation, and death. This explosion in opioid

prescriptions and use has padded Defendants’ profit margins at the expense of chronic pain patients

and the local governments responsible for protecting their patients and abating the ongoing damage

resulting from Defendants persistent misconduct.

       17.     The explosion in opioid prescriptions and use caused by Defendants has led to a

public health crisis in Kansas and, in particular, Ford County. Kansas faces skyrocketing opioid

addiction and opioid-related overdoses and deaths as well as devastating social and economic

consequences. As described throughout this Petition, this public health crisis is a public nuisance as

it resulted from Defendants’ intentional misconduct, in which they engaged and continue to

engage—even though they knew their misconduct would damage, and in fact has damaged, Ford

County and its residents by endangering the public health, safety and welfare of Plaintiff and its
citizens. See K.S.A. 21-6204. Additionally, this public health crisis is a common nuisance as arising



                                                 11
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 14 of 282. PageID #: 160




from Defendants’ unlawful activities in violation of several Kansas controlled substance laws and

regulations. See K.S.A. § 22-3901(g).

       18.     The effects of Defendants’ deceptive marketing scheme are catastrophic and are only

getting worse. These effects are devastating in Kansas. Since 2012, more than 1,500 Kansans have

died from opioid or heroin overdoses and that rate has continued to rise.5 Indeed, in February 2016,

regulators acknowledged that “[t]hings are getting worse, not better, with the epidemic of opioid

misuse, abuse and dependence.”

       19.     There is little doubt that Defendants’ deceptive marketing and distribution scheme has

precipitated this public health crisis in Kansas, including in Ford County, by dramatically increasing

opioid prescriptions and use. An oversupply of prescription opioids has provided a source for illicit

use or sale of opioids (the supply), while the widespread use of opioids has created a population of

patients physically and psychologically dependent on them (the demand). When those patients can

no longer afford or legitimately obtain opioids, they often turn to the street to buy prescription

opioids or even heroin.

       20.     Defendants’ deceptive marketing and distribution scheme have had further

foreseeable impacts on Ford County that have likewise impacted other communities across the

United States. For example, afflicted communities across the country must now devote tax dollars

and resources to address their addicted homeless population who commit drug and property crimes

to feed their addiction. These tax dollars are being used to maintain the public safety of places

where the addicted homeless attempt to congregate, including parks, schools and public lands.

Additionally, communities across the country are spending their tax dollars to fight the infectious

diseases brought on by the addicted and particularly the addicted homeless. Hepatitis B and C, HIV,

sexually transmitted disease and methicillin-resistant Staphylococcus aureus (“MRSA”) have been

       5
         Kansas Department of Health and Environment, Governor’s Substance Use Disorders Task
Force                       Report                        (Sep.                        2018),
http://www.kdheks.gov/pdomp/download/GovSUDTaskForceReport_FINAL.pdf.

                                                 12
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 15 of 282. PageID #: 161




demonstrated to be spread by opioid abuse.

       21.     Defendants’ willful and wrongful conduct has further impacted Ford County by

creating a public nuisance in the County, which Defendants foresaw yet deliberately ignored.

Defendants were aware at all relevant times when they deceptively marketed their products as non-

addictive that such addiction would be highly difficult to overcome.

       22.     The role of Defendants’ deceptive marketing and distribution scheme in causing this

public health crisis has become well-recognized in recent years. In her May 2014 testimony to the

Senate Caucus on International Narcotics Control on behalf of regulators, Dr. Nora Volkow

explained that “aggressive marketing by pharmaceutical companies” is “likely to have contributed to

the severity of the current prescription drug abuse problem.”6 In the years since her comments were

initially published, Dr. Volkow’s message has become the dominant view of the top experts and

influencers in the medical community, who are finally realizing just how addictive Defendants’

opioids are, and how devastating the economic and social costs of Defendants’ intentional deception

has been.7

       23.     Absent the Manufacturer Defendants’ deceptive marketing scheme, the Distributor

Defendants’ improper distribution and/or dispensing practices, and the Prescriber Defendants’

prolific overprescribing practices and failure to disclose to his patients and the public the true risks

of long-term opioid therapy for chronic pain, the opioid use, misuse, abuse, and addiction in Ford

County would not have become so widespread, and the opioid epidemic that now exists would have

been averted or much less severe.

       24.     By falsely downplaying the risks and grossly exaggerating the benefits of long-term

       6
           N. Volkow, M.D., America’s Addiction to Opioids: Heroin and Prescription Drug Abuse,
National         Institute      on       Drug        Abuse,         (May        14,        2014),
https://archives.drugabuse.gov/testimonies/2014/americas-addiction-to-opioids-heroin-prescription-
drug-abuse.
       7
       E. O’Brien, Here’s What it Would Cost to Fix the Opioid Crisis, According to 5 Experts,
Time Money (Nov. 27, 2017), http://time.com/money/5032445/cost-fix-opioid-crisis/.

                                                  13
      Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 16 of 282. PageID #: 162




opioid use through their deceptive marketing claims, despite their knowledge of the falsity of those

claims and their incompetent or otherwise unreasonable failure to correct their misrepresentations,

and by improperly distributing, dispensing, and/or prescribing prescription opioids as set forth

herein, Defendants have not only engaged in false advertising and unfair competition, but they have

also created, maintained, and/or assisted in the creation and/or maintenance of a public health crisis

in Ford County that constitutes both a public and a common nuisance under Kansas law.

        25.    Accordingly, Defendants’ conduct, both individually and collectively, has violated

and continues to violate Kansas’ public nuisance laws. Ford County does not ask this Court to

weigh the risks and benefits of long-term opioid use. Instead, Ford County seeks an order requiring

Defendants to cease their unlawful promotion and distribution of opioids, to correct their

misrepresentations, and to abate the public nuisance they have created. By this action, Ford County

further seeks to both recoup the tax dollars it has continuously spent in response to the public health

crisis that Defendants’ ongoing, persistent misconduct created in the County, as well as abate the

opioid nuisance so Ford County will not be required to spend further taxpayer dollars on the

epidemic wrought by Defendants.

II.     PARTIES

        A.     Plaintiff

        26.    The Board of County Commissioners of the County of Ford, State of Kansas, by and

through its attorneys hereto, brings this action to protect the public from false and misleading

advertising, unlawful, unfair, and fraudulent business practices, and a public nuisance.

        27.    Ford County is home to approximately 35,000 citizens.                 Ford County is

approximately 1,099 square miles and comprised of several cities and towns including Bloom,

Bucklin, Concord, Enterprise, Fairview, Ford, Grandview, Richland, Royal, Sodville, Spearville,

Wheatland, and Wilburn.
        28.    Although Ford County’s fire protection and emergency services are partly volunteer-



                                                  14
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 17 of 282. PageID #: 163




based, the County funds the operation of four fire districts which includes providing and maintaining

emergency vehicles and providing adequate training and supplies for its first responders.

       29.     The Ford County Sheriff’s Office is responsible for providing for the County’s law

enforcement needs. The Ford County Sheriff’s Office provide the County’s citizens and community

with law enforcement services such as street patrol, a criminal investigations units, and a 24-hour

911 communications center.       The Ford County Sheriff’s Office also provides various law

enforcement programming for its citizens which include crime prevention and anti-drug educational

programs, drug enforcement, and neighborhood watch programs.

       B.      Manufacturer Defendants

               1.      Actavis/Allergan

       30.     Defendant Allergan plc is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. Actavis plc acquired Allergan plc in March 2015, and

the combined company changed its name to Allergan plc in June 2015. Before that, Watson

Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012, and the combined company changed

its name to Actavis, Inc. as of January 2013 and then Actavis plc in October 2013. Defendant

Allergan USA, Inc. is a Delaware corporation with its principal place of business in Madison, New

Jersey, and is a wholly owned subsidiary of Allergan plc. Defendant Actavis, LLC is a limited

liability company formed in Delaware, headquartered in New Jersey, and, on information and belief,

has members who are citizens of New Jersey and Pennsylvania. Defendant Watson Laboratories,

Inc. is a Nevada corporation with its principal place of business in Corona, California, and is a

wholly-owned subsidiary of Allergan plc (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.).

Defendant Actavis Pharma, Inc. (f/k/a Actavis, Inc.) is registered to do business in Kansas as a

Delaware corporation with its principal place of business in New Jersey, and was formerly known as

Watson Pharma, Inc. Defendant Actavis plc is a Delaware limited liability company with its
principal place of business in Parsippany, New Jersey. Each of these Defendants is owned by



                                                 15
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 18 of 282. PageID #: 164




Allergan plc, which uses them to market and sell its drugs in the United States, including in Kansas

and Ford County specifically. Upon information and belief, Allergan plc exercises control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit. (Allergan plc, Allergan USA, Inc.; Actavis plc; Actavis, Inc.; Actavis LLC;

Actavis Pharma, Inc.; Watson Pharmaceuticals, Inc.; Watson Pharma, Inc.; and Watson

Laboratories, Inc. are referred to in this Petition as “Actavis.”)

       31.     Actavis manufactures, promotes, sells, and distributes opioids, including the branded

drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic and Opana,

in the U.S., Kansas, and Ford County specifically. Actavis acquired the rights to Kadian from King

Pharmaceuticals, Inc., on December 30, 2008 and began marketing Kadian in 2009.

               2.      Cephalon

       32.     Defendant Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its principal

place of business in Frazer, Pennsylvania. Defendant Teva Pharmaceutical Industries, Ltd. (“Teva

Ltd.”) is an Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011,

Teva Ltd. acquired Cephalon, Inc. Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a

Delaware corporation and is a wholly owned subsidiary of Teva Ltd. in Pennsylvania. It is

registered to do business in Kansas.

       33.     Cephalon manufactures, promotes, sells, and distributes opioids such as Actiq and

Fentora in the United States, including in Kansas. Both Actiq and Fentora are over 100 times more

powerful than morphine. Thus, Actiq has been approved by regulators only for the “management of

breakthrough cancer pain in patients 16 years and older with malignancies who are already receiving

and who are tolerant to around-the-clock opioid therapy for the underlying persistent cancer pain.”

Similarly, Fentora has been approved only for the “management of breakthrough pain in cancer

patients 18 years of age and older who are already receiving and who are tolerant to around-the-
clock opioid therapy for their underlying persistent cancer pain.” Neither Actiq nor Fentora are



                                                  16
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 19 of 282. PageID #: 165




appropriate treatments for chronic pain.

               3.      Teva

       34.     Teva Ltd., Teva USA, and Cephalon work together closely to market and sell

Cephalon products in the United States, including in Kansas and Ford County specifically. Teva

Ltd. conducts all sales and marketing activities for Cephalon in the United States through Teva USA

and has done so since its October 2011 acquisition of Cephalon. Teva Ltd. and Teva USA hold out

Actiq and Fentora as Teva products to the public. Teva USA sells all former Cephalon branded

products through its “specialty medicines” division. The approved prescribing information and

medication guide, which is distributed with Cephalon opioids, discloses that the guide was submitted

by Teva USA, and directs physicians to contact Teva USA to report adverse events.

       35.     All of Cephalon’s promotional websites, including those for Actiq and Fentora,

display Teva Ltd.’s logo. Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as its

own, and its year-end report for 2012—the year immediately following the Cephalon acquisition—

attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of Cephalon’s

specialty sales,” including inter alia sales of Fentora. Through interrelated operations like these,

Teva Ltd. operates in the United States through its subsidiaries Cephalon and Teva USA. The

United States is the largest of Teva Ltd.’s global markets, representing 53% of its global revenue in

2015, and, were it not for the existence of Teva USA and Cephalon, Teva Ltd. would conduct those

companies’ business in the United States itself. Upon information and belief, Teva Ltd. directs the

business practices of Cephalon and Teva USA, and their profits inure to the benefit of Teva Ltd. as

controlling shareholder, including profits arising from Cephalon and Teva USA’s business practices

in Kansas and Ford County, specifically.

       36.     At all times relevant, Teva manufactured and marketed prescription opioids

throughout the United States, including in Kansas and Ford County specifically, and according to
government data, Teva is a top manufacturer of opioids to Ford County. Teva has engaged in



                                                  17
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 20 of 282. PageID #: 166




consensual commercial dealings with Ford County’s residents and has purposefully availed itself of

the advantages of conducting business with and within Ford County.

               4.      Endo

       37.     Defendant Endo Health Solutions Inc. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Defendant Endo Pharmaceuticals, Inc. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. (Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc. are referred to as “Endo”).

       38.     Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the U.S. and Kansas. Opioids made up

roughly $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012.

Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the U.S. and Kansas, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       39.     At all times relevant, Endo manufactured and marketed prescription opioids

throughout the United States, including in Kansas and Ford County specifically, according to

government data, Endo is a top manufacturer of opioids distributed to Ford County and/or dispensed

to Ford County patients. Endo has engaged in consensual commercial dealings with Ford County’s

residents and has purposefully availed itself of the advantages of conducting business with and

within Ford County.

               5.      Par

       40.     Defendants Par Pharmaceutical, Inc. and Par Pharmaceutical Companies, Inc.

(collectively, “Par”) are New York corporations with their principal places of business in New York.
Par was acquired by Endo in 2015. Par is the fifth largest manufacturer of generic pharmaceuticals



                                                18
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 21 of 282. PageID #: 167




in the world, including oxycodone, oxymorphone, and hydrocodone.

       41.     At all times relevant, Par manufactured and marketed prescription opioids throughout

the United States, including in Kansas and Ford County specifically, and according to government

data, Par is a top manufacturer of opioids distributed to Ford County and/or dispensed to Ford

County patients. Par has engaged in consensual commercial dealings with Ford County’s residents

and has purposefully availed itself of the advantages of conducting business with and within Ford

County.

               6.      Janssen

       42.     Defendant     Janssen     Pharmaceuticals,    Inc.   (f/k/a   Ortho-McNeil-Janssen

Pharmaceuticals, Inc. and Janssen Pharmaceutica, Inc.) is registered to do business in Kansas as a

Pennsylvania corporation with its principal place of business in Titusville, New Jersey, and is a

wholly owned subsidiary of Defendant Johnson & Johnson (“J&J”), a New Jersey corporation with

its principal place of business in New Brunswick, New Jersey. These entities, which are collectively

referred to herein as “Janssen,” acted in concert with one another—as agents and/or principals of one

another—in connection with the conduct described herein. J&J is the only company that owns more

than 10% of Janssen Pharmaceuticals’ stock, and corresponds with regulators regarding Janssen’s

products. Upon information and belief, J&J controls the sale and development of Janssen

Pharmaceuticals’ drugs and Janssen’s profits inure to J&J’s benefit. The Janssen and J&J parties are

collectively referred to as “Janssen.”

       43.     At all times relevant, Janssen manufactured, promoted, sold, and distributed opioids

in the U.S. and Kansas and Ford County specifically, including the opioid Duragesic. Before 2009,

Duragesic accounted for at least $1 billion in annual sales. Until January 2015, Janssen developed,

marketed, and sold the opioids Nucynta and Nucynta ER, which also generated substantial sales

revenue for the company, accounting for $172 million in sales in 2014 alone. According to
government data, Janssen is a top manufacturer of opioids that were distributed to Ford County.



                                                 19
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 22 of 282. PageID #: 168




               7.      Johnson & Johnson

       44.     Defendant Johnson & Johnson (“J&J”), a New Jersey corporation with its principal

place of business in New Brunswick, New Jersey, imposes a code of conduct on Janssen as a

pharmaceutical subsidiary of J&J. The “Every Day Health Care Compliance Code of Conduct”

posted on Janssen's website is a J&J company-wide document that describes Janssen as one of the

“pharmaceutical Companies of Johnson and Johnson” and as one of the “Johnson & Johnson

Pharmaceutical Affiliates.” It governs how “[a]ll employees of Johnson & Johnson Pharmaceutical

Affiliates,” including those of Janssen, “market, sell, promote, research, develop, inform and

advertise Johnson & Johnson Pharmaceutical Affiliates' products.” All Janssen officers, directors,

employees, and sales associates must certify that they have “read, understood and will abide by” the

code of conduct. Thus, the code of conduct governs all forms of marketing at issue in this case.

       45.     In addition, J&J made payments to front groups, discussed herein, who perpetuated

and disseminated Defendants’ misleading marketing messages across the country—including, on

information and belief, in Kansas and Ford County—regarding the risks and benefits of opioids.8

               8.      Mylan

       46.     Defendant Mylan Institutional Inc. (“Mylan Institutional”) is an Illinois corporation

headquartered in Rockford, Illinois. Mylan Institutional manufactures and markets pharmaceutical

products.    Defendant Mylan Pharmaceuticals, Inc. (“Mylan Pharmaceuticals”) is based in

Morgantown, West Virginia, and is also a major manufacturer and marketer of opioids in Ford

County. Both Mylan Institutional and Mylan Pharmaceuticals are subsidiaries of Defendant Mylan

Pharmaceuticals NV (“Mylan NV”), which is the second-largest generic and specialty

pharmaceuticals company in the world, registered in the Netherlands with principal executive offices

       8
          U.S. Senate Homeland Security & Governmental Affairs Committee, Ranking Member's
Office, Staff Report, Fueling an Epidemic, Report Two, Exposing the Financial Ties Between Opioid
Manufacturers and Third Party Advocacy Groups, n. 23 (“Payments from Janssen include payments
from Johnson & Johnson Health Care Systems, Inc.”).


                                                20
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 23 of 282. PageID #: 169




in Hatfield, Hertfordshire, UK and a global center in Canonsburg, Pennsylvania. Together, at all

times relevant to this action, Mylan Institutional, Mylan Pharmaceuticals, and Mylan NV

(collectively, “Mylan”) manufactured and marketed prescription opioids throughout the United

States, including in Kansas and Ford County specifically. According to government data, Mylan is a

top manufacturer of opioids that were distributed to Ford County, including fentanyl, oxycodone,

morphine, and codeine.

       47.     Defendant Mylan Institutional Inc. (“Mylan Institutional”) is an Illinois corporation

headquartered in Rockford, Illinois. Mylan manufactures and markets pharmaceutical products.

Defendant Mylan Pharmaceuticals, Inc. (“Mylan Pharmaceuticals”) is based in Morgantown, West

Virginia, and is also a major manufacturer and marketer of opioids in Ford County. Both Mylan

Institutional and Mylan Pharmaceuticals are subsidiaries of Defendant Mylan N.V., the second-

largest generic and specialty pharmaceuticals company in the world, registered in the Netherlands

with principal executive offices in Hatfield, Hertfordshire, UK and a global center in Canonsburg,

Pennsylvania. (Mylan Institutional, Mylan Pharmaceuticals, and Mylan N.V. shall collectively be

referred to as “Mylan”). At all times relevant, Mylan manufactured and marketed prescription

opioids throughout the United States, including in Kansas and Ford County specifically. According

to government data, Mylan is a top manufacturer of opioids that were distributed to Ford County,

including fentanyl, oxycodone, morphine, and codeine.

       48.     In 2000, Mylan agreed to pay $100 million to resolve allegations that it conspired to

deny its competitors certain necessary ingredients to manufacture several widely-prescribed

medications, including treatments for opioid use disorder and opioid addiction. As alleged in

petitions filed by thirty-two State Attorneys General and the District of Columbia, Mylan’s conduct

caused substantial price increases in, and improperly limited the supply of, these treatments.

               9.     West-Ward
       49.     Defendant Hikma Pharmaceuticals USA Inc. f/k/a West-Ward Pharmaceuticals Corp.



                                                21
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 24 of 282. PageID #: 170




is headquartered in Eatontown, New Jersey and manufactures, markets and/or distributes opioids

such as fentanyl and morphine. West-Ward Pharmaceuticals Corp. (“West-Ward”) is a wholly

owned subsidiary of Hikma Pharmaceuticals plc, and represented 51% of Hikma’s group sales in

2014. Since acquiring Baxter Healthcare Corporation’s Multi-Source Injectables division in 2011,

West-Ward has become the second largest injectable supplier by volume in the country. At all times

relevant, West-Ward manufactured and marketed prescription opioids throughout the United States,

including in Kansas and Ford County specifically.

       50.     In 2013, West-Ward was forced to pay penalties for shirking the company’s legal

obligation to make timely payments to drug discount programs that provide vulnerable patient

population with affordable access to pharmaceuticals, and also agreed to pay $10,000,000 to resolve

allegations that West-Ward had also been inflating prescription drug prices since 1995, effectively

overcharging some of its most vulnerable patient populations.

               10.    Mallinckrodt/SpecGX

       51.     Defendant Mallinckrodt plc is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

Mallinckrodt plc was incorporated in January 2013 for the purpose of holding the pharmaceuticals

business of Covidien plc, which was fully transferred to Mallinckrodt in June of that year.

Mallinckrodt began as a U.S.-based company, with the founding of Mallinckrodt & Co. in 1867,

Tyco International Ltd. acquired the company in 2000. In 2008, Tyco Healthcare Group separated

from Tyco International Ltd. and renamed itself Covidien.

       52.     Defendant Mallinckrodt LLC is a limited liability company formed in Delaware and

headquartered with its principal place of business in St. Louis, Missouri. Mallinckrodt LLC is a

wholly owned subsidiary of Mallinckrodt, plc.

       53.     Defendant SpecGX LLC (“SpecGX”) is a limited liability company formed in
Delaware and headquartered with its principal place of business in St. Louis, Missouri. SpecGX is a



                                                22
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 25 of 282. PageID #: 171




wholly owned subsidiary of Mallinckrodt plc.

       54.     Together, Mallinckrodt plc, Mallinckrodt LLC, and SpecGX LLC (collectively,

“Mallinckrodt”) manufacture, market, and sell drugs in the United States, including in Kansas and

Ford County and its neighboring counties. As of 2012, it was the largest U.S. supplier of opioid pain

medications. In particular, it is one of the largest manufacturers of oxycodone in the U.S.

       55.     Mallinckrodt currently manufactures and markets two branded opioids: Exalgo,

which is extended-release hydromorphone, sold in 8, 12, 16, and 32 mg dosage strengths, and

Roxicodone, which is oxycodone, sold in 15 and 30 mg dosage strengths. In addition, Mallinckrodt

previously developed, promoted, and sold the following branded opioid products: Magnacet,

TussiCaps, and Xartemis XR.

       56.     While it has sought to develop its branded opioid products, Mallinckrodt has long

been a leading manufacturer of generic opioids. Mallinckrodt estimated that, in 2015, it received

approximately 25% of one regulator’s entire annual quota for controlled substances that it

manufactures. Mallinckrodt also estimated, based on health data for the same period, that its

generics claimed an approximately 23% market share of opioid and oral solid dose medications.

       57.     Mallinckrodt operates a vertically integrated business in the United States: (1)

importing raw opioid materials, (2) manufacturing generic opioid products, primarily at its facility in

Hobart, New York, and (3) marketing and selling its products to drug distributors, specialty

pharmaceutical distributors, retail pharmacy chains, pharmaceutical benefit managers that have mail-

order pharmacies, and hospital buying groups throughout the United States, including in Kansas and

Ford County and its neighboring counties specifically.

               11.     The Insys Individual Defendants: John Kapoor and Michael Babich

       58.     Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal place of

business in Chandler, Arizona and is registered to do business in Kansas. Insys manufactures,
markets, sells and distributes nationwide several types of opioids, including Subsys—a fentanyl



                                                  23
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 26 of 282. PageID #: 172




sublingual spray and semi-synthetic opioid antagonist—as well as Syndros, a cannabinoid medicine

used in adults to treat common side-effects of opioid use, particularly for patients whose nausea and

vomiting have not improved with usual anti-nausea and vomiting medicines. Subsys and Syndros

were approved for widespread use in 2012 and 2016, respectively.

       59.     Subsys is indicated “for the management of breakthrough pain in cancer patients 18

years of age and older who are already receiving and are tolerant to opioid therapy for their

underlying persistent cancer pain.”9 The indication also specifies that “Subsys is intended to be used

only in the care of cancer patients and only by oncologists and pain specialists who are

knowledgeable of and skilled in the use of Schedule II opioids to treat cancer pain.” In addition, the

indication provides that “[p]atients must remain on around-the-clock opioids when taking

SUBSYS.” Subsys is contraindicated for, among other ailments, the “[m]anagement of acute or

postoperative pain including headache/migraine and dental pain.” It is available in 100 mcg, 200

mcg, 400 mcg, 600 mcg and 800 mcg dosage strengths.

       60.     Insys’ revenue is derived almost entirely from Subsys. According to its Form 10-K

for 2015, Insys reported revenues of $331 million. Of that total, $329.5 million was derived from

sales of Subsys. The majority of Insys’ sales of Subsys are through wholesalers, including

Defendants AmerisourceBergen and Cardinal Health. In 2015, those wholesalers respectively

comprised 20% and 14% of Insys’ total gross sales of Subsys.

       61.     On June 7, 2019, the pharmaceutical arm of Insys formally pleaded guilty charges

connected to allegations that the company bribed healthcare providers to prescribe a powerful opioid

to patients who did not need it, as part of Insys’ $225 million dollar settlement to resolve these

allegations in Massachusetts.

       9
         The indication provides that “[p]atients considered opioid tolerant are those who are taking
around-the-clock medicine consisting of at least 60 mg of oral morphine daily, at least 25 mcg of
transdermal fentanyl/hour, at least 30 mg of oral oxycodone daily, at least 8 mg of oral
hydromorphone daily or an equianalgesic dose of another opioid daily for a week or longer.”


                                                 24
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 27 of 282. PageID #: 173




       62.     Defendant John Kapoor is the founder and majority owner of Insys. In October of

2017, Kapoor was arrested and charged with various violations of fraud and abuse laws as well as

conspiracy, for his alleged participation in a nationwide scheme to bribe healthcare providers in

various states, including Kansas, to prescribe Subsys. On May 2, 2019, he was found guilty of these

charges in connection with running a nation-wide bribery scheme.10 He is a citizen of Phoenix,

Arizona, and a current member of the Board of Directors of Insys.

       63.     Defendant Michael Babich is the former CEO and President of Insys. In 2017, he

was also arrested and charged with various violations of fraud and abuse laws as well as conspiracy,

in connection with running a nationwide scheme intended to bribe or deceive healthcare providers in

various states, including Arizona, to prescribe Subsys. In January of 2019, Defendant Babich

pleaded guilty to these charges. He is a citizen of Scottsdale, Arizona.

       C.      Distributor Defendants

               1.      AmerisourceBergen

       64.     Defendant AmerisourceBergen Drug Corporation is a publicly traded company

headquartered in Pennsylvania, incorporated under the laws of Delaware, and is registered to do

business in Kansas.     Defendant AmerisourceBergen Corporation is the parent company of

AmerisourceBergen      Drug    Corporation.      (AmerisourceBergen        Drug   Corporation   and

AmerisourceBergen Corporation shall collectively be referred to as “AmerisourceBergen”).

AmerisourceBergen is in the chain of distribution of prescription opioids. At all relevant times,

AmerisourceBergen was in the business of distributing substantial amounts of prescription opioids to

providers and retailers. AmerisourceBergen has engaged in consensual commercial dealings in Ford

County, and has purposefully availed itself of the advantages of conducting business with and within

Ford County.

       10
          Gabrielle Emanuel, Opioid Executive John Kapoor Found Guilty in Landmark Bribery
Case, NPR (May 2, 2019) https://www.npr.org/2019/05/02/711346081/opioid-executive-john-
kapoor-found-guilty-in-landmark-bribery-case

                                                25
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 28 of 282. PageID #: 174




              2.     McKesson/McQueary

       65.    Defendant McKesson Corporation (“McKesson”) is a publicly-traded company
headquartered in California, with its principal place of business located at One Post Street,
San Francisco, California 94104 and incorporated under the laws of Delaware. McKesson is
in the chain of distribution of prescription opioids. At all relevant times, McKesson was in
the business of distributing substantial amounts of prescription opioids to providers and
retailers. McKesson has engaged in consensual commercial dealings in Ford County and has
purposefully availed itself of the advantages of conducting business with and within Ford
County.
       66.    At all times relevant, McKesson distributed prescription opioids throughout the
United States, including in Kansas and Ford County specifically. On information and belief,
McKesson’s share of the opioid market in Ford County is substantial, both in terms of the
number of opioid pills distributed by McKesson as well as McKesson’s proportional share of
the overall MME market in Ford County. On information and belief, McKesson is a top
distributor of buprenorphine, codeine, fentanyl, hydrocodone, hydromorphone, methadone,
morphine, oxycodone, oxymorphone, and tapentadol in Ford County.
       67.    Defendant McQueary Bros. Drug Company, LLC (“McQueary”) is a limited
liability company formed in Delaware and headquartered with its principal place of business
in Springfield, Missouri. McQueary is in the chain of distribution of prescription opioids.
At all relevant times, McQueary was a Midwestern regional distributor of pharmaceutical
products to more than 400 independent pharmacies across Missouri, Arkansas, Illinois,
Kansas, Oklahoma, Nebraska, and Iowa. McQueary has engaged in consensual commercial
dealings in Ford County, and has purposefully availed itself of the advantages of conducting
business within Ford County. In 2008, McQueary was acquired by McKesson in an effort to
expand Mckesson’s regional footprint in the Midwestern United States. Upon information


                                             26
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 29 of 282. PageID #: 175




and belief, McQueary’s operations have been integrated into McKesson’s U.S.
Pharmaceutical business.
       68.     At all times relevant, McQueary distributed prescription opioids throughout the
United States, including in Kansas and Ford County specifically. On information and belief,
McQueary’s share of the opioid market in Ford County is substantial, both in terms of the
number of opioid pills distributed by McQueary as well as McQueary’s proportional share of
the overall MME market in Ford County. On information and belief, McQueary is a top
distributor of codeine, fentanyl, hydrocodone, hydromorphone, methadone, morphine, and
oxycodone in Ford County.
               3.     Cardinal Health

       69.     Defendant Cardinal Health, Inc. is an Ohio pharmacy wholesaler and drug

distribution corporation with its headquarters located in Dublin, Ohio. Defendant Cardinal Health

100, Inc. is an Indiana corporation with its principal place of business located in Dublin, Ohio.

Defendants Cardinal Health 5, LLC; Cardinal Health 110, LLC; Cardinal Health 200, LLC; and

Cardinal Health 414, LLC are limited liability companies formed in Delaware with their principal

place of business in Dublin, Ohio. On information and belief, at least one of Cardinal Health 5,

LLC’s; Cardinal Health 110, LLC’s; Cardinal Health 200, LLC’s; and Cardinal Health 414, LLC’s

members is a citizen of Ohio. Defendant Cardinal Health 122, LLC is a limited liability company

formed in Delaware with its principal place of business in Ellicott City, Maryland. On information

and belief, at least one of Cardinal Health 122, LLC’s members is a citizen of Ohio. Defendants

Cardinal Health 132, LLC and Cardinal Health Pharmacy Services, LLC are limited liability

companies formed in Delaware with their principal place of business in Houston, Texas. On

information and belief, at least one of Cardinal Health 132, LLC’s and Cardinal Health Pharmacy

Services, LLC’s members is a citizen of Ohio. (Cardinal Health, Inc.; Cardinal Health 100, Inc.;
Cardinal Health 5, LLC; Cardinal Health 110, LLC; Cardinal Health 122, LLC; Cardinal Health 132,



                                               27
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 30 of 282. PageID #: 176




LLC; Cardinal Health 200, LLC; Cardinal Health 414, LLC; and Cardinal Health Pharmacy

Services, LLC are all registered to do business in Kansas and shall collectively be referred to as

“Cardinal Health.”) At all relevant times, Cardinal Health was in the business of distributing

substantial amounts of prescription opioids to providers and retailers. Cardinal Health has engaged

in consensual commercial dealings in Ford County, and has purposefully availed itself of the

advantages of conducting business with and within Ford County. Cardinal Health is in the chain of

distribution of prescription opioids.

               4.      Walmart Inc.

       70.     Defendant Distributor Walmart Inc. f/k/a Wal-Mart Stores, Inc. (“Walmart”) is a

Delaware corporation with its principal place of business in Arkansas.

       71.     At all times relevant, Walmart distributed prescription opioids throughout the United

States, including in Kansas and Ford County and its neighboring counties specifically. On

information and belief, these opioids were distributed to Ford County and its neighboring counties

by at least one Walmart entity, Wal-Mart Pharm. On information and belief, Walmart is a top

distributor of fentanyl, oxycodone, oxymorphone, hydrocodone, hydromorphone, morphine,

methadone and buprenorphine in and around Ford County and its neighboring counties. Walmart

has engaged in consensual commercial dealings in and around Ford County and its neighboring

counties, and has purposefully availed itself of the advantages of conducting business with, within,

and around Ford County and its neighboring counties. Walmart is in the chain of distribution of

prescription opioids. As reported by the Washington Post, there were 100,000 prescription opioid

deaths between 2006 and 2012, during which time two-thirds of the 76 billion opioid pain pills to

flood the market were distributed by Walmart and just a handful of other companies. 11 In 2016,

       11
           Scott Higham, 76 billion opioid pills: Newly released data unmasks the epidemic, The
Washington Post (July 16, 2019), https://www.washingtonpost.com/investigations/76-billion-
opioid-pills-newly-released-federal-data-unmasks-the-epidemic/2019/07/16/5f29fd62-a73e-
11e9-86dd-d7f0e60391e9_story.html; see also Walmart, CVS, Walgreens Opioid Crisis Lawsuit,
VOX (July 23, 2019), https://www.vox.com/the-goods/2019/7/23/20707179/walmart-cvs-

                                                28
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 31 of 282. PageID #: 177




Walmart expanded its long-term prescription drug distribution agreement.12 Walmart’s total revenue

exceeded $500 billion in 2018.

        72.     In 2017, Walmart acknowledged the need for “a solution to the [opioid] epidemic”

and noted the epidemic has “devastated so many families and communities across America.”13

However, on information and belief, Walmart has also paid settlements to resolve allegations of

recordkeeping violations at pharmacies in various states and has committed and continues to commit

serious and flagrant violations regarding—inter alia—its recordkeeping and other obligations under

Kansas law in connection with its distribution of opioids to Ford County and its neighboring

counties.

                5.      Walgreen Co.

        73.     Defendant Distributor Walgreen Co. (“Walgreens”) is an Illinois corporation with its

principle place of business in Illinois.

        74.     At all times relevant, Walgreens distributed prescription opioids throughout the

United States, including in Kansas and Ford County and its neighboring counties specifically. On

information and belief, these opioids were distributed to Ford County and its neighboring counties

by at least two Walgreens entities—Walgreen Co. d/b/a Walgreens (located at 5100 Lake Terrace

NE, Mount Vernon, IL 62864) and Walgreen Co. d/b/a Walgreens (located at 6464 Blanchars

Crossing, Windsor, WI 53598)—to at least one buyer which is located in Ford County, Walgreens

#7817 located at 1801 N. 14th Avenue, Dodge City, Kansas. On information and belief, Walgreens

is a top distributor of fentanyl, oxycodone, hydrocodone, hydromorphone, codeine, morphine,


walgreens-opioid-crisis-lawsuit-trial.
       12
          See Chain Drug Review, Extended Agreement Adds Sourcing of Generic Drugs (May
16, 2016), https://corporate.walmart.com/newsroom/2016/05/16/mckesson-and-walmart-
announce-sourcing-agreement-for-generic-pharmaceuticals.
       13
          Press Release, Walmart, Walmart Supports the State of Emergency Declaration on
Opioids (Oct. 26, 2017), https://news.walmart.com/2017/10/26/walmart-supports-state-of-
emergency-declaration-on-opioids.

                                                 29
     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 32 of 282. PageID #: 178




methadone and buprenorphine in Ford County and its neighboring counties. Walgreens has engaged

in consensual commercial dealings in and around Ford County and its neighboring counties and has

purposefully availed itself of the advantages of conducting business with, within, and around Ford

County and its neighboring counties. Walgreens is in the chain of distribution of prescription

opioids.

       75.     In 2016, Walgreens issued a press release captioned “Walgreens Leads Fight Against

Prescription Drug Abuse with New Programs to Help Curb Misuse of Medications and the Rise in

Overdose Deaths.”14 However, on information and belief, Walgreens, the second-largest pharmacy

store chain in the United States, has committed, continues to commit, and has been penalized for

serious and flagrant violations regarding its recordkeeping and other obligations under Kansas law in

connection with its distribution of opioids to Ford County and its neighboring counties

               6.      Kroger Limited Partnership II

       76.     Defendant Kroger Limited Partnership II (“Kroger”) is also an Ohio corporation with

its principal place of business located in Cincinnati, Ohio. Kroger operates a chain of multi-

department and grocery stores which includes pharmacy departments. At all relevant times, Kroger

was in the business of distributing substantial amounts of prescription opioids to providers and

retailers. Kroger has engaged in consensual commercial dealings in Ford County, and has

purposefully availed itself of the advantages of conducting business with and within Ford County.

Kroger is in the chain of distribution of prescription opioids.

       77.     Defendants AmerisourceBergen, McKesson, McQueary, Cardinal Health, Walmart,

Walgreens, and Kroger Limited Partnership II are collectively referred to as the “Distributor

Defendants.” Manufacturers of opioids have transferred prescription opioids to the Distributor

14
   Press Release, Walgreens, Walgreens Leads Fight Against Prescription Drug Abuse with New
Programs to Help Curb Misuse of Medications and the Rise in Overdose Deaths (Feb. 9, 2016),
https://news.walgreens.com/press-releases/general-news/walgreens-leads-fight-against-
prescription-drug-abuse-with-new-programs-to-help-curb-misuse-of-medications-and-the-rise-
in-overdose-deaths.htm

                                                 30
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 33 of 282. PageID #: 179




Defendants for years. The Distributor Defendants dominate 85 to 90 percent of all revenues from

drug distribution in the United States, estimated to be at $378.4 billion in 2015. The Distributor

Defendants supplied opioids to hospitals, pharmacies (including their own retail stores), doctors and

other healthcare providers, which then dispensed the drugs to patients in Kansas, including in Ford

County. The Distributor Defendants have had substantial contacts and business relationships with

the citizens of Ford County. The Distributor Defendants have purposefully availed themselves of

business opportunities within Ford County.

       D.      Pharmacy Defendants

               1.      Dillon Companies, LLC

       78.     Defendant Dillon Companies, LLC f/k/a Dillon Companies, Inc., dba Dillon

Pharmacy (“Dillon Pharmacy”) provides pharmaceutical services through its grocery retail location.

Dillon Pharmacy is a local pharmacy located at 1700 N. 14th Avenue, Dodge City, KS 67801. On

information and belief, Defendant Dillon Pharmacy is a top dispenser of opioids in Ford County and

has committed and continues to commit serious and flagrant violations of Kansas laws regarding the

dispensing of opioids, including—inter alia—violations of the Kansas Uniform Controlled

Substances Act and the Kansas Pharmacy Act.

               2.      Walmart Pharmacy

       79.     Defendant Wal-Mart Stores East, LP d/b/a Walmart #372 (“Walmart Pharmacy”) is a

Delaware limited partnership with its principal place of business in Arkansas. On information and

belief, at least one of Walmart Pharmacy’s members is a citizen of Bentonville, Arkansas and,

therefore, Walmart Pharmacy is a citizen of Arkansas. At all times relevant, Walmart Pharmacy

distributed prescription opioids throughout the United States, including in Kansas and Ford County

and its neighboring counties specifically. On information and belief, Walmart Pharmacy is a top

dispenser of opioids in and around Ford County that has committed and continues to commit serious
and flagrant violations regarding—inter alia—its recordkeeping and other obligations under Kansas



                                                 31
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 34 of 282. PageID #: 180




law in connection with dispensing opioids to Ford County patients. Walmart Pharmacy has engaged

in consensual commercial dealings in and around Ford County and its neighboring counties and has

purposefully availed itself of the advantages of conducting business with, within, and around Ford

County and its neighboring counties. (Walmart Inc. f/k/a Wal-Mart Stores, Inc. and Wal-Mart

Stores East, LP d/b/a Walmart #372 shall collectively be referred to as “Walmart.”)

               3.      Walgreens Pharmacy

       80.     Defendant Walgreen Co. d/b/a Walgreens #7817 (“Walgreens Pharmacy”) is an

Illinois corporation with its principal place of business in Illinois. Walgreens operates a chain

pharmacy in Ford County. On information and belief, Walgreens Pharmacy is a top dispenser of

opioids in or around Ford County and its neighboring counties that has committed and continues to

commit serious and flagrant violations regarding—inter alia—its recordkeeping and other

obligations under Kansas law in connection with dispensing opioids to Ford County patients.

Walgreens Pharmacy has engaged in consensual commercial dealings in or around Ford County and

its neighboring counties, and has purposefully availed itself of the advantages of conducting business

with, within, and around Ford County and its neighboring counties. (Walgreen Co. and Walgreen

Co. d/b/a Walgreens #7817 shall collectively be referred to as “Walgreens.”)

       81.     The Defendants Dillon Pharmacy, Walmart Pharmacy, and Walgreens Pharmacy are

collectively referred to as the “Pharmacy Defendants.”

       E.      DOE Defendants

       82.     Ford County is ignorant of the true names or capacities, whether individual, plural,

corporate, partnership, associate, or otherwise of DOES 1 through 1000, inclusive, is unknown to

Plaintiff who therefore sues said Defendants by such fictitious names. The full extent of the facts

linking such fictitiously sued Defendants is unknown to Plaintiff. Plaintiff is informed and believes

and thereon alleges that each of the Defendants designated herein as a DOE was, and is, negligently,
recklessly, and/or intentionally responsible for the events and happenings hereinafter referred to, and



                                                  32
       Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 35 of 282. PageID #: 181




thereby negligently, recklessly, and/or intentionally legally and proximately caused the hereinafter

described injuries and damages to Ford County. Plaintiff will hereafter seek leave of the Court to

amend this Petition to show the fictitiously sued Defendants’ true names and capacities, after the

same have been ascertained.

III.     JURISDICTION AND VENUE

         83.   The District Court of Ford County, Kansas has general original jurisdiction over this

civil action pursuant to the provisions of K.S.A. 20-301.

         84.   Venue is proper in Ford County, Kansas pursuant to the applicable provisions of

Chapter 60, Article 6 of the Kansas Statutes Annotated because, inter alia, Plaintiff’s causes of

action arose in Ford County, Kansas and many of the corporate defendants named in this Petition are

Kansas corporations, have principal places of business located in Ford County, Kansas, and/or have

registered offices located in Ford County, Kansas. Further, venue in Ford County is proper pursuant

to K.S.A. 50-638(b), 60-603(1), (3), 60-604(2), (3), 60-605(1), (3), (4), because:

          a.   Plaintiff resides in this county;

          b.   Actions and injuries giving rise to the cause of action occurred in this county;

          c.   The Manufacturer Defendants promoted their opioids through “treating” physicians,

               whom the Manufacturer Defendants rewarded for excessively prescribing opioids,

               the misuse of which both occurred in, and resulted in financial damages to, Ford

               County;

          d.   The subject prescriptions for the Manufacturer Defendants opioids were filled in

               pharmacies in Kansas and in this county from shipments by the Distributor

               Defendants; and

          e.   Defendants engaged in acts and practices in violation of K.S.A. 50-623, et seq. in

               this county.
         85.   Pursuant to K.S.A. 60-308 and 50-638(a), personal jurisdiction over the non-resident



                                                   33
      Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 36 of 282. PageID #: 182




defendants in proper in Kansas because:

         a.    The Manufacturer Defendants, either individually or through their agents or

               instrumentalities: (1) transacted business, including consumer transactions, within

               Kansas; (2) committed tortious acts within Kansas; (3) caused injuries to persons in

               Kansas arising out of acts or omissions outside of Kansas      while    engaging    in

               solicitation activities in Kansas, and opioids manufactured by the Manufacturer

               Defendants were used and consumed in Kansas in the ordinary course of trade or use.

         b.    The Distributor Defendants, through their agents and instrumentalities: (1)

               transacted business, including consumer transactions, within Kansas; (2) committed

               tortious acts within Kansas; (3) caused injuries to persons in Kansas arising out of

               acts or omissions outside of Kansas while engaging in solicitation activities in

               Kansas, and distributed opioids used and consumed in Kansas in the ordinary course

               of trade or use.

IV.     FACTUAL ALLEGATIONS

        A.     The Manufacturer Defendants’ Impact on the Perception and Prescribing of

               Opioids

        86.    Before the Manufacturer Defendants began the marketing campaign complained of

herein, the generally accepted standards of medical practice dictated that opioids should only be used

short-term, for acute pain, or for patients nearing the end of life. The Manufacturer Defendants

changed this perception and took advantage of addiction to make money. The Manufacturer

Defendants’ marketing campaign resulted in skyrocketing opioid prescriptions. The shocking

increase in prescriptions has been a financial boon for the Manufacturer Defendants. It has been a

tragedy for patients and citizens of Ford County. Ford County has lost citizens young and old to the

opioid epidemic—too many children in Ford County have lost their parents and too many parents
have buried their children. Too many grandparents are raising their grandchildren.



                                                 34
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 37 of 282. PageID #: 183




       87.     Patients who survive addiction need lengthy, difficult, and expensive treatment.

People who are addicted to opioids are often unable to work. The addiction of parents can force

their children into foster care. Babies are born addicted to opioids, a condition known as Neonatal

Abstinence Syndrome (“NAS”), because they are exposed to the drugs in the womb. Indeed, The

Manufacturer Defendants’ misconduct has imposed heavy costs on the citizens of Ford County.

       B.      The Manufacturer Defendants Engaged in a Deceptive Marketing Scheme to

               Increase Profits

       88.     To profit from their highly addictive drugs, the Manufacturer Defendants engaged in

deadly and illegal practices to deceive doctors and patients. First, the Manufacturer Defendants

deceived Ford County doctors and patients to get more people on their highly addictive drugs.

Second, the Manufacturer Defendants misled them to take higher doses and/or quantities. Third, the

Manufacturer Defendants deceived them to stay on their drugs for longer and more harmful periods

of time.

       89.     The Manufacturer Defendants targeted vulnerable people who could be introduced to

opioids, including elderly patients and people who had never taken opioids before.              The

Manufacturer Defendants targeted these vulnerable patients even though the risks of long-term

opioid use significantly outweighed any marginal benefits, particularly for elderly and other at-risk

patients, for whom such opioid use carried substantially higher risks. Existing evidence shows that

elderly patients taking opioids suffer from elevated fall and fracture risks, greater risk of

hospitalization, and increased vulnerability to adverse drug effects and interactions. Clinical

guidelines for opioid therapy, therefore, conclude that there are “special risks of long-term opioid

use for elderly patients” and recommend that prescribers use “additional caution and increased

monitoring” to minimize the risks of opioid use in elderly patients.

       90.     All the while, the Manufacturer Defendants peddled falsehoods to keep patients away
from safer alternatives. Even when the Manufacturer Defendants knew people in Ford County were



                                                 35
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 38 of 282. PageID #: 184




addicted and dying, the Manufacturer Defendants treated doctors and patients as “targets” to sell

more drugs.

       91.     Each part of the scheme earned the Manufacturer Defendants more money from

opioid sales and caused more addiction and death in Ford County. And each Manufacturer

Defendant participated in and profited from the scheme in Ford County, as set forth below.

       C.      The Manufacturer Defendants Funneled Misrepresentations Through Sales

               Representatives, Advertisements, and Third Parties

       92.     Ford County patients continue to visit emergency rooms and/or die after taking the

Manufacturer Defendants’ drugs because Ford County was subject to the Manufacturer Defendants’

massive deceptive sales campaign. The Manufacturer Defendants deceptively marketed their

opioids directly to healthcare providers and patients in Ford County. The Manufacturer Defendants

also deployed sales representatives to spread their false and misleading statements about the risks

and benefits of opioids for the treatment of long-term chronic pain throughout Kansas and,

specifically, in Ford County.

       93.     These representatives were the Manufacturer Defendants’ most powerful tools of

deception by using them to conduct face to face meetings with Ford County healthcare providers and

pharmacists in an effort to promote opioids. During these sales visits, the Manufacturer Defendants’

representatives made false and misleading claims directly to the professionals who care for Ford

County patients. The Manufacturer Defendants assigned representatives to Ford County and gave

them lists of Ford County doctors to visit. The ‘scripts’ used by these representatives were approved

and closely monitored by Manufacturer Defendants.

       94.     Each of these visits cost the Manufacturer Defendants money. But the Manufacturer

Defendants made this money back many times over, because they convinced doctors to prescribe

their addictive drugs. The Manufacturer Defendants rewarded high prescribing doctors with meals,
money, and gifts. The Manufacturer Defendants’ sales representatives who generated the most



                                                 36
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 39 of 282. PageID #: 185




prescriptions won bonuses and prizes. These representatives have spread and continue to spread

misinformation regarding the risks and benefits of opioids to hundreds of thousands of doctors, and

other healthcare providers, including those in Ford County.

        95.     The Manufacturer Defendants’ representatives have been reprimanded for their

deceptive promotions. A July 2010 “Dear Doctor” letter mandated by regulators required Actavis to

acknowledge to the doctors to whom it marketed its drugs that “[b]etween June 2009 and February

2010, Actavis sales representatives distributed…promotional materials that…omitted and minimized

serious risks associated with [Kadian],” including the risk of “[m]isuse, [a]buse, and [d]iversion of

[o]pioids” and, specifically, the risk that “[o]pioid[s] have the potential for being abused and are

sought by drug abusers and people with addiction disorders and are subject to criminal diversion.”

        96.     The Manufacturer Defendants also conducted and continue to conduct advertising

campaigns touting the purported benefits of their branded drugs. For example, the Manufacturer

Defendants spent more than $14 million on medical journal advertising of opioids in 2011, nearly

triple what they spent in 2001. This amount included $4.9 million by Janssen, $1.1 million by Endo,

and $8.3 million by Purdue (which is owned and controlled by the Sacklers, neither of which is a

party to this action).

        97.     A number of the Manufacturer Defendants’ branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, since at least May 21, 2011, Endo has distributed

and made available on its website opana.com a pamphlet promoting Opana ER with photographs

depicting patients with physically demanding jobs like construction workers and chefs, misleadingly

implying that the drug would provide long-term pain-relief and functional improvement. Purdue—

which is owned and controlled by the Sacklers, neither of which is a party to this action—also ran a

series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical journals. These ads featured

chronic pain patients and recommended OxyContin for each. One ad described a “54-year old writer
with osteoarthritis of the hands” and implied that OxyContin would help the writer work more



                                                 37
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 40 of 282. PageID #: 186




effectively. Endo and Purdue agreed in late 2015 and 2016 to halt these misleading representations

in New York, but they continue to disseminate them in Kansas.

        98.      Similarly, despite Subsys’ limited indication and the potent danger associated with

fentanyl, Insys falsely and misleadingly marketed Subsys to doctors as an effective treatment for

back pain, neck pain and other off-label breakthrough pain conditions. As of June 2012, Insys

defined “breakthrough pain” in cancer patients to include mild pain: a “flare of mild-to-severe pain

in patients with otherwise stable persistent pain,” based on a misleading citation to a paper written by

Dr. Russell Portenoy.15 Insys trained and instructed its sales representatives to use the false

definition of breakthrough pain and specifically to use a core visual aid, including the improper

definition, whenever they detailed Subsys to a healthcare provider or provider’s office. Indeed, as

described herein in Sections II.E. and IV.O., the Prescriber Defendant Dr. Simon was complicit in

this scheme.

        99.      According to a 2014 article in The New York Times, only 1% of prescriptions for

Subsys were written by oncologists. Approximately half the prescriptions were written by pain

specialists—like the Prescriber Defendant—with others, including dentists and podiatrists, writing

prescriptions as well.16

        100.     On September 6, 2017, Senator Claire McCaskill’s report, “Fueling an Epidemic:

Insys Therapeutics and the System Manipulation of Prior Authorization” was published. The report

found that Insys manipulated the prior authorization process 17 by misleading pharmacy benefit

        15
             Portenoy’s paper, which was featured in the 1990 issue of Pain, actually defined
breakthrough pain as “a transitory increase in pain to greater than moderate intensity—i.e., to an
intensity of ‘severe’ or ‘excruciating’) . . . on a baseline pain of moderate intensity or less.” Russell
K. Portenoy & Neil A. Hagen, Breakthrough pain: Definition, prevalence and characteristics, 41(3)
Pain 273-81 (July 1990).
        16
          Katie Thomas, Doubts Raised About Off-Label Use of Subsys, a Strong Painkiller, N.Y.
TIMES (May 13, 2014), https://www.nytimes.com/2014/05/14/business/doubts-raised-about-off-
label-use-of-subsys-a-strong-painkiller.html.
        17
              Prior authorization (“PA”) is any process by which physicians and other health care

                                                   38
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 41 of 282. PageID #: 187




managers about the role of Insys in the prior authorization process and the presence of breakthrough

cancer pain in potential Subsys patients.18

       101.    On September 12, 2017, Senator McCaskill convened a Roundtable Discussion on

Opioid Marketing. During the hearing, Senator McCaskill stated:

       “The opioid epidemic is the direct result of a calculated marketing and sales strategy
       developed in the 90’s which delivered three simple messages to physicians. First,
       that chronic pain was severely undertreated in the United States. Second, that
       opioids were the best tool to address that pain. And third, that opioids could treat
       pain without risk of serious addiction. As it turns out these messages were
       exaggerations at best and outright lies at worst.”
                                       *    *      *
       “Our national opioid epidemic is complex, but one explanation for this crisis is
       simple, pure greed.” 19

       102.    Less than two years later, Insys’ former chief executive officer pleaded guilty to

participating in a nationwide scheme to bribe doctors in exchange for prescribing Subsys.20

       103.    The Manufacturer Defendants21 also identified doctors to serve, for payment, on their

speakers’ bureaus and to attend programs with speakers and meals paid for by the Manufacturer

Defendants. These speaker programs provided: (1) an incentive for doctors to prescribe a particular


providers must obtain advance approval from a health plan before a specific procedure, service,
device, supply or medication is delivered to the patient to qualify for payment coverage. (American
Medical Association, Prior authorization: The current landscape, p. 1 (2015), https://www.ama-
assn.org/sites/ama-assn.org/files/corp/media-browser/premium/psa/prior-authorization-toolkit_0.pdf.
       18
          HSGAC Minority Staff Report, Insys Therapeutics and the Systemic Manipulation of
Prior Authorization (2017).
       19
          See, LIVESTREAM: Insys Opioid Sales and Marketing Practices Roundtable, September
12, 2017, at 31:03-31:37, https://www.youtube.com/watch?v=k9mrQa8_vAo (last accessed Mar.
17, 2019).
       20
           Nate Raymon, Former Insys CEO pleads guilty to opioid kickback scheme, REUTERS (Jan.
9, 2019), https://www.reuters.com/article/us-insys-opioids/former-insys-ceo-pleads-guilty-to-opioid-
kickback-scheme-idUSKCN1P312L.
       21
          Upon information and belief, Actavis continued to carry out speaker programs after it
acquired Kadian.

                                                39
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 42 of 282. PageID #: 188




opioid (so they might be selected to promote the drug); (2) recognition and compensation for the

doctors selected as speakers; and (3) an opportunity to promote the drug through the speaker to his or

her peers. These speakers give the false impression that they are providing unbiased and medically

accurate presentations when they are, in fact, presenting a script prepared by the Manufacturer

Defendants. On information and belief, these presentations conveyed misleading information,

omitted material information, and failed to correct the Manufacturer Defendants’ prior

misrepresentations about the risks and benefits of opioids, resultantly deceiving Ford County patients

and well-meaning healthcare providers who reasonably relied on these misrepresentations in

inappropriately prescribing opioids to their patients.

       104.       Each Manufacturer Defendant devoted and continues to devote massive resources to

direct sales contacts (“detailing”) with doctors. In 2014 alone, the Manufacturer Defendants spent

$168 million on detailing branded opioids to doctors. This amount is twice as much as the

Manufacturer Defendants spent on detailing in 2000. The amount includes $108 million spent by

Purdue, $34 million by Janssen, $10 million by Endo, and $2 million by Actavis.

       105.       The Manufacturer Defendants also deceptively marketed opioids in Kansas through

unbranded advertising—i.e., advertising that promotes opioid use generally but does not name a

specific opioid. This advertising was ostensibly created and disseminated by independent third

parties. But by funding, directing, reviewing, editing, and distributing this unbranded advertising,

the Manufacturer Defendants controlled the deceptive messages disseminated by these third parties

and acted in concert with them to falsely and misleadingly promote opioids for the treatment of

chronic pain.22

       106.       The Manufacturer Defendants marketed through third-party, unbranded advertising to

avoid regulatory scrutiny because that advertising is not submitted to and typically is not reviewed

       22
           The phrase “acted in concert” includes conspiring to achieve some end and aiding and
abetting in the commission of acts necessary to achieve some end.


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    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 43 of 282. PageID #: 189




by regulators. The Manufacturer Defendants also used third-party, unbranded advertising to give the

false appearance that the deceptive messages came from an independent and objective source. Like

tobacco companies, the Manufacturer Defendants used third parties—like the Prescriber

Defendant—whom the Manufacturer Defendants funded, directed, and/or controlled to carry out and

conceal their scheme to deceive doctors and patients in the County about the risks and benefits of

long-term opioid use for chronic pain.

       107.    The Manufacturer Defendants’ deceptive unbranded marketing often contradicted

what they said in their branded materials reviewed by regulators. For example, Endo’s unbranded

advertising contradicted its concurrent, branded advertising for Opana ER.

       108.    The Manufacturer Defendants also spoke through a small circle of doctors who, upon

information and belief, were selected, funded, and elevated by the Manufacturer Defendants because

their public positions supported the use of opioids to treat chronic pain. These doctors became

known as “key opinion leaders” or “KOLs.” The Manufacturer Defendants paid these KOLs to

serve as consultants or on their advisory boards and to give talks or present continuing medical

education programs (“CMEs”), and their support helped these KOLs become respected industry

experts. As they rose to prominence, these KOLs touted the benefits of opioids to treat chronic pain,

repaying the Manufacturer Defendants by advancing their marketing goals. KOLs’ professional

reputations became dependent on continuing to promote a pro-opioid message, even in activities that

were not directly funded by the Manufacturer Defendants.

       109.    Pro-opioid doctors—such as the Prescriber Defendant—are one of the most important

avenues that the Manufacturer Defendants use to spread their false and misleading statements about

the risks and benefits of long-term opioid use for chronic pain. The Manufacturer Defendants know

that doctors rely heavily and more uncritically on their peers for guidance, and KOLs provide the

false appearance of unbiased and reliable support for chronic opioid therapy. For example, the New
York Attorney General (“NY AG”) found in its settlement with Purdue that through March 2015, the



                                                 41
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 44 of 282. PageID #: 190




Purdue website, “In the Face of Pain,” failed to disclose that doctors who provided testimonials on

the site were paid by Purdue and concluded that Purdue’s failure to disclose these financial

connections potentially misled consumers regarding the objectivity of the testimonials. KOLs have

written, consulted on, edited, and lent their names to books and articles, and have given speeches and

CMEs supportive of chronic opioid therapy. The Manufacturer Defendants created opportunities for

KOLs to participate in research studies Defendants suggested or chose and then cited and promoted

favorable studies or articles by their KOLs. By contrast, the Manufacturer Defendants did not

support, acknowledge, or disseminate publications of doctors unsupportive or critical of chronic

opioid therapy.

       110.    The Manufacturer Defendants’ KOLs also served on committees that developed

treatment guidelines that strongly encourage the use of opioids to treat chronic pain and on the

boards of pro-opioid advocacy groups and professional societies that develop, select, and present

CMEs. These guidelines and CMEs were not supported by the scientific evidence at the time they

were created, and they are not supported by the scientific evidence today. The Manufacturer

Defendants were able to direct and exert control over each of these activities through their KOLs.

Indeed, regulators now recognize that treatment guidelines can “change prescribing practices.”

       111.    The Manufacturer Defendants also entered into arrangements with seemingly

unbiased and independent patient and professional organizations to promote opioids for the

treatment of chronic pain. Under the direction and control of Defendants, these “Front Groups”—

which include, but are not limited to, the American Pain Foundation (“APF”) and the American

Academy of Pain Medicine—generated treatment guidelines, unbranded materials, and programs

that favored chronic opioid therapy. These guidelines, materials, and programs were not supported

by the evidence at the time they were created, and they are not supported by the scientific evidence

today. These Front Groups also assisted the Manufacturer Defendants by responding to negative
articles, by advocating against regulatory changes that would limit opioid prescribing in accordance



                                                 42
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 45 of 282. PageID #: 191




with the scientific evidence, and by conducting outreach to vulnerable patient populations targeted

by the Manufacturer Defendants.

       112.    These Front Groups depended on the Manufacturer Defendants for funding and, in

some cases, for survival. Defendants also exercised control over programs and materials created by

these groups by collaborating on, editing, and approving their content, and by funding their

dissemination. For example, Purdue’s consulting agreement with APF gave it direct, contractual

control over APF’s work. In doing so, the Manufacturer Defendants ensured the Front Groups

would generate only the messages the Manufacturer Defendants wanted to distribute. Despite this,

the Front Groups misleadingly held themselves out as independent and serving the needs of their

members—whether patients were suffering from pain or doctors were treating those patients.

       113.    The Manufacturer Defendants worked together, through Front Groups, to spread their

deceptive messages about the risks and benefits of long-term opioid therapy. For example, the

Manufacturer Defendants combined their efforts through the Pain Care Forum (“PCF”), which began

in 2004 as an APF project. PCF is comprised of representatives from opioid manufacturers

(including Endo, Janssen/J&J, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that legally mandated educational projects on opioids were not unacceptably negative and did

not require mandatory participation by prescribers, which the Manufacturer Defendants determined

would reduce prescribing. PCF also worked to address a perceived “lack of coordination” among its

members and developed “key” messages that were disseminated in programs and industry-run

websites.

       114.    These misrepresentations were made without reasonable care, despite the

Manufacturer Defendants’ knowledge of, and indifference to, the fact that opioids would pose a high

degree of risk of harm to Ford County’s residents as a result of such misrepresentations.
       D.      The Manufacturer Defendants Deceived Healthcare Providers and Patients to



                                                43
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 46 of 282. PageID #: 192




                Get More People on Highly Addictive Drugs, at Higher Doses, for Longer

                Periods

        115.    To convince prescribers and patients around the country, including in Kansas, that

opioids can and should be used to treat chronic pain, the Manufacturer Defendants had to convince

them that long-term opioid use is both safe and beneficial. The Manufacturer Defendants deceived

those doctors and patients about the risks and benefits of long-term opioid use. The Manufacturer

Defendants, through Front Groups, KOLs, and advertisements, made claims that they knew or

reasonably should have known were not supported by or were contrary to the scientific evidence—

most frequently, these claims downplayed the risks of addiction in order to convince patients and

doctors alike that prescription opioids should be used more regularly. Even though pronouncements

by and guidance from regulators based on that evidence confirm that their claims were false and

misleading, Ford County is informed and believes that the Manufacturer Defendants have not

corrected them and continue to spread them today, including as set forth specifically below.

                1.      Deception About Addiction

        116.    The Manufacturer Defendants always knew that their opioids carry grave risks of

addiction and death. Instead of being honest about these risks, the Manufacturer Defendants

obscured them, including by falsely stating and implying that “appropriate patients” would not get

addicted. To convince doctors and patients that opioids are safe, the Manufacturer Defendants

deceptively trivialized and failed to disclose the risks of long-term opioid use, particularly the risk of

addiction, through a series of misrepresentations that have been conclusively debunked by regulators

and the medical community at large.

        117.    First, the Manufacturer Defendants falsely claimed that the risk of addiction is low

and that addiction is unlikely to develop when opioids are prescribed, as opposed to obtained

illicitly, and failed to disclose the greater risk of addiction with prolonged use of opioids. Some
illustrative examples of these false and misleading claims that were made by, are continuing to be



                                                   44
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 47 of 282. PageID #: 193




made by, and/or have not been corrected by the Manufacturer Defendants after May 21, 2011, are

described below:

              a. Actavis’s predecessor caused a patient education brochure to be distributed in
                 2007 that claimed opioid addiction is possible, but “less likely if you have never
                 had an addiction problem.” Upon information and belief, based on Actavis’s
                 acquisition of its predecessor’s marketing materials along with the rights to
                 Kadian, Actavis continued to use this brochure in 2009 and beyond.

              b. Purdue, which is owned and controlled by the Sacklers (neither of which/whom
                 are defendants in this case, but which engaged in the kind of conduct that
                 inspired and informed the conduct of other named manufacturer defendants), and
                 Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                 Pain (2007), which instructed that addiction is rare and limited to extreme cases
                 of unauthorized dose escalations, obtaining duplicative opioid prescriptions from
                 multiple sources, or theft.

              c. Endo sponsored a website, Painknowledge.com, which claimed in 2009 that
                 “[p]eople who take opioids as prescribed usually do not become addicted.”
                 Another Endo website, PainAction.com, stated “Did you know? Most chronic
                 pain patients do not become addicted to the opioid medications that are
                 prescribed for them.”

              d. Endo and Cephalon distributed a pamphlet with the Endo logo entitled Living
                 with Someone with Chronic Pain, which stated that: “Most health care providers
                 who treat people with pain agree that most people do not develop an addiction
                 problem.” A similar statement appeared on the Endo website www.opana.com.

              e. Janssen/J&J reviewed, edited, approved, and distributed a patient education guide
                 entitled Finding Relief: Pain Management for Older Adults (2009), which
                 described as “myth” the claim that opioids are addictive, and asserted as fact that
                 “[m]any studies show that opioids are rarely addictive when used properly for the
                 management of chronic pain.”

              f. Janssen ran a website, Prescriberesponsibly.com (last updated July 2, 2015),
                 which claims that concerns about opioid addiction are “overestimated.”

              g. Purdue, which is owned and controlled by the Sacklers (neither of which/whom
                 are defendants in this case, but which engaged in the kind of conduct that
                 inspired and informed the conduct of other named manufacturer defendants),
                 sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                 Management—which claims that less than 1% of children prescribed opioids will
                 become addicted and that pain is undertreated due to “misconceptions about
                 opioid addiction[].”

                                               45
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 48 of 282. PageID #: 194




                h. Detailers for Purdue, Endo, Teva and Janssen in Kansas have minimized or
                   omitted and continue to minimize or omit any discussion with doctors or their
                   medical staff in Kansas, including Ford County, about the risk of addiction;
                   falsely claiming that abuse-deterrent formulations “cannot be crushed,”
                   downplaying the potential that these opioids could be abused; and routinely did
                   not correct the misrepresentations noted above.

       118.     Moreover, Purdue, in a pamphlet for doctors, Providing Relief, Preventing Abuse: A

Reference Guide to Controlled Substance Prescribing Practices, wrote that addiction “is not caused

by drugs.” Instead, Purdue—which is owned and controlled by the Sacklers (neither of which/whom

are defendants in this case, but which engaged in the kind of conduct that inspired and informed the

conduct of other named manufacturer defendants)—assured doctors that addiction happens when the

wrong patients get drugs and abuse them: “it is triggered in a susceptible individual by exposure to

drugs, most commonly through abuse.”23

       119.     Purdue, which is owned and controlled by the Sacklers (neither of which/whom are

defendants in this case, but which engaged in the kind of conduct that inspired and informed the

conduct of other named manufacturer defendants), also promoted its opioids to Ford County patients

with marketing that was designed to obscure the risk of addiction and even the fact that Purdue was

behind the campaign. Purdue created a website, In the Face of Pain, that promoted pain treatment

by urging patients to “overcome” their “concerns about addiction.” Testimonials on the website that

were presented as personal stories were in fact by Purdue consultants, whom Purdue had paid tens of

thousands of dollars to promote its drugs.24

       120.     Another publication from Purdue—which is owned and controlled by the Sacklers—

was the Resource Guide for People with Pain, which falsely assured patients and doctors that opioid

       23
           Purdue Pharma LP, Providing Relief, Preventing Abuse (2008), pg. 12; see also K.
Nelson, Purdue Pharma lawsuit: Terms you need to know to understand OxyContin blitz, Knox
News (July 13, 2018), https://www.knoxnews.com/story/news/health/2018/07/13/purdue-pharma-
lawsuit-terms-know-understand-oxycontin-blitz/779173002/.
       24
            Purdue Pharma LP, In the Face of Pain (Oct. 24, 2011).


                                                46
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 49 of 282. PageID #: 195




medications are not addictive:

                “Many people living with pain and even some healthcare providers
                believe that opioid medications are addictive. The truth is that when
                properly prescribed by a healthcare professional and taken as
                directed, these medications give relief–not a ‘high’.”25

       121.     Purdue, which is owned and controlled by the Sacklers, falsely denied the risk of

addiction, falsely implied that addiction requires patients to get “high,” and falsely promised that

patients would not get addicted if they took opioids as prescribed.

       122.     Purdue (which is not a defendant in this case, but which engaged in the kind of

conduct that inspired and informed the conduct of other named manufacturer defendants) funded and

distributed many more publications that were similarly misleading. Exit Wounds misleadingly

claimed: “Long experience with opioids shows that people who are not predisposed to addiction are

unlikely to become addicted to opioid pain medications.”26

       123.     Similarly, while Janssen/J&J repeatedly disclaimed responsibility for its part in

causing the opioid crisis, insisting that “[e]verything that we have done with our products when

we’ve promoted opioid products . . . was appropriate and responsible,” internal memoranda and

communications between high-level executives at Janssen show the company funded and pushed

bogus research to lend false credibility to a series of dangerous fictions, claiming that “[m]any

studies show that opioids are rarely addictive when used properly for the management of chronic

pain,” and enabling “Janssen’s representatives [to] promote[] Nucynta and Nucynta ER as safer,

milder, and less addictive than competitor opioids like OxyContin.”27

       124.     Similarly, in 2008, Cephalon pleaded guilty to a criminal violation for its misleading

       25
            Purdue Pharma LP, Resource Guide for People with Pain, p. 8 (2009).
       26
            Purdue Pharma LP, Exit Wounds, p. 107 (2009).
       27
            M. Aron, Deceptively marketing opioids, NJTV News (Nov. 13, 2018),
https://www.njtvonline.org/news/video/state-sues-johnson-johnson-subsidiary-for-deceptively-
marketing-opioids/.


                                                 47
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 50 of 282. PageID #: 196




promotion of Actiq and two other drugs and agreed to pay $425 million.

       125.    In August 2019, Johnson & Johnson was found liable of: (a) having engaged in false

and misleading marketing of both their drugs and opioids more generally; and (b) creating,

contributing to, and perpetuating a public nuisance under Oklahoma law. This determination

resulted in a $572 million verdict that represents just one year of abatement expenses in one state.

       126.    Over and over, Defendants said opioids could be given to “trusted” patients without

risk of addiction. To promote their drugs, the Manufacturer Defendants pushed the myth that

addiction is a character flaw, and “trustworthy” people do not get addicted to drugs. While

Manufacturer Defendants might not have specifically intended to injure Ford County or its residents,

the Manufacturer Defendants were well aware of the consequential dangers to life and safety arising

from their misconduct, in which they continue to engage despite such awareness.

       127.    These claims are contrary to longstanding scientific evidence and recently established

clinical guidelines for opioid therapy. These guidelines describe the “extensive evidence” of the

“possible harms of opioids (including opioid use disorder [an alternative term for opioid

addiction]).” The guidelines indicate “[o]pioid pain medication use presents serious risks, including .

. . opioid use disorder” and that “continuing opioid therapy for 3 months substantially increases risk

for opioid use disorder.”

       128.    The falsity of the Manufacturer Defendants’ claims about the low risk of addiction

was further exposed when regulators announced changes to the labels for ER/LA opioids in 2013

and for IR opioids in 2016. These announcements emphasize that “most opioid drugs have ‘high

potential for abuse’ ” and that opioids “are associated with a substantial risk of misuse, abuse,

NOWS [neonatal opioid withdrawal syndrome], addiction, overdose, and death.” Further, these

announcements clarify the risk of death is not limited to patients who seek drugs illicitly, as

addiction “can occur in patients appropriately prescribed [opioids].” Thus, because of the “known
serious risks” associated with long-term opioid use, including “risks of addiction, abuse, and misuse,



                                                  48
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 51 of 282. PageID #: 197




even at recommended doses, and because of the greater risks of overdose and death,” opioids should

be used only “in patients for whom alternative treatment options” like non-opioid drugs have failed.

       129.    The New York Attorney General, in a 2016 settlement agreement with Endo, found

that opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

meeting the clinical criteria for an opioid use disorder.” Endo had claimed until at least April 2012

on its www.opana.com website that “[m]ost healthcare providers who treat patients with pain agree

that patients treated with prolonged opioid medicines usually do not become addicted,” but the NY

AG found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to

“make statements that . . . opioids generally are non-addictive” or “that most patients who take

opioids do not become addicted” in New York. On information and belief, Endo made similar

misrepresentations to healthcare providers and patients in and around Ford County, Kansas.

However, Endo has not been restricted from making these statements in Kansas.

               2.        Deception to Get Vulnerable Patients on Opioids

       130.    To expand the market for opioids, the Manufacturer Defendants also trained their

representatives to target vulnerable populations and encourage doctors to put them on opioids,

without disclosing the risks. The Manufacturer Defendants deceptively promoted opioids for elderly

patients, patients who had never taken opioids, and patients with osteoarthritis—putting thousands of

more patients at risk.

       Elderly Patients

       131.    The Manufacturer Defendants knew that prescribing opioids to elderly patients

increase their risk of death. Elderly patients are at a greater risk of dangerous interactions between

drugs. They are also at a greater risk of respiratory depression—in which patients suffocate and die.

But the Manufacturer Defendants, seeing the opportunity to earn millions of dollars by getting
elderly patients on opioids because the public would pay through Medicare, indifferently disregarded



                                                  49
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 52 of 282. PageID #: 198




these risks and nevertheless continue to engage in the misconduct described throughout this Petition.

For instance, Purdue’s (not a defendant herein) internal documents show it targeted “Patients over

the age of 65 as more . . . coverage is achieved.”28

       Opioid-Naïve Patients

       132.     The Manufacturer Defendants also targeted patients who were not already taking

opioids, described in the field as “opioid-naïve.” The Manufacturer Defendants unfairly and

deceptively marketed their drugs as appropriate treatments for opioid-naïve patients, without

disclosing that they face even higher risks of overdose and death.

       133.     For instance, Purdue trained its sales reps to promote their drugs specifically for

opioid-naïve patients. In training calls, Purdue managers instructed:

       ▪    “Your opportunity here is with the naïve community, let’s use the naïve trial to make the
            case.”

       ▪    “You created an epiphany with the doctor today (potentially) by reviewing the opiate
            naïve patient profile. What made him more apt to write this for his patient, being an
            amiable doctor, is the fact that he would not have to talk patients out of their short-
            acting [opioids].”

       ▪    “This was an example of what a good call looks like . . . [Dr.] was particularly
            interested in the RM case study of Marjorie, which generated a robust discussion of
            opioid naïve patients…”

       134.     Purdue (not a defendant herein, but which engaged in the kind of conduct that

inspired and informed the conduct of named manufacturer defendants) promoted its drugs for opioid-

naïve patients using the deceptive term “first line opioid.” “First line” is a medical term for the

preferred first step in treating a patient. Opioids are not an appropriate first line therapy.

       135.     The Manufacturer Defendants also found vulnerable opioid-naïve patients by

targeting prescribers with the least training in the risks of opioids. The Manufacturer Defendants

determined that nurse practitioners, physician assistants, and primary care doctors were especially

       28
            Purdue Pharma LP, Pain Products Presentation, p. 12 (Jan. 28, 2015).

                                                  50
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 53 of 282. PageID #: 199




responsive to sales reps, so the Manufacturer Defendants targeted them to sell more drugs.

        Osteoarthritis Patients

        136.    The Manufacturer Defendants knew that opioids were not appropriate to appropriate

to treat nonmalignant pain in non-cancer patients, including patients suffering from osteoarthritis.

Opioids are not approved to treat osteoarthritis. For instance, Purdue conducted a single study on

osteoarthritis for Butrans, and it failed. Purdue admitted in internal documents that its opioids “are

not indicated for a specific disease” and “it is very important that you never suggest to your HCP

[health care professional] that OxyContin is indicated for the treatment of a specific disease state

such as Rheumatoid Arthritis or Osteoarthritis.”

        137.    Nevertheless, to meet their business goals, the Manufacturer Defendants trained their

sales representatives to mislead doctors by promoting opioids for osteoarthritis.

        138.    The Manufacturer Defendants also directed their sales reps to use marketing materials

that highlight patients with osteoarthritis, even though their drugs were never indicated for that disease.

                 3.      The Manufacturer Defendants Deceived Doctors and Patients to Use

                         Higher and Higher Doses

        139.    The Manufacturer Defendants deceived prescribing medical practitioners and patients

across the nation—and in Ford County—about the risks and benefits of opioids for the long-term

treatment of chronic pain. The Manufacturer Defendants dishonestly encouraged these prescribers to

provide long-term opioid therapy to patients for whom such treatment was inappropriate, such as

patients suffering from long-term chronic pain due to osteoarthritis. As set forth below, the

Manufacturer Defendants’ deceptive scheme succeeded in increasing the supply of highly addictive

prescription opioids, both in the State of Kansas generally and in Ford County, specifically.

        140.    The Manufacturer Defendants—including, but not limited to, Defendant Endo—also

falsely instructed doctors and patients in Kansas communities, including Ford County, that the signs
of addiction are actually signs of undertreated pain which should be treated by prescribing more



                                                    51
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 54 of 282. PageID #: 200




opioids. Defendants called this phenomenon “pseudoaddiction”—a made-up, misleading and

scientifically unsubstantiated term coined by Dr. David Haddox, who went to work for Purdue, and

popularized by Dr. Russell Portenoy, a KOL for Endo, Janssen, Teva, and Purdue. Through

aggressive marketing campaigns directed at prescribers and patients throughout the county,

including Ford County, the Manufacturer Defendants used the concept of “pseudoaddiction” as a

lever to mislead prescribers and their patients into believing that certain warning signs of opioid

addiction 29 were neither indicative of “true” addiction nor cause for alarm. To the contrary, the

Manufacturer Defendants repeatedly claimed these warning signs were manifestations of

undertreated pain, which should be addressed by prescribing more opioids. Importantly, at all times

relevant to this action, the Manufacturer Defendants both knew the concept of “pseudoaddiction”

was false and yet actively sought to conceal the truth from Ford County’s physicians and patients,

sabotaging these prescribers’ ability to protect their patients from opioid addiction and concomitant

injuries and make informed decisions about whether or not opioids were appropriate for their

patients. Some illustrative examples of these deceptive claims that were made by, are continuing to

be made by, and/or have not been corrected by the Manufacturer Defendants are described below:

               a. Cephalon, Endo, and Purdue—owned and controlled by the Sacklers—
                  sponsored Responsible Opioid Prescribing (2007), which taught that behaviors
                  such as “requesting drugs by name”, “demanding or manipulative behavior,”
                  seeing more than one doctor to obtain opioids, and hoarding, are all signs of
                  pseudoaddiction, rather than true addiction. Responsible Opioid Prescribing
                  remains for sale online.

               b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009
                  stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain
                  is under-treated . . . . Pseudoaddiction is different from true addiction because
                  such behaviors can be resolved with effective pain management.”

               c. Endo sponsored a National Initiative on Pain Control (NIPC) CME program in
                  2009 titled Chronic Opioid Therapy: Understanding Risk While Maximizing
       29
          E.g., demanding more opioids, engaging in manipulative behavior to obtain drugs,
requesting specific drugs, hoarding drugs during periods of reduced symptoms, using drugs to treat
another symptom, etc.

                                                 52
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 55 of 282. PageID #: 201




                   Analgesia, which promoted pseudoaddiction by teaching that a patient’s aberrant
                   behavior was the result of untreated pain. Endo substantially controlled NIPC by
                   funding NIPC projects; developing, specifying, and reviewing content; and
                   distributing NIPC materials.

               d. Purdue, which is owned and controlled by the Sacklers, neither of which/whom
                  are defendants in this case, but which engaged in the kind of conduct that
                  inspired and informed the conduct of other named manufacturer defendants,
                  published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which
                  described pseudoaddiction as a concept that “emerged in the literature” to
                  describe the inaccurate interpretation of [drug-seeking behaviors] in patients who
                  have pain that has not been effectively treated.”

               e. Purdue, which is owned and controlled by the Sacklers, neither of which/whom
                  are defendants in this case, but which engaged in the kind of conduct that
                  inspired and informed the conduct of other named manufacturer defendants,
                  sponsored a CME program entitled “Path of the Patient, Managing Chronic Pain
                  in Younger Adults at Risk for Abuse” in 2011. In a role play exercise, a chronic
                  pain patient with a history of drug abuse tells his doctor that he is taking twice as
                  many hydrocodone pills as directed. The narrator notes that because of
                  pseudoaddiction, the doctor should not assume the patient is addicted even if he
                  persistently asks for a specific drug, seems desperate, hoards medicine, or
                  “overindulges in unapproved escalating doses.” The doctor treats this patient by
                  prescribing a high-dose, long-acting opioid.

               f. Purdue, which is owned and controlled by the Sacklers, neither of which/whom
                  are defendants in this case, but which engaged in the kind of conduct that
                  inspired and informed the conduct of other named manufacturer defendants, and
                  Cephalon sponsored APF’s Treatment Options: A Guide for People Living with
                  Pain (2007), which states: “Pseudo-addiction describes patient behaviors that
                  may occur when pain is undertreated . . . Pseudo-addiction can be distinguished
                  from true addiction in that this behavior ceases when pain is effectively treated.”

       141.    The medical community now rejects the concept of pseudoaddiction and does not

recommend that opioid dosages be increased if a patient is not experiencing pain relief. To the

contrary, widely accepted opioid treatment guidelines now provide that “[p]atients who do not

experience clinically meaningful pain relief early in treatment . . . are unlikely to experience pain

relief with longer-term use,” and that physicians should “reassess[] pain and function within 1

month” in order to decide whether to “minimize risks of long-term opioid use by discontinuing
opioids” because the patient is “not receiving a clear benefit.”


                                                 53
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 56 of 282. PageID #: 202




       142.      Even one of the Manufacturer Defendants has effectively repudiated the concept of

pseudoaddiction. In finding that “[t]he pseudoaddiction concept has never been empirically

validated and in fact has been abandoned by some of its proponents,” the NY AG, in its 2016

settlement with Endo, reported that “Endo’s Vice President for Pharmacovigilance and Risk

Management testified to [the NY AG] that he was not aware of any research validating the

‘pseudoaddiction’ concept” and acknowledged the difficulty in distinguishing “between addiction

and ‘pseudoaddiction.’”30 Consistent with this testimony, Endo agreed not to “use the term

‘pseudoaddiction’ in any training or marketing” in New York.31

       143.      The Manufacturer Defendants also falsely promised prescribers and their patients that

addiction risk screening tools, patient contracts, urine drug screens, and similar strategies would both

allow these prescribers to reliably identify and safely prescribe opioids to patients who are

predisposed to addiction and be efficacious enough to essentially rule out the risk of opioid addiction

(even in the context of long-term opioid therapy). These misrepresentations were especially

insidious because the Manufacturer Defendants aimed them at general practitioners and family

doctors who lack the time and expertise to closely manage higher-risk patients on opioids. The

Manufacturer Defendants’ misrepresentations made these doctors feel more comfortable prescribing

opioids to their patients, and patients more comfortable starting on opioid therapy for chronic pain.

Some illustrative examples of these deceptive claims that were made by, are continuing to be made

by, and/or have not been corrected by the Manufacturer Defendants after March 21, 2011, are

described below:

                 a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a
                    doctor who became a member of Endo’s speakers bureau in 2010. The
                    supplement, entitled Pain Management Dilemmas in Primary Care: Use of
                    Opioids, emphasized the effectiveness of screening tools, claiming that patients
       30
         In the Matter of Endo Health Solutions Inc., et al., Assurance No. 15-228, p. 7, ¶ 23 (NY
AG, Mar. 1, 2016), https://www.ag.ny.gov/pdfs/ENDO_AOD_030116-Fully _ Executed.pdf.
       31
            Id., p. 15, ¶ 41.e.


                                                  54
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 57 of 282. PageID #: 203




                      at high risk of addiction could safely receive chronic opioid therapy using a
                      “maximally structured approach” involving toxicology screens and pill counts.

                b. Purdue, which is owned and controlled by the Sacklers, neither of which/whom
                   are defendants in this case, but which engaged in the kind of conduct that
                   inspired and informed the conduct of other named manufacturer defendants,
                   sponsored a November 2011 webinar, Managing Patient’s Opioid Use:
                   Balancing the Need and Risk, which claimed that screening tools, urine tests, and
                   patient agreements prevent “overuse of prescriptions” and “overdose deaths.”

                c. As recently as 2015, Purdue, which is owned and controlled by the Sacklers,
                   neither of which/whom are defendants in this case, but which engaged in the kind
                   of conduct that inspired and informed the conduct of other named manufacturer
                   defendants, has represented in scientific conferences that “bad apple” patients—
                   and not opioids—are the source of the addiction crisis and that once those “bad
                   apples” are identified, doctors can safely prescribe opioids without causing
                   addiction.

        144.    Consistent with what the Manufacturer Defendants already knew—but intentionally

and/or unreasonably failed to disclose—at all times relevant to this action, opioid treatment

guidelines now confirm that the Manufacturer Defendants’ statements were false, misleading, and

clearly unsupported at the time they were made by the Manufacturer Defendants. These guidelines

note that there are no studies assessing the effectiveness of risk mitigation strategies—such as

screening tools, patient contracts, urine drug testing, or pill counts widely believed by doctors to

detect and deter abuse—“for improving outcomes related to overdose, addiction, abuse, or misuse.”

As a result, opioid treatment guidelines now emphasize that available risk screening tools “show

insufficient accuracy for classification of patients as at low or high risk for [opioid] abuse or misuse”

and counsels that prescribers “should not overestimate the ability of these tools to rule out risks from

long-term opioid therapy.”

                 4.       The Manufacturer Defendants Peddled Falsehoods to Keep Patients

                          Away from Safer Alternatives to Opioid Therapy

                         (a)     Deception about Quality of Life
        145.    The Manufacturer Defendants steered patients away from safer alternatives with the


                                                   55
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 58 of 282. PageID #: 204




false claim that its opioids improve patients’ “quality of life,” though the Manufacturer Defendants

had no reasonable basis to support this claim.

                       (b)    Deception about Risk of Abuse

       146.    In addition to visiting prescribers and pharmacists hundreds of thousands of times, the

Manufacturer Defendants distributed thousands of copies of their deceptive publications, including

Providing Relief, Preventing Abuse; Resource Guide for People with Pain; Exit Wounds; Opioid

Prescribing: Clinical Tools and Risk Management Strategies; Responsible Opioid Prescribing;

Clinical Issues in Opioid Prescribing; and In The Face of Pain.

                5.      The Manufacturer Defendants Downplayed Opioid Withdrawal

       147.    To downplay the risk and impact of addiction and make doctors feel more

comfortable starting patients on opioids, the Manufacturer Defendants falsely claimed that opioid

dependence can easily be addressed by tapering and that opioid withdrawal is not a problem and

failed to disclose the increased difficulty of stopping opioids after long-term use. For example, a

2011 non-credit educational program sponsored by Endo, entitled “Persistent Pain in the Older

Adult,” claimed that withdrawal symptoms can be avoided by tapering a patient’s opioid dose by

10%-20% for 10 days. Purdue, which is owned and controlled by the Sacklers, neither of

which/whom are defendants in this case, but which engaged in the kind of conduct that inspired and

informed the conduct of other named manufacturer defendants, sponsored APF’s A Policymaker’s

Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

dependence can often be ameliorated by gradually decreasing the dose of medication during

discontinuation” without mentioning any hardships that might occur. This publication was available

on APF’s website until the organization dissolved in May 2012. Detailers for Janssen have told and

continue to tell doctors in Kansas, including Ford County, that their patients would not experience

withdrawal if they stopped using opioids.
       148.    The Manufacturer Defendants deceptively minimized the significant symptoms of



                                                 56
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 59 of 282. PageID #: 205




opioid withdrawal that, per widely accepted opioid treatment guidelines include drug craving,

anxiety, insomnia, abdominal pain, vomiting, diarrhea, sweating, tremor, rapid heartbeat,

spontaneous abortion and premature labor in pregnant women, and the unmasking or exacerbating of

anxiety, depression, and addiction.

       149.    The Manufacturer Defendants also grossly understated the difficulty of tapering,

particularly after long-term opioid use. Widely accepted opioid treatment guidelines now emphasize

that the duration of opioid use and the dosage of opioids prescribed should be “limit[ed]” to

“minimize the need to taper opioids to prevent distressing or unpleasant withdrawal symptoms,”

because “physical dependence on opioids is an expected physiologic response in patients exposed to

opioids for more than a few days.” These guidelines further state that “tapering opioids can be

especially challenging after years on high dosages because of physical and psychological

dependence” and highlights the difficulties, including the need to carefully identify “a taper slow

enough to minimize symptoms and signs of opioid withdrawal” and to “pause[] and restart[]” tapers

depending on the patient’s response. Likewise, regulators have acknowledged the lack of any “high-

quality studies comparing the effectiveness of different tapering protocols for use when opioid

dosage is reduced or opioids are discontinued.”

       150.    Some prescribers and many patients across the country and in Kansas communities—

including Ford County—relied on the truth of the Manufacturers Defendants’ representations about

both the benefits of opioid analgesics and the risks of opioid addiction. Because each of the

Manufacturer Defendants willfully or recklessly concealed the truth about their products and knew

or should have known their representations were false at the time they were made, Ford County and

its citizens are forced to pay the price for Defendants’ misconduct.

               6.     The Manufacturer Defendants Hid the Greater Risks to Patients at

                      Higher Dosages of Opioids
       151.    The Manufacturer Defendants were in the best position to know, and in fact did



                                                  57
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 60 of 282. PageID #: 206




know, that—relative to the general population—the risk of opioid-related death increases

exponentially after a patient takes opioids for several consecutive months.

       152.    Specifically, the Manufacturer Defendants falsely claimed that doctors and patients

could increase opioid dosages indefinitely without added risk and failed to disclose the greater risks

to patients at higher dosages. The ability to escalate dosages was critical to the Manufacturer

Defendants’ efforts to market opioids for long-term use to treat chronic pain because, absent this

misrepresentation, doctors would have abandoned treatment when patients built up tolerance and

lower dosages did not provide pain relief. Some illustrative examples of these deceptive claims that

were made by, are continuing to be made by, and/or have not been corrected by the Manufacturer

Defendants after May 21, 2011, are described below:

                   a. Actavis’ predecessor created a patient brochure for Kadian in 2007 that
                      stated, “Over time, your body may become tolerant of your current dose.
                      You may require a dose adjustment to get the right amount of pain relief.
                      This is not addiction.” Upon information and belief, based on Actavis’
                      acquisition of its predecessor’s marketing materials along with the rights to
                      Kadian, Actavis continued to use these materials in 2009 and beyond.

                   b. Purdue, which is owned and controlled by the Sacklers, neither of
                      which/whom are defendants in this case, but which engaged in the kind of
                      conduct that inspired and informed the conduct of other named manufacturer
                      defendants, and Cephalon sponsored APF’s Treatment Options: A Guide for
                      People Living with Pain (2007), which claims that some patients “need” a
                      larger dose of an opioid, regardless of the dose currently prescribed. The
                      guide stated that opioids have “no ceiling dose” and are therefore the most
                      appropriate treatment for severe pain.32

                   c. Endo sponsored a website, painknowledge.com, which claimed in 2009 that
       32
           The Manufacturer Defendants frequently contrasted the lack of a ceiling dosage for
opioids with the risks of a competing class of analgesics: over-the-counter nonsteroidal anti-
inflammatories (or NSAIDs). The Manufacturer Defendants deceptively describe the risks from
NSAIDs while failing to disclose the risks from opioids. (See, e.g., Case Challenges in Pain
Management: Opioid Therapy for Chronic Pain (Endo) (describing massive gastrointestinal bleeds
from long-term use of NSAIDs and recommending opioids); Finding Relief: Pain Management for
Older Adults (Janssen) (NSAIDs caused kidney or liver damage and increased risk of heart attack
and stroke, versus opioids, which cause temporary “upset stomach or sleepiness” and constipation).)


                                                 58
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 61 of 282. PageID #: 207




                      opioid dosages may be increased until “you are on the right dose of
                      medication for your pain.” The website was still accessible online after May
                      21, 2011.

                   d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your
                      Pain: Taking Oral Opioid Analgesics, which was still available after May 21,
                      2011 on Endo’s website. In Q&A format, it asked “If I take the opioid now,
                      will it work later when I really need it?” The response is, “The dose can be
                      increased. . . . You won’t ‘run out’ of pain relief.”

                   e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                      Management for Older Adults (2009), which was distributed by its sales
                      force. This guide listed dosage limitations as “disadvantages” of other pain
                      medicines but omitted any discussion of risks of increased opioid dosages.

                   f. Through March 2015, another publication from Purdue—which is owned and
                      controlled by the Sacklers—called In the Face of Pain, promoted the notion
                      that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                      sufficient dosage of opioids, he or she should find another doctor who will.

                   g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                      Its Management, which taught that dosage escalations are “sometimes
                      necessary,” even unlimited ones, but did not disclose the risks from high
                      opioid dosages. This publication is still available online.

                   h. Purdue, which is owned and controlled by the Sacklers, sponsored a CME
                      entitled Overview of Management Options that is still available for CME
                      credit. The CME was edited by a KOL and taught that NSAIDs and other
                      drugs, but not opioids, are unsafe at high dosages.

       153.    Through a series of internal strategy presentations and other communications with its

sales force and prescriber-accomplices, Manufacturer Defendants aimed to “drive” patients toward

higher doses of opioids for longer periods by dramatically increasing the supply. They also sought

to increase consumer demand for opioids, namely by offering discounts to patients on their first

prescriptions. These discounts proved to be one of the most powerful tactics to keep patients on

opioids longer.

       154.    These claims conflict with the scientific evidence, as confirmed by widely accepted

opioid treatment guidelines.     These guidelines admonish practitioners and other industry
stakeholders that while the “[b]enefits of high-dose opioids for chronic pain are not established,”

                                                59
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 62 of 282. PageID #: 208




there are clear “risks for serious harms related to opioid therapy increase at higher opioid dosage.”

       155.    More specifically, these guidelines explain that “there is now an established body of

scientific evidence showing that overdose risk is increased at higher opioid dosages.” Opioid

treatment guidelines also provide that “there is an increased risk for opioid use disorder, respiratory

depression, and death at higher dosages.”

       156.    Because “the available data do suggest a relationship between increasing opioid dose

and risk of certain adverse events.” Specifically, the clinical research “appear[s] to credibly suggest

a positive association between high-dose opioid use and the risk of overdose and/or overdose

mortality.” In fact, a recent study found that 92% of persons who died from an opioid-related

overdose were initially prescribed opioids for chronic pain. In light of this evidence, prescribing

clinicians are now advised to “avoid increasing dosages” above 90 morphine milligram equivalents

(“MMEs”) each day.

       157.    Finally, the Manufacturer Defendants’ materially overstated the so-called abuse-

deterrent properties of some of their opioids, falsely claiming regulators found abuse-deterrent

opioids (“AD opioids”) would “prevent tampering,” result in a drug that “cannot be crushed or

snorted,” and in practice will “prevent or reduce opioid abuse.” These statements are false, however,

as the Manufacturer Defendants knew at the time these statements were made that AD opioids do not

prevent tampering and can (and often are) crushed or snorted by those determined to do so.

Moreover, contrary to the Manufacturer Defendants’ claims, regulators have never claimed that AD

opioids “will prevent or reduce opioid abuse.” Thus, by materially mischaracterizing regulatory

findings and scientific evidence about AD opioids to exaggerate the abuse-deterrent properties of

these drugs, the Manufacturer Defendants—despite knowing the high degree of risk that these

mischaracterizations would create—proceeded to mislead the prescribing clinicians and patients who

reasonably relied on Defendants’ misstatements to their detriment. Indeed, a 2014 survey of 1,000
primary care physicians found nearly half of these physicians falsely believed AD opioids are



                                                  60
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 63 of 282. PageID #: 209




inherently less addictive, despite widely accepted clinical evidence that AD opioids do not reduce

the rate of misuse and abuse by patients who either become addicted after using opioids long-term as

prescribed, or escalate their use by taking more pills or higher doses.

       158.     Due to the significant limitations of AD opioids, as well as the heightened risk that

prescribers and patients will rely on the Manufacturer Defendants’ misconceptions about these

drugs, regulators have admonished the Manufacturer Defendants that any communications from the

sponsor companies regarding AD properties must be truthful and not misleading (based on a

product’s labeling), and supported by sound science taking into consideration the totality of the data

for the particular drug.    Claims for AD opioid products that are false, misleading, and/or

insufficiently proven do not serve the public health.

       159.    Despite this admonition, the Manufacturer Defendants have made and continue to

make misleading claims about the extent to which their AD opioids can prevent or reduce abuse and

addiction.

       160.    For example, Endo has marketed Opana ER as tamper- or crush-resistant and less

prone to misuse and abuse since at least May 21, 2011 even though: (1) Endo’s petition to approve

Opana ER as abuse-deterrent was rejected in 2012; (2) regulators found in 2013 that there was no

evidence that Opana ER “would provide a reduction in oral, intranasal or intravenous abuse”; and (3)

Endo’s own studies, which it failed to disclose, showed that Opana ER could still be ground and

chewed. Endo’s advertisements for the 2012 reformulation of Opana ER falsely claimed that Opana

ER could not be crushed, creating the impression that the drug was more difficult to abuse. On

information and belief, detailers for Endo continue to reiterate these false statements to prescribers

and patients across the country and in Kansas communities, including Ford County.

       161.    In the 2016 settlement with the NY AG, Endo agreed not to make statements in New

York that Opana ER was “designed to be, or is crush resistant.” The NY AG found those statements
false and misleading because there was no difference in the ability to extract the narcotic from



                                                 61
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 64 of 282. PageID #: 210




Opana ER. The NY AG also found that Endo failed to disclose its own knowledge of the

crushability of redesigned Opana ER in its marketing to formulary committees and pharmacy benefit

managers.

       162.    Because Opana ER could be “readily prepared for injection” and was linked to

outbreaks of HIV and a serious blood disease, in 2017, regulators requested that Endo withdraw

Opana ER from the market.

       163.    Likewise, Purdue, which is owned and controlled by the Sacklers, neither of

which/whom are defendants in this case, but which engaged in the kind of conduct that inspired and

informed the conduct of other named manufacturer defendants, has engaged and continues to engage

in deceptive marketing of its AD opioids—i.e., reformulated OxyContin and Hysingla—since at

least May 21, 2011. Before April 2013, Purdue did not market its opioids based on their abuse

deterrent properties. On information and belief, however, Kansas prescribers report that detailers

from Purdue have regularly used the so-called abuse deterrent properties of Purdue’s opioid products

as a primary selling point to differentiate those products from their competitors. Specifically, these

detailers: (1) claim that Purdue’s AD opioids prevent tampering and cannot be crushed or snorted;

(2) claim that Purdue’s AD opioids prevent or reduce opioid misuse, abuse, and diversion, are less

likely to yield a euphoric high, and are disfavored by opioid abusers; (3) Purdue’s AD opioids are

“safer” than other opioids; and (4) fail to disclose that Purdue’s AD opioids do not impact oral abuse

or misuse and that its abuse deterrent properties can be defeated.

       164.    These statements and omissions by Purdue, which is owned and controlled by the

Sacklers, neither of which/whom are defendants in this case, but which engaged in the kind of

conduct that inspired and informed the conduct of other named manufacturer defendants, are false

and misleading and conflict with or are inconsistent with the approved label for Purdue’s AD

opioids—which indicates that abusers do seek them because of their high likability when snorted,
that their abuse deterrent properties can be defeated, and that they can be abused orally



                                                 62
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 65 of 282. PageID #: 211




notwithstanding their abuse deterrent properties and which does not indicate that AD opioids prevent

or reduce abuse, misuse, or diversion.

       165.    A 2015 study also shows that many opioid addicts are abusing AD opioids through

oral intake or by defeating the abuse deterrent mechanism. Indeed, one-third of the patients in the

study defeated the abuse deterrent mechanism and were able to continue inhaling or injecting the

drug. And to the extent that the abuse of AD opioids was reduced, those addicts simply shifted to

other drugs such as heroin.33 Despite this, J. David Haddox, the Vice President of Health Policy for

Purdue, falsely claimed in 2016 that the evidence does not show that Purdue’s AD opioids are being

abused in large numbers.

       166.    Similarly, widely accepted clinical guidelines for opioid therapy expressly state that

“[n]o studies” support the notion that “abuse-deterrent technologies [are] a risk mitigation strategy

for deterring or preventing abuse,” noting that the technologies “do not prevent opioid abuse through

oral intake, the most common route of opioid abuse, and can still be abused by nonoral routes.”

Regulatory agencies have further reported that their staff could not find “any evidence showing the

updated opioids [ADFs] actually reduce rates of addiction, overdoses, or death.”34

       167.    These false and misleading claims about the abuse deterrent properties of their

opioids are especially troubling. First, the Manufacturer Defendants are using these claims in a

spurious attempt to rehabilitate their image as responsible opioid manufacturers. Second, these

claims are falsely targeting doctors’ concerns about the toll caused by the explosion in opioid

prescriptions and use and encouraging doctors to prescribe AD opioids under the mistaken belief that

these opioids are safer, even though they are not. Finally, these claims are causing doctors to

       33
           Cicero, Theodore J., and Matthew S. Ellis, Abuse-deterrent formulations and the
prescription opioid abuse epidemic in the United States: lessons learned from OxyContin, 72.5
JAMA Psychiatry, 424-30 (2015).
       34
           Perrone, Drugmakers push profitable, but unproven, opioid solution (Dec. 15, 2016),
https://publicintegrity.org/state-politics/drugmakers-push-profitable-but-unproven-opioid-solution/.


                                                 63
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 66 of 282. PageID #: 212




prescribe more AD opioids—which are far more expensive than other opioid products even though

they provide little or no additional benefit.

       168.    These numerous, longstanding misrepresentations of the risks of long-term opioid use

spread by the Manufacturer Defendants successfully convinced healthcare providers and patients to

discount those risks, including doctors and patients in Kansas and Ford County.

       169.    These numerous, longstanding misrepresentations of the risks of long-term opioid use

spread by the Manufacturer Defendants successfully convinced healthcare providers and patients to

discount those risks.

               7.       The Manufacturer Defendants Grossly Overstated the Benefits of

                        Chronic Opioid Therapy

       170.    To convince doctors and patients that opioids should be used to treat chronic pain, the

Manufacturer Defendants also had to persuade them that there was a significant upside to long-term

opioid use. However, as the widely accepted clinical guidelines for opioid therapy now make clear

that there is “insufficient evidence to determine the long-term benefits of opioid therapy for chronic

pain.” In fact, these guidelines found that “[n]o evidence shows a long-term benefit of opioids in

pain and function versus no opioids for chronic pain with outcomes examined at least 1 year later

(with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other treatments

were more or equally beneficial and less harmful than long-term opioid use.

       171.    Likewise, regulators recognize the lack of evidence to support long-term opioid use.

In 2013, for instance, one regulator stated it was “not aware of adequate and well-controlled studies

of opioids use longer than 12 weeks.” Despite this, the Manufacturer Defendants falsely and

misleadingly touted the benefits of long-term opioid use and falsely and misleadingly suggested that

these benefits were supported by scientific evidence. On information and belief, not only have the

Manufacturer Defendants failed to correct these false and misleading claims, they continue to make
them today in Kansas and in Ford County.



                                                 64
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 67 of 282. PageID #: 213




       172.    For example, the Manufacturer Defendants falsely claimed that long-term opioid use

improved patients’ function and quality of life. Some illustrative examples of these deceptive claims

that were made by, are continuing to be made by, and/or have not been corrected by the

Manufacturer Defendants after May 21, 2011 are described below:

               a. Actavis distributed an advertisement that claimed that the use of Kadian to treat
                  chronic pain would allow patients to return to work, relieve “stress on your body
                  and your mental health,” and help patients enjoy their lives.

               b. Endo distributed advertisements that claimed that the use of Opana ER for
                  chronic pain would allow patients to perform demanding tasks like construction
                  work or work as a chef and portrayed seemingly healthy, unimpaired subjects.

               c. Janssen sponsored and edited a patient education guide entitled Finding Relief:
                  Pain Management for Older Adults (2009) which states as “a fact” that “opioids
                  may make it easier for people to live normally.” The guide lists expected
                  functional improvements from opioid use, including sleeping through the night,
                  returning to work, recreation, sex, walking, and climbing stairs and states that
                  “[u]sed properly, opioid medications can make it possible for people with chronic
                  pain to ‘return to normal.’”

               d. Purdue, which is owned and controlled by the Sacklers, neither of which/whom
                  are defendants in this case, but which engaged in the kind of conduct that
                  inspired and informed the conduct of other named manufacturer defendants, ran a
                  series of advertisements for OxyContin in 2012 in medical journals entitled “Pain
                  vignettes,” which were case studies featuring patients with pain conditions
                  persisting over several months and recommending OxyContin for them. The ads
                  implied that OxyContin improves patients’ function.

               e. Responsible Opioid Prescribing (2007), sponsored and distributed by Endo,
                  Cephalon and Purdue—owned and controlled by the Sacklers— taught that relief
                  of pain by opioids, by itself, improved patients’ function.

               f. Purdue, which is owned and controlled by the Sacklers, and Cephalon sponsored
                  APF’s Treatment Options: A Guide for People Living with Pain (2007), which
                  counseled patients that opioids “give [pain patients] a quality of life we deserve.”

               g. Endo’s NIPC website painknowledge.com claimed in 2009 that with opioids,
                  “your level of function should improve; you may find you are now able to
                  participate in activities of daily living, such as work and hobbies, that you were
                  not able to enjoy when your pain was worse.” Elsewhere, the website touted
                  improved quality of life (as well as “improved function”) as benefits of opioid
                  therapy. The grant request that Endo approved for this project specifically

                                                 65
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 68 of 282. PageID #: 214




                   indicated NIPC’s intent to make misleading claims about function, and Endo
                   closely tracked visits to the site.

               h. Endo was the sole sponsor, through NIPC, of a series of non-credit educational
                  programs titled Persistent Pain in the Older Patient, which claimed that chronic
                  opioid therapy has been “shown to reduce pain and improve depressive
                  symptoms and cognitive functioning.” The CME was disseminated via webcast.

               i. Janssen sponsored, funded, and edited a website, Let’s Talk Pain, in 2009, which
                  featured an interview edited by Janssen claiming that opioids allowed a patient to
                  “continue to function.”

               j. In a 2015 video on Forbes.com discussing the introduction of Hysingla ER,
                  Purdue’s Vice President of Health Policy, J. David Haddox, talked about the
                  importance of opioids, including Purdue’s opioids, to chronic pain patients’
                  “quality of life,” and complained that government statistics do not take into
                  account that patients could be driven to suicide without pain relief.

               k. Since at least May 21, 2011, sales representatives for Endo, Teva and Janssen’s
                  sales representatives have conveyed and continue to convey to prescribers in
                  Kansas, including in Ford County, the message that opioids will improve patient
                  function.

       173.    These claims find no support in the scientific literature. Regulators as well as

industry stakeholders have made this clear for years. Most recently, widely accepted clinical

guidelines for opioid therapy concluded that “there is no good evidence that opioids improve pain or

function with long-term use, and . . . complete relief of pain is unlikely.” As illustrated below, this

conclusion is reinforced throughout these guidelines:

           •   “No evidence shows a long-term benefit of opioids in pain and function versus no
               opioids for chronic pain with outcomes examined at least 1 year later. . . .”

           •   “Although opioids can reduce pain during short-term use, the clinical evidence
               review found insufficient evidence to determine whether pain relief is sustained
               and whether function or quality of life improves with long-term opioid therapy.”

           •   “[E]vidence is limited or insufficient for improved pain or function with long-
               term use of opioids for several chronic pain conditions for which opioids are
               commonly prescribed, such as low back pain, headache, and fibromyalgia.”

       174.    Industry guidelines for opioid therapy also note that the risks of addiction and death


                                                  66
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 69 of 282. PageID #: 215




“can cause distress and inability to fulfill major role obligations.” As a matter of common sense

(and medical evidence), drugs that can kill patients or commit them to a life of addiction or recovery

do not improve their function and quality of life.

        175.    Consistent with these guidelines, regulators have also repudiated Defendants’ claim

that opioids improved function and quality of life. In 2010, for instance, regulators expressly warned

Actavis, in response to its advertising described above, that “[w]e are not aware of substantial

evidence or substantial clinical experience demonstrating that the magnitude of the effect of the drug

[Kadian] has in alleviating pain, taken together with any drug-related side effects patients may

experience … results in any overall positive impact on a patient’s work, physical and mental

functioning, daily activities, or enjoyment of life.” And in 2008, regulators sent a warning letter to an

opioid manufacturer, making it clear “that [the claim that] patients who are treated with the drug

experience an improvement in their overall function, social function, and ability to perform daily

activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

        176.    The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing products like NSAIDs, so that doctors and patients would look to

opioids first for the long-term treatment of chronic pain. For example, the Manufacturer Defendants,

before and after May 21, 2011, have overstated the number of deaths from NSAIDS and have

prominently featured the risks of NSAIDS, while minimizing or failing to mention the serious risks

of opioids. Once again, these misrepresentations by the Manufacturer Defendants contravene widely

accepted clinical guidelines for opioid therapy as well as pronouncements by and guidance from

regulators based on the scientific evidence. Indeed, in 2013, the labels for ER/LA opioids and IR

opioids were changed to state that opioids should only be used as a last resort “in patients for which

alternative treatment options” like non-opioid drugs “are inadequate.” An identical change was

made to the labels of IR opioids in 2016. And widely accepted clinical guidelines regarding opioid
therapy expressly state that NSAIDs—not opioids—should be the first-line treatment for chronic



                                                   67
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 70 of 282. PageID #: 216




pain, particularly arthritis and lower back pain.

                   8.     The Manufacturer Defendants Engaged in Other Unlawful and Unfair

                          Misconduct

        177.       In stark contrast to repeated admonitions from regulators regarding the Manufacturer

Defendants’ “obligation to design and operate a system to disclose . . . suspicious orders of

controlled substances” and to inform regulators “of suspicious orders when discovered,” the

Manufacturer Defendants have improperly leveraged their respective sales networks and prescribing

databases to identify and improperly increase marketing efforts to prescribers who have

inappropriately prescribed the Manufacturer Defendants’ opioids, without reporting these prescribers

to the appropriate authorities

        178.       As Dr. Mitchell Katz, director of the Los Angeles County Department of Health

Services, said in a Los Angeles Times article, “[a]ny drug company that has information about

physicians potentially engaged in illegal prescribing or prescribing that is endangering people’s lives

has a responsibility to report it.”

        179.       For instance, Defendant Endo has been cited for its failure to set up an effective

system for identifying and reporting suspicious prescribing. In its settlement agreement with Endo,

the NY AG found that Endo failed to require sales representatives to report signs of abuse, diversion,

and inappropriate prescribing; paid bonuses to sales representatives for detailing prescribers who

were subsequently arrested or convicted for illegal prescribing; and failed to prevent sales

representatives from visiting prescribers whose suspicious conduct had caused them to be placed on

a no-call list. The NY AG also found that, in certain cases where Endo’s sales representatives

detailed prescribers who were convicted of illegal prescribing of opioids after May 21, 2011, those

representatives could have recognized potential signs of diversion and reported those prescribers, but

failed to do so.
        180.       Similarly, Mylan agreed to pay $100 million to resolve allegations that it conspired to



                                                     68
     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 71 of 282. PageID #: 217




deny its competitors certain necessary ingredients to manufacture several widely-prescribed

medications, including treatments for opioid use disorder and opioid addiction. As alleged in

petitions filed by thirty-two State Attorneys General and the District of Columbia, Mylan’s conduct

caused substantial price increases in, and improperly limited the supply of, these treatments.

        181.     In 2013, West-Ward was forced to pay penalties for shirking the company’s legal

obligation to make timely payments to drug discount programs that provide vulnerable patient

population with affordable access to pharmaceuticals, and also agreed to pay $10,000,000 to resolve

allegations that West-Ward had also been inflating prescription drug prices since 1995, effectively

overcharging some of its most vulnerable patient populations.

        182.     On information and belief, Par pleaded guilty to misbranding its drugs in 2013.

        183.     In May 2019, Cephalon Pharmaceuticals agreed to settle its lawsuit brought by the

Oklahoma Attorney General on behalf of the State of Oklahoma for $85 million dollars which

accuses Cephalon (and other manufacturers) of creating a public nuisance through its production and

marketing of prescription opioids.35 Ford County alleges similar claims against Cephalon and its

affiliates in this Petition.

        184.     Further, on October 19, 2019, Teva USA agreed to pay $50 million to resolve

allegations by two Ohio counties that Teva created a public nuisance and violated other laws in

connection with its production and marketing of prescription opioids in these counties. Plaintiff

alleges similar claims against Defendants in this Petition.

        185.     Despite the clear consequences for their misconduct, for years the Manufacturer

Defendants’ sales representatives have pressed prescribing clinicians to prescribe their opioids,

offering various gifts, rewards and/or other financial incentives to prescribers, to persuade these

clinicians to help the Manufacturer Defendants facilitate their widespread deception about the risks

        35
           Oklahoma Attorney General, Press Release—Attorney General Hunter Announces
Settlement with Teva Pharmaceuticals, (May 26, 2019), http://www.oag.ok.gov/attorney-general-
hunter-announces-settlement-with-teva-pharmaceuticals.

                                                 69
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 72 of 282. PageID #: 218




and benefits of opioids for the long-term treatment of chronic pain. Indeed, on information and

belief, the Manufacturer Defendants’ misconduct is ongoing as they continue to profit from the

prescriptions of such prolific prescribers in Kansas, including in Ford County.

       F.      Although the Manufacturer Defendants Knew That Their Marketing of Opioids

               Was False and Misleading, They Fraudulently Concealed Their Misconduct

       186.    The Manufacturer Defendants, both individually and collectively, made, promoted,

and profited from their misrepresentations about the risks and benefits of opioids for chronic pain

even though they knew that their misrepresentations were false and misleading. The history of

opioids, as well as research and clinical experience over the last 20 years, established that opioids

were highly addictive and responsible for a long list of very serious adverse outcomes. Regulators

expressly warned the Manufacturer Defendants of this. The Manufacturer Defendants had access to

scientific studies, detailed prescription data, and reports of adverse events, including reports of

addiction, hospitalization, and deaths—all of which made clear the harms from long-term opioid use

and that patients are suffering from addiction, overdoses, and death in alarming numbers. More

recently, regulators have issued pronouncements based on the medical evidence that conclusively

expose the known falsity of the Manufacturer Defendants’ misrepresentations, and several

Manufacturer Defendants have recently entered agreements prohibiting them from making some of

the same misrepresentations described in this Petition in New York.

       187.    Moreover, at all times relevant to this Petition, the Manufacturer Defendants

fraudulently concealed their deceptive marketing and unlawful, unfair, and fraudulent conduct. For

example, the Manufacturer Defendants concealed or intentionally failed to disclose that information

disseminated to the public or medical professionals through third parties such as Front Groups and

KOLs were, in fact, prepared and funded by the Manufacturer Defendants. The Manufacturer

Defendants intentionally misled the public to believe that the Front Groups and KOLs were neutral
third parties promoting the safety of opioids when they were actually the Manufacturer Defendants’



                                                 70
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 73 of 282. PageID #: 219




paid surrogates feeding lies to the public. The Manufacturer Defendants purposefully hid behind the

assumed credibility of these individuals and organizations and relied on them to vouch for the

accuracy and integrity of the Manufacturer Defendants’ false and misleading statements about the

risks and benefits of long-term opioid use for chronic pain.

       188.    The Manufacturer Defendants also concealed or intentionally failed to disclose their

role in controlling the content and messaging of information and materials regarding the purported

safety and non-addictive nature of opioids disseminated by these third parties. In truth, however, the

Manufacturer Defendants used the Front Groups and KOLs as their paid puppets to promote

misinformation and pass it off as “educational” materials in emails, correspondence, and meetings,

among others, public relations companies that were not, and have not yet become, public. For

example, painknowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

Manufacturer Defendants, such as Janssen, ran similar websites that masked their own direct role.

       189.    Finally, the Manufacturer Defendants manipulated their promotional materials and

the scientific literature to make it appear that these items were accurate, truthful, and supported by

objective evidence when they were not. As alleged in greater detail, supra, the Manufacturer

Defendants represented as “facts” misstatements, half-truths, and outright lies about the purported

benefits and safety of opioids, including representing that opioids could be used indefinitely without

increased health or addiction risks or that opioids could improve the quality of patients’ lives when,

in fact, the Manufacturer Defendants knew that opioids were highly addictive and appropriate for

short term use. The Manufacturer Defendants distorted the meaning or import of studies they cited

and offered them as evidence for propositions the studies did not support. The lack of support for

the Manufacturer Defendants’ deceptive messages was not apparent to medical professionals who

relied upon them in making treatment decisions, nor could it have been detected by Plaintiff.

       190.    Thus, the Manufacturer Defendants successfully concealed from the medical
community, patients, and health care payors facts sufficient to arouse suspicion of the claims that



                                                 71
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 74 of 282. PageID #: 220




Plaintiff now asserts. Plaintiff did not know of the existence or scope of the Manufacturer

Defendants’ industry-wide fraud and could not have acquired such knowledge earlier through the

exercise of reasonable diligence.

       G.      By Knowingly Causing an Explosion in Opioid Prescribing, Use, Misuse, Abuse,

               and Addiction Through Their Deceptive Marketing Schemes and Unlawful and

               Unfair Business Practices, Each Manufacturer Defendant Has Created or

               Assisted in the Creation of a Public Nuisance in Ford County

               1.      The Manufacturer Defendants’ Deceptive Marketing Scheme Has

                       Caused and Continues to Cause a Substantial Increase in Opioid

                       Prescriptions and Use in Ford County

       191.    The Manufacturer Defendants’ misrepresentations deceived and continue to deceive

doctors and patients in Ford County about the risks and benefits of long-term opioid use. Studies

also reveal that some doctors and many patients are not aware of or do not understand these risks and

benefits. Indeed, patients often report that they were not warned they might become addicted to

opioids prescribed to them. As reported in January 2016, a 2015 survey of more than 1,000 opioid

patients found that 4 out of 10 were not told opioids were potentially addictive. On information and

belief, Kansas residents in treatment for opioid addiction, including citizens of Ford County, were

never told that they might become addicted to opioids when they started taking them, were told that

they could easily stop using opioids, or were told that the opioids they were prescribed were less

addictive than other opioids.

       192.    The Manufacturer Defendants knew and should have known that their

misrepresentations about the risks and benefits of long-term opioid use were false and misleading

when they made them.

       193.    The Manufacturer Defendants’ deceptive marketing scheme and their unlawful and
unfair business practices caused and continue to cause doctors and other clinicians in Ford County to



                                                 72
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 75 of 282. PageID #: 221




prescribe opioids for the long-term treatment of chronic pain conditions such as back pain,

headaches, arthritis, and fibromyalgia. Absent the Manufacturer Defendants’ deceptive marketing

scheme and their unlawful and unfair business practices, these doctors would not have prescribed as

many opioids to as many patients, and there would not have been as many opioids available for

misuse and abuse or as much demand for those opioids.

       194.    The Manufacturer Defendants’ deceptive marketing scheme and their unlawful and

unfair business practices also caused and continue to cause patients in Kansas, including patients in

Ford County, to purchase and use opioids for their chronic pain believing they are safe and effective.

Absent Defendants’ deceptive marketing scheme, fewer patients would be using opioids long-term to

treat chronic pain, and those patients using opioids would be using less of them. The Manufacturer

Defendants’ deceptive marketing and their unlawful and unfair business practices have caused and

continue to cause the excessive prescribing and use of opioids to explode in Ford County.

       195.    The Manufacturer Defendants’ deceptive marketing of the abuse-deterrent properties

of their opioids during the past few years has been particularly effective, including in Ford County.

Such deceptive marketing has created the false impression among pain specialists and other

prescribers that Defendants’ AD opioids are appropriate for the long-term treatment of chronic pain,

which in turn has increased the number of prescriptions for these Defendants’ AD opioids. Although

sales of AD opioids still represent only a small fraction of opioids sold (less than 5% of all opioids

sold in 2015), they represent a disproportionate share of opioid sales revenue ($2.4 billion or

approximately 25% of opioid sales revenue in 2015).

       196.    The dramatic increase in opioid prescriptions and use corresponds with the dramatic

increase in the Manufacturer Defendants’ spending on their deceptive marketing scheme. The

Manufacturer Defendants’ spending on opioid marketing totaled approximately $91 million in 2000.

By 2011, that spending had tripled to $288 million.




                                                 73
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 76 of 282. PageID #: 222




                2.      By Causing a Significant Increase in Opioid Prescriptions and Use, the

                        Manufacturer Defendants Have Created or Assisted in the Creation of a

                        Public Nuisance in Ford County

        197.    The escalating number of opioid prescriptions written by healthcare providers who

reasonably relied on the Manufacturer Defendants’ deceptive marketing scheme is the cause of a

correspondingly dramatic increase in opioid addiction, overdose, and death throughout the United

States and Kansas communities, including in Ford County.

        198.    Representing regulators, Dr. Nora Volkow explained that “aggressive marketing by

pharmaceutical companies” is “likely to have contributed to the severity of the current prescription

drug abuse problem.”

        199.    In August 2016, the Surgeon General published an open letter to be sent to physicians

nationwide, enlisting their help in combating this “urgent health crisis” and linking that crisis to

deceptive marketing. He wrote that the push to aggressively treat pain, and the “devastating” results

that followed, had “coincided with heavy marketing to doctors . . . [m]any of [whom] were even

taught–incorrectly–that opioids are not addictive when prescribed for legitimate pain.”

        200.    Scientific evidence demonstrates a strong correlation between opioid prescriptions

and opioid abuse. A 2016 report explained that “[o]pioid pain reliever prescribing has quadrupled

since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving prescription

opioids for chronic pain account for the majority of overdoses. For these reasons, the report

concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to reverse the

epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”

        201.    Contrary to the Manufacturer Defendants’ misrepresentations, most opioid addiction

begins with legitimately prescribed opioids. In 2011, 71% of people who abused prescription

opioids got them through friends or relatives, not from pill mills, drug dealers or the internet.
Numerous doctors and substance abuse counselors note that many of their patients who misuse or



                                                   74
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 77 of 282. PageID #: 223




abuse opioids started with legitimate prescriptions, confirming the important role that doctors’

prescribing habits have played in the opioid epidemic.

       202.    As regulators observed in 2016, the opioid epidemic is getting worse, not better. The

overprescribing of opioids for chronic pain caused by the Manufacturer Defendants’ deceptive

marketing scheme has also resulted in a dramatic rise in the number of infants in Kansas who are

born addicted to opioids due to prenatal exposure and suffer from neonatal abstinence syndrome.

From 2006 to 2016, there was a 538% increase in reported cases of NAS in Kansas alone. These

infants face painful withdrawal and may suffer long-term neurologic and cognitive impacts.

       203.    The Manufacturer Defendants false and misleading advertising and other unlawful

and unfair conduct has greatly expanded the opioid market and significantly harmed communities

across the nation, including Ford County and its citizens. The Manufacturer Defendants’ success in

extending the market for opioids to new patients and chronic pain conditions has created an

abundance of drugs available for non-medical and criminal use and fueled a new wave of addiction

and injury. It has been estimated that 60% of the opioids that are abused come, directly or indirectly,

through doctors’ prescriptions.

       204.    The rise in opioid addiction caused by the Manufacturer Defendants’ deceptive

marketing scheme has also increased heroin use. Almost 80% of those who used heroin in the past

year previously abused prescription opioids.

       205.    Many patients who become addicted to opioids will lose their jobs. Some will lose

their homes and their families. Some will get treatment and fewer will successfully complete it;

many of those patients will relapse, returning to opioids or some other drug. Of those who continue

to take opioids, some will overdose—some fatally, some not. Others will die prematurely from

related causes—falling or getting into traffic accidents due to opioid-induced somnolence; dying in

their sleep from opioid-induced respiratory depression; suffering assaults while engaging in illicit
drug transactions; or dying from opioid-induced heart or neurological disease.



                                                  75
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 78 of 282. PageID #: 224




       206.    Absent each Manufacturer Defendants’ deceptive marketing scheme and their

unlawful and unfair business practices, the public health crisis caused by opioid misuse, abuse, and

addiction in Ford County, would have been averted or much less severe.

       207.    These harms in Ford County, caused by the Manufacturer Defendants’ deceptive

marketing schemes and unlawful and unfair business practices are a public or common nuisance

because they significantly damage the public health, safety, peace, comfort, and convenience; have

caused and continue to cause significant harm to the community; and arise from Defendants’ various

violations of Kansas controlled substances laws and regulations. Alternatively, the Manufacturer

Defendants’ misconduct qualifies as a private nuisance as applied to Ford County, because the nature

of Plaintiff’s damages pleaded herein are unique from the general type of harm the Manufacturer

Defendants caused to the public at large.

               3.      The Manufacturer Defendants Knew and Should Have Known That

                       Their Deceptive Marketing Schemes Would Create or Assist in the

                       Creation of This Public Nuisance in Ford County

       208.    The Manufacturer Defendants knew and should have known about these harms that

their deceptive marketing and unlawful and unfair business practices have caused and continue to

cause in Ford County. The Manufacturer Defendants closely monitored their sales and the habits of

prescribing doctors. Their sales representatives, who visited doctors and attended CMEs, knew

which doctors were receiving their messages and how they were responding. The Manufacturer

Defendants also had access to and watched carefully government and other data that tracked the

substantial rise in opioid use, addiction, injury, and death. They knew—and, indeed, intended—that

their misrepresentations would persuade healthcare providers in Ford County to prescribe, and

patients in Ford County to use, their opioids for the long-term treatment of chronic pain.




                                                76
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 79 of 282. PageID #: 225




               4.        The Manufacturer Defendants’ Conduct and Role in Creating or

                         Assisting in the Creation of the Public Nuisance Is Not Excused by the

                         Actions of any Third Parties

       209.    The Manufacturer Defendants’ actions are neither permitted nor excused by the fact

that their drug labels may have allowed or did not exclude the use of opioids for chronic pain.

Government approval of opioids for certain uses did not give the Manufacturer Defendants license to

misrepresent the risks and benefits of opioids.         Indeed, the Manufacturer Defendants’

misrepresentations were directly contrary to pronouncements by and guidance from regulators based

on the medical evidence and their own labels.

       210.    Likewise, the Manufacturer Defendants’ causal role was not broken by the

involvement of healthcare providers. Defendants’ marketing efforts were ubiquitous and highly

persuasive. Their deceptive messages tainted virtually every source doctors and other prescribing

clinicians could rely on for information and prevented them from making informed treatment

decisions. The Manufacturer Defendants were also able to harness and hijack what doctors wanted

to believe—namely, that opioids represented a means of relieving their patients’ suffering and of

practicing medicine more compassionately.

       H.      The Manufacturer Defendants’ Fraudulent Marketing Has Led To Record

               Profits

       211.    While the use of opioids has taken an enormous toll both on communities across the

nation and on Ford County and its citizens, the Manufacturer Defendants have realized blockbuster

profits. In 2014 alone, opioids generated $11 billion in revenue for drug companies like the

Manufacturer Defendants. Indeed, financial information indicates that each Manufacturer Defendant

experienced a material increase in sales, revenue, and profits from the false and misleading

advertising and other unlawful and unfair conduct described above.




                                                77
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 80 of 282. PageID #: 226




        I.      John Kapoor and Michael Babich Led Insys’ Misconduct

        212.    Kansas laws against both the creation of a public nuisance as well as unfair and

deceptive conduct in commerce applies to individuals regardless of whether they are officers,

directors, or employees. Holding individuals personally liable for their misconduct does not require

piercing a corporate veil. Individuals are personally liable if: (a) they participated in the misconduct;

or (b) they knew about the misconduct and failed to stop it; or (c) they should have known about the

misconduct and they failed to stop it.36 In this case, the Individual Defendants John Kapoor and

Michael Babich made the decisions to break Kansas law; they controlled the unfair and deceptive

conduct; and they personally collected many millions of dollars from the deception, going as far as

installing one of their own business liaisons in the Prescriber Defendants practice, to facilitate opioid

diversion and carryout Defendants’ scheme.

        213.    John Kapoor (“Kapoor”), the founder and majority owner of Insys, and Michael

Babich (“Babich”), the former CEO and President of Insys, led a nationwide conspiracy to profit

using bribes and fraud to cause the illegal distribution of Subsys.

        214.    On information and belief, Kapoor and Babich conspired to bribe practitioners in

various states, including in Kansas, many of whom operated pain clinics, in order to get them to

prescribe Subsys. In exchange for bribes and kickbacks, the practitioners wrote large numbers of

prescriptions for patients, many of whom were not diagnosed with cancer, and therefore did not need

Subsys.

        215.    Kapoor and Babich also conspired to mislead and defraud health insurance providers

who were reluctant to approve payment for the drug when it was prescribed for non-cancer patients.

They achieved this goal by setting up a “reimbursement unit,” which was dedicated to increasing

Subsys sales by—inter alia—increasing the number of prior authorizations for Subsys by providing

        36
         See Lentz Plumbing Co. v. Fee., 235 Kan. 266, 270 (Kan. 1984); State v. Commemorative
Serv Corp., 832 P.2d 831, 840 (Kan. Ct. App. 1991).


                                                   78
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 81 of 282. PageID #: 227




insurance companies and pharmacy benefit managers (“PBMs”) with materially false and fraudulent

pretenses, representations, and promises about their insured’s employment, medical diagnoses, and

tried and failed medications, creating the false impression that Subsys was medically appropriate and

covered by the insured’s health plan. As a result, the number of prior authorizations for Subsys

increased from 30% of all Subsys prescriptions in 2012, to 85% of all Subsys prescriptions in 2013.

       216.    Kapoor and Babich fueled the opioid epidemic by paying doctors to needlessly

prescribe Subsys for patients who did not need it, and without complying with Kansas law, thus

putting patients at risk and contributing to the current opioid crisis. Kapoor and Babich committed

fraud, placing profit before patient safety, to sell a highly potent and addictive opioid.

       217.    Indeed, the illicit fentanyl market that Defendants’ Kapoor and Babich created,

maintained, and/or assisted in creating and/or maintaining in Kansas has exploded, spreading across

Interstate 70 from Overland Park in Johnson County to the Manhattan area of Riley County and

subsuming Kansas communities in between, including the City of Topeka, Plaintiff’s county seat.

       J.      Distributor Defendants’ Violation of Duty

       218.    Distributor Defendants have a duty to exercise reasonable care under the

circumstances. This involves a duty not to create a foreseeable risk of harm to others. Additionally,

one who engages in affirmative conduct and thereafter realizes or should realize that such conduct

has created an unreasonable risk of harm to another is under a duty to exercise reasonable care to

prevent the threatened harm.

       219.    Under Kan. Admin. Regs. 68-14-7, all “registrant[s] shall meet the…minimum

requirements for the storage and handling of prescription-only drugs, and for the establishment and

maintenance of prescription-only drug distribution records by wholesale distributors and their

officers, agents, representatives, and employees. “Wholesale distributor” means any person,

partnership, corporation, or business firm licensed or registered in this state and engaging in the
wholesale distribution of prescription-only drugs. Kan. Admin. Regs. 68-14-1. Specifically,



                                                 79
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 82 of 282. PageID #: 228




registrants are required to maintain effective controls against diversion and design and operate a

system to disclose suspicious orders of controlled substances, especially opioids. Each of the

Distributor Defendants is a registrant for purposes of this section and, therefore, must satisfy certain

reporting requirements of any and all “suspicious orders.” (E.g., K.A.R. 68-20-15a(c)(2) (“Each

registrant shall design an operative system to disclose to the registrant any suspicious orders of

controlled substances. Each registrant shall inform the board of suspicious orders when discovered.

Suspicious orders shall include orders of unusual size, orders deviating from a normal pattern, and

orders of unusual frequency.”)

       K.      Distributor Defendants Knew or Should Have Known They Were Facilitating

               Widespread Opioid Diversion

       220.    Opioid diversion in the supply chain has always been a widespread problem and has

been highly publicized. Numerous publications from regulators and professional associations have

highlighted the epidemic rate of opioid abuse and overdose rates throughout the United States. Ford

County and neighboring communities have not been spared from this deleterious trend.

       221.    Prescription drug abuse is one of the fastest-growing drug problems in the United

States, including in Kansas.

       222.    To combat the problem of opioid diversion, regulators have provided guidance to

distributors on the requirements of suspicious order reporting in numerous venues, publications,

documents, and final agency actions.

       223.    Since 2006, regulators have conducted one-on-one briefings with distributors

regarding downstream customer sales, their due diligence responsibilities, and their legal and

regulatory responsibilities (including the responsibility to know their customers and report

suspicious orders). The distributors were provided with data on controlled substance distribution

patterns and trends, including data on the volume of orders, frequency of orders, and percentage of
controlled vs. non-controlled purchases. The distributors were also given case studies, legal findings



                                                  80
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 83 of 282. PageID #: 229




against other registrants, and profiles of their customers whose previous purchases may have

reflected suspicious ordering patterns. These materials pointed out “red flags” distributors should

look for in order to identify potential diversion. This initiative was created to help distributors

understand their duties with respect to diversion control.

          224.   For years, regulators have hosted conferences to provide distributors with updated

information about diversion trends and regulatory changes that affect the drug supply chain, the

distributor initiative, and suspicious order reporting. All of the major distributors—including

AmerisourceBergen and Cardinal Health—attended at least one of these conferences.               The

conferences allowed distributors to ask questions and raise concerns and request clarification on

policies and procedures intended to prevent opioid diversion.

          225.   Likewise, regulators have participated in numerous meetings and events with the

legacy Healthcare Distribution Management Association (“HDMA”), now known as the Healthcare

Distribution Alliance (“HDA”), an industry trade association for wholesalers and distributors.

Regulators have provided guidance to the association concerning suspicious order monitoring, and

the association has published guidance documents for its members on suspicious order monitoring,

reporting requirements, and the diversion of controlled substances.37 (HDMA, “Industry Compliance

Guidelines: Reporting Suspicious Orders and Preventing Diversion of Controlled Substances,”

(2008).

          226.   On September 27, 2006 and again on December 27, 2007, regulators sent letters to all

relevant opioid distributors providing guidance on suspicious order monitoring of controlled

substances and the responsibilities and obligations of the registrant to conduct due diligence on

controlled substance customers as part of a program to maintain effective controls against diversion.

          37
          See, e.g., HDA.org, Issues in Distribution, Prescription Drug Abuse and Diversion (2018)
(describing various resources “address[ing] the industry’s approach to countering diversion and
ensuring the safe supply of medicines to licensed entities across the supply chain”),
https://www.hda.org/issues/prescription-drug-abuse-and-diversion.


                                                  81
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 84 of 282. PageID #: 230




These letters reminded these distributors that they were required by law to exercise due diligence to

avoid filling orders that may be diverted into the illicit market. These letters explained that as part of

the legal obligation to maintain effective controls against diversion, the distributor is required to

exercise due care in confirming the legitimacy of all orders prior to filling.

        227.    Again, in 2007 regulators sent a follow-up letter to all relevant opioid distributors,

providing guidance and reinforcing the legal requirements outlined in prior correspondence. The

letter reminded distributors that suspicious orders must be reported when discovered and monthly

transaction reports of excessive purchases did not meet the regulatory criteria for suspicious order

reporting. The letter also advised distributors that they must perform an independent analysis of a

suspicious order prior to the sale to determine if controlled substances would likely be diverted, and

that filing a suspicious order and then completing the sale does not absolve the distributors from

legal responsibility.

        228.    The Distributor Defendants were also on notice that their own industry group, the

Healthcare Distribution Management Association, published Industry Compliance Guidelines titled

“Reporting Suspicious Orders and Preventing Diversion of Controlled Substances” that stressed the

critical role of each member of the supply chain in distributing controlled substances.

        229.    Opioid distributors themselves recognized the magnitude of the problem and, at least

rhetorically, their legal responsibilities to prevent diversion. They have made statements assuring

the public they are supposedly undertaking actions to curb the opioid epidemic.

        230.    For example, a Cardinal executive recently claimed that it uses “advanced analytics”

to monitor its supply chain; Cardinal assured the public it was being “as effective and efficient as

possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”

        231.    McKesson has publicly stated that it has a “best-in-class controlled substance
monitoring program to help identify suspicious orders” and claimed it is “deeply passionate
about curbing the opioid epidemic in our country.”


                                                   82
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 85 of 282. PageID #: 231




       232.    These assurances, in addition to obligations imposed by law, show that Distributor

Defendants understand and have undertaken a duty to protect the public against diversion from their

supply chains, and to curb the opioid epidemic.

       233.    However, despite these statements and duties, Distributor Defendants have knowingly

or negligently allowed diversion. Their misconduct has resulted in numerous civil fines and other

penalties recovered by government agencies, including actions by regulators.

       234.    In 2008, Cardinal Health paid a $34 million penalty to settle allegations about opioid

diversion taking place at seven warehouses around the United States. Again in 2012, Cardinal

Health reached an administrative settlement to resolve allegations of opioid diversion between 2009

and 2012 in multiple states. Even more recently, in December 2016, Cardinal Health settled similar

allegations of opioid diversion, misuse, abuse, overdose and death. During the investigation of

Cardinal Health, evidence was discovered that Cardinal Health’s own investigator warned the

company against selling opioids to a particular pharmacy in Florida that was suspected of opioid

diversion. Instead of heeding the investigator’s warning, Cardinal Health increased its opioid

shipments to this pharmacy by almost 2 million doses of oxycodone in just one year, while other

comparable pharmacies were receiving approximately 69,000 doses/year.

       235.    In 2007, AmerisourceBergen lost its license to send controlled substances from a

distribution center amid allegations that it was not controlling shipments of prescription opioids to

Internet pharmacies. Again in 2012, AmerisourceBergen was implicated for failing to protect

against the diversion of particular controlled substances into non-medically necessary channels. It

has been reported that AmerisourceBergen has been subpoenaed for documents in connection with a

grand jury proceeding seeking information on the company’s “program for controlling and

monitoring diversion of controlled substances into channels other than for legitimate medical,

scientific and industrial purposes.”
       236.    A recently uncovered 2011 internal email chain between high-ranking



                                                  83
       Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 86 of 282. PageID #: 232




AmerisourceBergen officials illustrates that AmerisourceBergen was aware of the opioid addiction

crisis it had a hand in creating and also reflects their culture of callous indifference to the crisis. In

the email titled, “Saw This And Had To Share It …” an AmerisourceBergen officials shared lyrics

set to the tune of the theme song from “The Beverly Hillbillies” television show but changed to the

words to, “Come and listen to a story about a man named Jed[;] A poor mountaineer, barely kept his

habit fed.” The lyrics refer to “Hillbilly Heroin,” a term for the potent opioid oxycodone. The lyrics

ostensibly mock the “bevy of pillbillies,” described as people traveling to Florida to purchase opioid

painkillers unlawfully. Julie Eddy, director of state government affairs at AmerisourceBergen,

commented, “I sent this to you a month or so ago - nice to see it recirculated.” Eddy added a smiling

emoji at the end of her email. By 2011, AmerisourceBergen’s senior management of regulatory

compliance possessed actual knowledge of interstate diversion of prescription opioids into the illicit

market. The 2011 email chain appears to be a tacit admission of the “pill migration” theory, which

AmerisourceBergen has opposed on both factual and legal grounds.38

          237.   In May 2008, McKesson entered into a settlement agreement with the federal
government to settle claims that McKesson failed to maintain effective controls against
diversion of controlled substances. McKesson allegedly failed to report suspicious orders
from rogue internet pharmacies around the country, resulting in millions of doses of
controlled substances being diverted. McKesson agreed to pay a $13.25 million civil fine.
After 2008, McKesson still failed to adhere to its duties and it was discovered that in
Colorado, from 2008 to 2013, it filled more than 1.6 million orders, for tens of millions of
controlled substances, but it reported just 16 orders as suspicious, and all were from a single
consumer. In early 2017, it was reported that McKesson agreed to pay $150 million to the
government in order to settle certain opioid diversion claims alleging that McKesson allowed
drug diversion at 12 distribution centers in 11 states.

38
     https://www.law360.com/health/articles/1276258/amerisource-hid-pillbillies-email-in-opioid-

                                                   84
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 87 of 282. PageID #: 233




       238.      Although these Distributor Defendants have been penalized by law enforcement

authorities, these penalties have not changed their conduct. They pay fines as a cost of doing

business in an industry which generates billions of dollars in revenue.

       239.      Plaintiff does not bring causes of action based on violations of federal statutes and

regulations. However, the existence of these complicated regulatory schemes shows Defendants’

intimate knowledge of the dangers of diversion of prescription opioids and the existence of a thriving

illicit market for these drugs. The Defendants breached their duties to Plaintiff despite this

knowledge and longstanding regulatory guidance of how to deter and prevent diversion of

prescription opioids.

       L.        The Pharmacy Defendants Understood But Violated Their Duties

       240.      Pharmacy Defendants Dillon Pharmacy, Walmart Pharmacy, and Walgreens

Pharmacy earned enormous profits by flooding Ford County with prescription opioids. Like the

Distributor Defendants, the Pharmacy Defendants are participants in the opioid supply chain and

wholesale drug distributors under Kansas law. The Pharmacy Defendants operate as licensed

wholesale distributors, distributing opioids and other pharmaceuticals to their own retail pharmacy

outlets.. As wholesale drug distributors, the Pharmacy Defendants, like the Distributor Defendants,

are obligated to prevent diversion of prescription opioids into illegal markets by, among other duties,

monitoring and reporting suspicious orders.

       241.      Because the Pharmacy Defendants have retail outlets that interface with the public,

however, they differ in significant ways from the Distributor Defendants. For example, the

Pharmacy Defendants are in a position to collect data and examine orders based on the patterns they

observe within the communities where they are located. They are also in a position to observe

certain “red flags” including: (1) prescriptions written by doctors who write significantly more

prescriptions (or prescriptions for higher doses or durations) for controlled substances compared to


mdl-attys-say.

                                                  85
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 88 of 282. PageID #: 234




other practitioners in the area; (2) prescriptions which should last for certain periods in legitimate

use, but are being refilled at shorter intervals; (3) prescriptions for antagonistic drugs, such as

depressants and stimulants, at the same time; (4) prescriptions that “look too good” or upon which

the prescriber’s handwriting is too legible; (5) prescriptions with quantities or dosages that differ

from typical medical usage; (6) prescriptions that use notations not complying with standard

abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or (8) prescriptions

containing variant handwriting. According to industry standards, if a pharmacy finds evidence of

prescription diversion, it must report these findings to the local Board of Pharmacy. The Pharmacy

Defendants had such evidence but failed to live up to their reporting obligations, which in turn

allowed opioid diversion to occur in Ford County.

       242.    The Pharmacy Defendants’ failure to prevent diversion was also due to their own

internal policies. Such policies included performance metrics and prescription quotas that directed

pharmacists to meet high goals and, thus, made it difficult, if not impossible, for them to apply with

applicable laws and regulations. These policies remained in place even as the Pharmacy Defendants

were aware that an opioid epidemic was unfolding.

       243.    The Pharmacy Defendants also failed to train their pharmacists and pharmacy

technicians adequately in handling opioid prescriptions. In particular, these employees did not

receive specific training both in identifying which prescriptions were suspicious and possibly phony,

and then in deciding what steps to take if the prescriptions were indeed illegal. The Pharmacy

Defendants did not respond appropriately when their employees raised concerns. Additionally, the

Pharmacy Defendants did not use the data available to them which, if used effectively, could have

prevented diversion. In particular, the Pharmacy Defendants could have analyzed this information to

determine: (a) the number of opioid prescriptions filled by individual pharmacies relative to the

population of the pharmacy’s community; (b) the increase in opioid sales relative to past years; (c)
the number of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid



                                                  86
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 89 of 282. PageID #: 235




sales relative to the increase in annual sales of other drugs. The data also could have been used to

identify doctors who were writing suspicious numbers of prescriptions and/or prescriptions in

suspicious amounts. If the Pharmacy Defendants did conduct any audits relative to opioid sales, then

they failed to take meaningful action.

       244.    As previously described in this Petition, the Pharmacy Defendants’ multiple failures

to prevent diversion have already resulted in government investigations and other enforcement

efforts. Notwithstanding these enforcement actions, the Pharmacy Defendants did not change their

practices. Rather, they sought to safeguard the opioid market, acting in concert with the Distributor

Defendants and Manufacturer Defendants. On information and belief, each of the Pharmacy

Defendants committed and continues to commit serious and flagrant violations of their duties under

Kansas law regarding—inter alia—recordkeeping and dispensing opioids to Ford County patients.

       M.      Each of the Defendant’s Misconduct Has Injured and Continues to Injure Ford

               County and Its Citizens

       245.    In addition to the significant social costs associated with illicit drug use, Defendants’

predatory and willful misrepresentations in manufacturing, marketing and/or distributing opioids

have imposed significant tax-based economic damages on Ford County, including tax revenue

expended incident to providing various public services that Ford County is required to provide to its

citizens under Kansas law, including healthcare- and crime-related costs. These revenues would not

have been expended but for the opioid crisis that Defendants willfully and foreseeably caused in

Kansas generally and Ford County specifically.

       246.    As Defendants’ opioids continue to wreak havoc on communities across the country

and in Kansas, including Ford County, citizens are becoming incapacitated by and/or dying from

opioids. Plaintiff has also been deprived of the benefits these citizens would have conferred to their

community but for Defendants’ wrongful conduct. Ford County has lost both the productivity of its
citizens who have been hospitalized, incarcerated, killed, incapacitated or otherwise impaired by



                                                  87
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 90 of 282. PageID #: 236




opioids as a result of Defendants’ deception described in this Petition, including the collection of

property and/or sales taxes these citizens would have paid had Defendants simply told the truth about

the risks and benefits of opioids for the long-term treatment of chronic pain.

               1.      Tax Revenue Expended—Healthcare-Related Costs

       247.    Today, prescription opioids are a leading cause of drug poisoning deaths in Kansas.

The Kansas Department of Health and Environment reports that between 2005 and 2016, between 70

and 120 deaths from prescription opioid poisoning occurred in Kansas each year.39

       248.    While Defendants reaped billions of dollars in profits from their deceptive conduct,

Ford County suffered—and continues to suffer—irreparable damage in the form of increased

healthcare-related costs, which Kansas law requires that Ford County pay to protect the health and

safety of its citizens. Ford County would not have incurred these costs had Defendants not

concealed the true dangers (and misrepresented the true benefits) of the relevant opioids.

       249.    In particular, each of the Defendants has directly and proximately caused Ford

County to divert precious tax dollars and local resources from its general and special revenue funds,

in order to address its citizens’ ever-increasing need for government-funded, opioid-related health

services, including: (a) hospital, clinic and emergency medical services; and (b) public health

services—e.g., environmental health, immunizations, Women, Infant, and Children (WIC), etc.

These services are provided and arranged by the Ford County Health Department (the “Health

Department”), which depends on the general and special revenues of Ford County in order to meet

the needs of the County’s citizens. Moreover, as a direct and proximate result of the Defendants’

misdeeds as described in this Petition, Ford County has been forced to make increasingly large

expenditures related to public health including funding the Ford County Health Department, health

clinics, mental health clinics, and other social service grants.

       39
          Kansas Department of Health and Environment, The Opioid Crisis – National and State
Perspectives,
http://www.kstrauma.org/presentations/Trauma_Presentation_Lakin_10.10.18_Updated_III.pdf.

                                                  88
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 91 of 282. PageID #: 237




                         (a)    Emergency Medical Treatment—Opioid-Related Emergencies

       250.      In 2014, the opioid-related inpatient stay rate in the State of Kansas was 104.3 per

100,000 population.40 Between 2009 to 2014, Kansas saw a 11.4% increase in opioid-related-

emergency department visits resulting in a rate of 81.8 per 100,000 population.41 Opioids have a

significant impact upon Kansas’s medical care system due to the volume of encounters involving

opioids, and the costs of these encounters. While the full economic burden of opioids upon the

healthcare system is difficult to precisely calculate, a reasonable measure may be derived using

hospital reported charges adjusted using national cost to charges ratios provided by the Hospital

Industry Data Institute. Using this approach, in 2017 the costs of opioid-related spending, be it

opioid use disorder or overdose death, was 1.4% of Kansas’ GDP or approximately $2.2 billion.42

From 2005 to 2016, over 90 deaths were recorded due to opioid overdoses.43 This constitutes 42%

of all drug overdose deaths in Ford County during that period of time.

       251.      The 10-Year Annual Average Age Adjusted Mortality Rate per 100,00 Population for

Ford County from 2009-2018 was 4.8 per 100,000 citizens.44 The actual rate is likely much higher in

that many drug poisoning death certificates in Ford County do not specify the drug involved. As

       40
           Agency for Healthcare Research and Quality, Opioid-Related Inpatient Stays and
Emergency Departments Visits by State, 2009-2014, fig. 2 (2017), https://www.hcup-
us.ahrq.gov/reports/statbriefs/sb219-Opioid-Hospital-Stays-ED-Visits-by-State.jsp.
       41
            Id., fig. 4 & 5.
       42
          Lily Lieberman, Missouri’s costs from opioid crisis exceed $14B, Kansas City Business
Journal (Mar. 28, 2019), https://www.bizjournals.com/kansascity/news/2019/03/28/missouri-s-costs-
from-opioid-crisis-exceed-14b.html.
       43
            Kansas Department of Health and Environment, 5-year Cumulative Count of Drug
Poisoning Deaths for Selected Drugs Among Poisoning Deaths by County, 2005-2009 & 2012-2016
(2017), http://www.preventoverdoseks.org/download/County_Level_Drug_Overdose_Deaths_2005-
2009.pdf.
       44
               Data     reported    to     the   Kansas      Office   of    Vital   Statistics:
https://public.tableau.com/profile/prevent.overdose.kansas#!/vizhome/MortalityDashboardV5_6/Mo
rtalityStory.


                                                  89
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 92 of 282. PageID #: 238




utilization of government-funded, opioid-related emergency medical services (“EMS”) has increased

in Ford County, Plaintiff has made—and continues to make—enormous contributions to provide its

citizens with these services.

          252.   On information and belief, the incidence of opioid-related hospitalizations in Ford

County—which can be tracked by various medical billing and documentation codes, such as the

Healthcare Common Procedure Coding System (“HCPCS”) and the American Medical

Association’s Current Procedural Terminology (CPT), including National Drug Codes (NDCs) and

International Classification of Diseases (“ICD”) codes—similarly increased during the relevant

period.

          253.   As the number of opioid-related hospital encounters in Ford County has ballooned,

the costs of treatment and supplies have also increased. This increase has strained—and continues to

strain—Plaintiff’s coffers, which provide the financial resources needed to respond appropriately to

an increasingly large demand for opioid-related emergency medical services in Ford County

including costs for furnishing necessary supplies such as providing Narcan and Naloxone,

specialized training, and an increase in the number of public safety staff such as law enforcement

officers, firefighters, emergency medical technicians, 911 dispatchers, jailers, and emergency

management.

          254.   At the same time, the costs of providing emergency medical services in opioid

emergencies have likewise increased.

                        (b)      County Tax Expenditures For Public Health Department

                                 Services

          255.   As a direct, proximate result of the Defendants’ misdeeds as described in this Petition,

the County’s allocations to the Health Department —which, inter alia, protects the health and safety

of the citizens of Ford County by providing and arranging for health and social services—have
increased significantly over the arc of the opioid epidemic in Ford County.



                                                   90
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 93 of 282. PageID #: 239




                2.      Tax Revenue Expended—Crime-Related Costs

       256.    In addition to imposing on Plaintiff significantly higher healthcare-related costs,

Defendants’ scheme has also damaged Plaintiff in the form of increased criminal justice costs,

including those associated with opioid-related arrests, investigations and other local services

provided by the sheriff’s office. Funds necessary to maintain the day-to-day operating expenses and

equipment for these programs come from Plaintiff’s general fund. Plaintiff’s opioid-related tax

expenditures in the criminal justice context are substantial.

       257.    Ford County has made increasingly large allocations to the following law

enforcement efforts, most of which were spent in direct response to the damage that the Defendants

caused and continue to cause in Ford County, including to: (a) the sheriff; (b) drug investigations and

diversion; (c) intensive supervision and probation; (d) correction services; and (e) court costs.

                       (a)     Ford County Sheriff’s Office

       258.    While the County has expended significant funds to abate the opioid epidemic

through increased investment in Ford County Sheriff’s Office, the epidemic—ignited and

continually fueled by Defendants’ ongoing misconduct—remains a constant threat to the health and

safety of Ford County’s citizens.

                       (b)     Opioid-Related          Investigations—Narcotics       and     Special

       Investigations Unit

       259.    The Ford County Sheriff’s Office, through its Narcotics and Special Investigations

Unit , investigates felony and misdemeanor crimes occurring in Ford County. Deputies assigned to

the Narcotics Unit work closely with other area law enforcement agencies to identify, investigate,

arrest, and prosecute illegal drug users, dealers, and traffickers in Ford County. Ford County has

suffered and continues to suffer sizeable expenditures to finance drug diversion and investigations.

                       (c)     Supervision and Probation
       260.    The County expends substantial funds to finance supervision and probation for adults



                                                  91
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 94 of 282. PageID #: 240




and juveniles including through its Sante Fe Community Corrections program that provides an Adult

Intensive Supervision Program and Juvenile Services, that includes a Juvenile Services Reporting

center that provides intensive supervision for juvenile offenders to shore up supervision that Court

Services cannot provide. In conjunction with their case management and probation supervision, the

Department of Community Corrections offers programs for drugs and alcohol, behavioral health, life

skills, and a positive pathways program.

                       (d)     Correction Services

       261.    Increases in jail and correctional services costs may also be attributed to Ford

County’s efforts to abate the ongoing public nuisance that the Defendants created and exacerbated in

Ford County. The Ford County budget for detention and related costs, e.g., sheriff’s costs and

juvenile detention costs, reflects a year over year increase.45

       262.    Ford County operates a correctional facility where it holds adults and juveniles on

criminal charges, probation violations, parole violations, or any combination thereof. When Ford

County holds inmates and juveniles, Ford County is obligated to ensure those being held receive

proper medical attention. While Kansas law authorizes Ford County to assess this medical attention

and the associated costs to inmates, including the families of juveniles. These individuals are often

indigent and unable to reimburse Ford County for the medical costs expended. This results in Ford

County and its citizens not only being obligated to cover the cost of boarding adults and juveniles

pending disposition of their criminal or juvenile matters, but the medical costs associated with

housing these individuals.

                       (e)     Court Costs

       263.    As the Defendants’ misconduct has continually frustrated the County’s efforts to

protect the health and safety of its citizens, the County has allocated and continues to allocate

       45
          Ford County, Kansas FY2020 Budget, https://admin.ks.gov/docs/default-source/municipal-
services/budgets/2020-budgets/ford-county/1-ford-county.pdf?sfvrsn=9e5684c7_2


                                                 92
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 95 of 282. PageID #: 241




substantial sums to finance the operation of the court system in Ford County.

                       (f)     Opioid-Related Arrests and Police Protection

       264.    The effects of Defendants’ deceptive marketing and distribution scheme has further

impacted Plaintiff by creating various public nuisances—including public health and safety

hazards—which Plaintiff is obligated to abate. Plaintiff has dedicated substantial tax dollars to

maintain the public safety and mitigate the incidence of drug and property crimes. Many of these

drug and property crimes are committed by opioid addicts who are both actively looking to feed their

addictions and suffering from serious medical and/or physical conditions typically associated with

opioid abuse, such as Hepatitis B and C, HIV, sexually transmitted diseases and methicillin-resistant

staphylococcus aureus (“MRSA”).

       265.    From 2000 to 2018, there were many recorded opioid overdose cases in Ford County,

each of which required the dedicated time of several law enforcement officers to perform various

tasks, including—but not limited to—investigations, arrests, bookings, report writing, evidence

impounding, scene security and follow up time. During the same time period, Ford County law

enforcement agencies made many arrests for drug-related charges, including for possession and/or

sale of opioids and opioid-related paraphernalia.

       266.    In abating the opioid nuisance to protect the health and safety of the citizens of Ford

County, Plaintiff has suffered pecuniary damages, proximately caused by Defendants’

misrepresentations and omissions of material fact.

                3.      Tax Revenue Forgone

       267.    Tax revenue forgone is a consequence of incapacitation. The principal events

associated with incapacitation include specialty treatment, hospitalization, incarceration and death.

As a result of such incapacitation, the citizens of Ford County who became addicted to Defendants’

opioids are unable to work or contribute to the financial health of Ford County.
                       (a)     Hospitalization



                                                 93
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 96 of 282. PageID #: 242




        268.     Patients who are hospitalized in connection with opioid-related emergencies are

likewise unable to contribute to the financial health of Ford County with their labor or through the

payment of taxes. Moreover, according to a 2018 report published by DHHS, opioid-related hospital

stays were consistently longer than those attributable to both hallucinogens and stimulants, including

cocaine and methamphetamine.46 Longer hospital stays are usually more expensive and lead to

larger losses of productivity for the hospitalized patient. Even if patients survive the immediate pre-

hospital event and are successfully stabilized at, and discharged from, the treating hospital, these

patients are frequently referred to specialty treatment facilities in Ford County and continue to be

incapacitated by their addictions.

                         (b)    Death

        269.     According to government estimates, some 50,000 Americans died from an opioid

overdose in 2016—i.e., 137 people per day, and roughly one person every 12 minutes.47 The

emotional devastation caused by Defendants’ despicable actions is impossible to quantify. However,

as described above, the purely economic consequences of the opioid epidemic can and have been

successfully tracked in terms of lives, lost productivity, healthcare, criminal justice and other costs.

Accordingly, in 2017 President Donald Trump’s Council of Economic Advisers estimated that the

economic consequences of the opioid drug epidemic cost the United States $504 billion in 2015

alone, prompting the President to declare the opioid crisis a nationwide public health emergency.

        270.     Plaintiff has also been substantially damaged by the opioid crisis. From 2012 to

2016, there were approximately 1,583 drug poisoning deaths in Kansas.48 Almost 85% of those

        46
           Laura Radel, Substance Use, the Opioid Epidemic, and the Child Welfare System: Key
Findings from a Mixed Methods Study, U.S. Dept. of Health and Human Services, Note 78 at p. 4
(Mar.                                         7,                                       2018),
https://aspe.hhs.gov/system/files/pdf/258836/SubstanceUseChildWelfareOverview.pdf.
        47
          Money.com, Here’s What I Would Cost to Fix the Opioid Crisis, According to 5 Experts
(Nov. 27, 2017), http://money.com/money/5032445/cost-fix-opioid-crisis/.
        48
             Kansas Prescription Drug and Opioid Misuse and Overdose Strategic Plan (Jul. 2018), p.

                                                  94
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 97 of 282. PageID #: 243




deaths involved either a pharmaceutical opioid (e.g., oxycodone, hydrocodone) or other controlled or

illicit substance, with opioid overdoses accounting for a considerable number of Kansas’ drug

poisoning deaths.49 Specifically, over 37% of drug poisoning deaths during that period were solely

due to pharmaceutical opioid misuse and does not take into account other forms of opioids such as

heroin or fentanyl.50 In 2016, there were 310 drug poisoning deaths in Kansas with 104 of those

deaths attributed to natural or semi-synthetic opioids and 36 deaths attributed to heroin.51 In 2017,

there were 11.8 drug overdose deaths per 100,000 persons in Kansas, with the majority of those

deaths attributed to opioid use. Many Ford County citizens died in recent years from opioid-related

causes and they would not have died but for the Defendants’ misconduct as described in this

Petition.

                              WAIVER OF CERTAIN CLAIMS FOR RELIEF

        271.       Ford County expressly disclaims and waives any and all right to recovery, whether

financial, injunctive, or equitable, relating to or arising out of the distribution by any person of any

product, or the provision of any service, pursuant to McKesson’s Pharmaceutical Prime Vendor

Contract (“PPV Contract”) with the United States Department of Veteran Affairs. Specifically,

Plaintiff expressly disclaims and waives any and all right to recover against any of the Distributor

Defendants under the terms and conditions of any PPV Contract or any similar contract.

        272.       Ford County further commits that it will not, in any forum, rely on or raise the PPV

Contract in connection with its allegations and/or prosecution in this matter.

        273.       Ford County agrees that should Defendants present evidence sufficient for the trier of


7,
http://www.preventoverdoseks.org/download/Kansas_Prescription_Drug_and_Opioid_Misuse_and_
Overdose_Strategic_Plan.pdf
        49
             Id.
        50
             Id.
        51
             Id.

                                                    95
     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 98 of 282. PageID #: 244




fact to determine that Plaintiff’s injuries were caused, in whole or in part, by the distribution of

products or provision of services through the PPV, Defendants are entitled to a reduction of their

liability proportionately by the extent to which the trier of fact determines that any injury to Plaintiff

was caused by goods or products distributed and/or services provided through the PPV.

V.      CAUSES OF ACTION

                                               COUNT I

                                        PUBLIC NUISANCE

                           Violations of K.S.A. 21-6204 and 22-3901(g)

                                      (Against All Defendants)

        274.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

        275.    Public nuisance, also known as common nuisance, is an inconvenience or

troublesome offense that annoys the whole community in general. State v. Barron, 15 P.2d 456, 457

(Kan. 1932). In a private action for public nuisance, the plaintiff must show damages peculiar to

themselves aside from those sustained by the public at large. Culwell v. Abbott Const. Co., 506 P.2d

1191, 1196 (Kan. 1973) (citing School Dist. No. 1, Clay Cnty v. Neil, 14 P. 253, 254 (Kan. 1887).

        276.    Each Defendant is liable for public nuisance because each Defendant’s conduct

described herein has caused an unreasonable and substantial interference with a right common to the

general public, which is the proximate cause of, and/or substantial factor leading to, Plaintiff’s harm,

inconvenience, or damage.

        277.    All Defendants, individually and acting through their employees and agents, have

created and continue to perpetuate and maintain the public nuisance to the citizens of Ford County

through the massive sale and distribution of millions of doses of highly addictive and commonly
abused prescription opioids. By oversupplying the community with highly addictive drugs and



                                                   96
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 99 of 282. PageID #: 245




facilitating their diversion for illicit purposes, in contravention of Kansas law, each Defendant has

injuriously affected rights common to the general public and undermined the public health, public

safety, public peace, public comfort, and public convenience of the residents of Ford County. The

public nuisance caused by Defendants’ acts and omissions has caused substantial annoyance,

inconvenience, and injury to the public.

           278.   Defendants misrepresented the safety and effectiveness of opioids for the treatment of

chronic pain, directly, through their control of third parties, and by acting in concert with third

parties.

           279.   Defendants’ conduct includes the failure to put in place effective controls and

procedures to guard against theft and diversion of opioids; to adequately design and operate a system

to disclose suspicious orders of opioids; and to report suspicious orders when suspected or

discovered.

           280.   Defendants also enabled and/or failed to prevent the illegal diversion of opioids into

the black market, including through pill mills and other dealers in Ford County, with actual

knowledge, intent, and/or reckless or negligent disregard that such pills would be illegally diverted

and abused.

           281.   By failing to maintain a closed distribution system that guards against diversion of

highly addictive drugs for illicit purposes, Defendants injuriously affected rights common to the

general public, specifically including public health, public safety, public peace, public comfort, and

public convenience.

           282.   Pursuant to K.S.A. 21-6204(a), knowingly causing or permitting a condition to exist

which injures or endangers the public health, safety, or welfare constitutes a nuisance. Further,

pursuant to K.S.A. 22-3901(g), the violation of any law regulating a controlled substance is a

common nuisance. Maintenance of such a nuisance is also proscribed by Kansas law. See K.S.A.
22-3905(a).



                                                   97
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 100 of 282. PageID #: 246




        283.   Through the acts described herein, Defendants intentionally, knowingly, and/or

unlawfully created a public/common nuisance.

        284.   The citizens of Plaintiff’s community have a common right to be free from conduct

that unreasonably jeopardizes the public health, welfare, and safety, and to be free from conduct that

creates a disturbance and reasonable apprehension of danger to person and property.

        285.   Defendants intentionally, knowingly, unlawfully, and recklessly manufactured,

marketed, distributed, and sold prescription opioids that Defendants knew, or reasonably should have

known, would be diverted, causing widespread distribution of highly addictive prescription opioids

in and/or to Plaintiff’s community, resulting in addiction and abuse, an elevated level of crime,

death, and injuries to the citizens of Plaintiff’s community, a higher level of fear, discomfort, and

inconvenience to the citizens of Plaintiff’s community, and direct costs to Plaintiff’s community.

        286.   Defendants unlawfully, knowingly, and/or intentionally caused and permitted highly

addictive drugs under their control to be diverted such as to injure the Plaintiff’s community and its

citizens.

        287.   Defendants unlawfully, knowingly, and/or intentionally distributed opioids or caused

opioids to be distributed without maintaining effective controls against diversion. Defendants’

failures in this regard include Defendants’ failure to effectively monitor for suspicious orders, report

suspicious orders, and/or stop shipment of suspicious orders. Such conduct was illegal.

        288.   Defendants’ actions have been of a continuing nature and have produced a significant

and continuing effect upon the public’s rights, including the public’s right to health and safety. The

opioids illegally distributed and possessed in the Plaintiff’s community have and will be diverted,

leading to continued abuse, addiction, crime, and public health costs.

        289.   Defendants’ actions have caused or substantially contributed to opioids becoming

widely available for use for non-medicinal purposes. Because of the Distributor Defendants’ unique
position within the distribution system, the close relationship between the Distributor Defendants to



                                                  98
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 101 of 282. PageID #: 247




the Manufacturer Defendants, and doctors such as the Prescriber Defendant, and the interchange of

information and strategy between all Defendants, opioid use has become so widespread and, but for

Defendants’ actions, and each of them, the enormous public health hazard of prescription opioid and

heroin overuse, abuse, and addiction would have been averted, or would have been much less severe.

       290.    Defendants had knowledge that opioids have a high incidence of diversion. Still,

Defendants recklessly and negligently filled suspicious orders of opioids, failed to report suspicious

orders of opioids, and failed to halt or refuse suspicious orders of opioids.

       291.    Defendants acted recklessly and negligently in failing to maintain effective controls

against diversion. Defendants acted intentionally and unlawfully in over-distributing opioids with

the knowledge that they were not to be used for any legitimate medical purpose. Defendants acted

with actual malice and/or a conscious disregard for the rights and safety of Plaintiff’s community, as

their actions had a substantial probability of creating substantial public harm.

       292.    Defendants’ acts and omissions, as described in this Petition, have caused or

contributed to the public nuisance in Plaintiff’s community which must be abated.

       293.    The acts and omissions occurred in Ford County and caused harm in Ford County.

Defendants intended for the citizens of Ford County, including its healthcare providers and patients,

to rely on the misrepresentations, fraud, and deception.

       294.    The effects of Defendants’ conduct are not slight or fleeting. Indeed, Defendants’

unlawful conduct has so severely impacted public health on every geographic and demographic level

that the public nuisance perpetuated by Defendants’ conduct is commonly referred to as a “crisis” or

an “epidemic.” It has cost people their lives and livelihoods, and otherwise caused serious injuries,

and a severe disruption of public peace, order, and safety.

       295.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff expended

public money to mitigate the damage caused by opioids in the community and repair the injuries
described in this Petition.



                                                 99
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 102 of 282. PageID #: 248




        296.    Plaintiff has suffered unique damages as a result of the public nuisance created by

Defendants due to Plaintiff’s unique position as a county within the State of Kansas. This harm

includes, but is not limited to:

                (a)     increased healthcare costs;

                (b)     increased incidence of Neonatal Abstinence Syndrome (“NAS”) and costs

        associated with resulting need for hospitalization and care of NAS affected infants;

                (c)     increased expenditure on emergency healthcare and medical services;

                (d)     lost value of productive and healthy community members and County

        employees;

                (e)     increased need for rehabilitative services, public welfare and service agencies,

        and drug abuse education and treatment offered by the County;

                (f)     increased availability of drugs for criminal use and resulting increase in

        criminal occurrences;

                (g)     increased incidence of heroin addicts who progressed from opioids to the use

        of heroin;

                (h)     increased number of addicted community members and resulting strain on law

        enforcement due to responses to overdoses, responses to domestic dispute calls, and

        responses to criminal occurrences;

                (i)     general interference with the enjoyment of life in Plaintiff’s community;

                (j)     increased expenditure on law enforcement, prosecutors, and prosecutions,

        court and court personnel, fees from correctional facilities, probation, and parole; and

                (k)     increased expenditure on public utilities, nuisance abatement, property

        damage repair, and code enforcement.

        297.    In addition to the loss of tax revenue expended and continuing to be expended by
Plaintiff to mitigate the damage caused by Defendants’ wrongful conduct as alleged herein, Plaintiff



                                                 100
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 103 of 282. PageID #: 249




has also been damaged in the form of tax revenue forgone as a result of incapacitation. As a result of

such incapacitation, those citizens of Ford County who became addicted to Defendants’ opioids are

unable to work or contribute to Plaintiff’s financial health through sales, property and other taxes.

       298.      Plaintiff seeks to recover damages for the economic losses (direct, incidental, or

consequential pecuniary losses) it has sustained as a result of Defendants’ fraudulent activity and

fraudulent misrepresentations.

       299.      Plaintiff seeks all legal and equitable relief as allowed by law, other than such

damages disavowed herein, including injunctive relief, restitution, disgorgement of profits,

compensatory damages, and any other damages which may be recovered herein.

       300.      The total amount of damages sought by Plaintiff under this count is in excess of

$75,000.00.

                                             COUNT II

                                           NEGLIGENCE

                                      (Against All Defendants)

       301.      Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       302.      Under Kansas law, a cause of action arises for negligence when a defendant owes a

duty to a plaintiff, breaches that duty, and proximately causes a resulting injury. Furthermore,

negligence is the lack of reasonable care and arises due to the failure to do something a reasonable

person would do, or doing something that a reasonable person would not do, under the

circumstances.

       303.      In addition, each Defendant owed a duty to make a reasonable disclosure of the nature

and probable consequences and dangers of the prescription of opioids, including but not limited to
the potential for misuse, abuse, and over-prescription of opioids, thus preventing intelligent informed



                                                 101
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 104 of 282. PageID #: 250




consent to the prescription of opioids.

       304.    Each Defendant owed a duty of care to Ford County, including but not limited to

taking reasonable steps, and using reasonable care, to prevent the misuse, abuse, and over-

prescription of opioids.

       305.    In violation of this duty, Defendants failed to take reasonable steps, or use reasonable

care, to prevent the misuse, abuse, and over-prescription of opioids by misrepresenting the risks and

benefits associated with opioids and by distributing and prescribing dangerous quantities of opioids.

       306.    As set forth above, the Manufacturer Defendants’ misrepresentations include falsely

claiming that the risk of opioid addiction was low, falsely instructing doctors and patients that

prescribing more opioids was appropriate when patients presented symptoms of addiction, falsely

claiming that risk-mitigation strategies could safely address concerns about addiction, falsely

claiming that doctors and patients could increase opioid doses without added risk, and falsely

claiming that long-term opioid use could actually restore function and improve a patient’s quality of

life without posing significant additional risks.     Each of these misrepresentations made by

Defendants violated the duty of care, and lacked reasonable care, to Ford County.

       307.     The Distributor Defendants knew of the serious problem posed by prescription

opioid diversion and were under a legal obligation to take reasonable steps and exercise reasonable

care to prevent diversion.

       308.    The Distributor Defendants negligently distributed suspiciously large quantities of

potent opioids and failed to report such distributions. As such, the Distributor Defendants violated

their duty of care, and failed to exercise reasonable care, by moving these highly addictive products

into Ford County in such quantities, facilitating misuse and abuse of opioids.

       309.    Plaintiff is not asserting a cause of action under the federal Controlled Substances Act

or other federal controlled substances laws, including—but not limited to—the federal laws
referenced above.



                                                102
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 105 of 282. PageID #: 251




       310.    Defendants are liable for negligence in that the Defendants violated applicable Kansas

laws, statutes, and regulations regarding in the manner in which they advertised, marketed, sold,

and/or distributed opioid products. Plaintiff is a member of the class meant to be protected by the

laws, statutes, and regulations which Defendants violated, and Plaintiff’s injuries were caused by the

violations.

       311.    As a direct and proximate cause of Defendants’ unreasonable and negligent conduct,

Ford County has suffered and will continue to suffer harm, and is entitled to damages in an amount

to be determined at trial which is in excess of $75,000.00.

                                            COUNT III

                                     NEGLIGENCE PER SE

                                     (Against All Defendants)

       312.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       313.    Defendants’ actions violate Kansas statutes designed to protect the public from harm.

In particular, Defendants’ actions violate the Kansas Uniform Controlled Substances Act, Kan. Stat.

§ 65-4101 et seq. (the “KUCSA”) and Kansas requirements regarding the dispensing of medication

under the Pharmacy Act of the State of Kansas contained in Chapter 65, Article 16 of the Kansas

Statutes Annotated (“Kansas Pharmacy Act”).

       314.    K.S.A. 65-4121 requires all registrants—which includes manufacturers and

distributors—under the KUCSA to maintain records in accordance with Kansas’s regulations on the

dispensing of medication.

       315.    K.S.A. 65-4122 states that certain controlled substances shall be distributed by a

registrant to another registrant only pursuant to an authorized order form.
       316.    K.S.A. 65-4127c makes it unlawful for any person required to comply with the



                                                 103
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 106 of 282. PageID #: 252




provisions of the KUCSA to violate said provisions.

       317.    Pursuant to applicable provisions of the Kansas Pharmacy Act, the Kansas State

Board of Pharmacy (“Pharmacy Board”) has duly promulgated rules and regulations which impose

specific requirements for dispensing medication.

       318.    K.A.R. 68-14-3 requires every wholesale distributor doing business in Kansas who

engages in wholesale distribution of prescription-only drugs to be registered with the Pharmacy

Board before engaging in wholesale distributions of prescription-only drugs.

       319.    K.A.R. 68-14-7(f) requires wholesale distributors to establish and maintain

inventories and records of all transactions regarding the receipt and distribution or other disposition

of prescription-only drugs.

       320.    K.A.R. 68-14-7(g) requires wholesale distributors to establish written policies and

procedure for identifying, recording, and reporting losses or thefts and for correcting errors and

inaccuracies in inventory.

       321.    K.A.R. § 68-20-15b requires written notification to the Pharmacy Board within one

day of any suspected diversion, theft or loss of any controlled substance and, upon completion, the

Pharmacy Board must be provided with a copy of completed regulator forms.

       322.    Defendants’ acts regarding the manufacture, distribution, and prescribing of opioids

described in detail above violated these laws. Ford County is within the class which these laws were

designed to protect, and the harm to Plaintiff is of the nature the laws were designed to prevent.

Consequently, Defendants’ violations constitute negligent acts per se.

       323.    As a direct and proximate cause of Defendants’ unreasonable and negligent conduct,

Ford County has suffered and will continue to suffer harm, and is entitled to damages in an amount

to be determined at trial which is in excess of $75,000.00.

                                            COUNT IV
                                              FRAUD



                                                 104
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 107 of 282. PageID #: 253




                               (Against Manufacturer Defendants)

       324.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       325.    At all relevant times mentioned herein, Manufacturer Defendants made many false

and untrue representations to healthcare providers, patients, and the public in their advertising which,

as set forth above, was misbranded, misleading, and contrary to the prescription label and said

representations were made with the intent that said representations would constitute the substantial

reason as to influence the prescription and use of opioids.

       326.    Manufacturer Defendants’ false and untrue representations include, but are not

limited to, claiming that the risk of opioid addiction was low, instructing doctors and patients that

prescribing more opioids was appropriate when patients presented symptoms of addiction, claiming

that risk-mitigation strategies could safely address concerns about addiction, claiming that doctors

and patients could increase opioid doses without added risk, and claiming that long-term opioid use

could actually restore function and improve a patient’s quality of life without posing significant

additional risks.

       327.    The representations made by the Manufacturer Defendants were known to be false

and untrue when made and have been presented as facts rather than the mere opinions of or puffery

of the Manufacturer Defendants.

       328.    Manufacturer Defendants intentionally made the representations to induce healthcare

providers to prescribe and patients to request and use opioids knowing that the increases in

prescriptions and usage would result in exponentially greater profits for the Manufacturer

Defendants.

       329.    Healthcare providers, patients, and the public relied upon the representations made by
Manufacturer Defendants, and it was reasonable for them to do so as the representations were made



                                                 105
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 108 of 282. PageID #: 254




in such a manner as to induce reliance and the belief that such representations are true or established

facts. Healthcare providers, patients, and the public acted upon those representations through the

prescription, request, and use of opioids in Ford County.

       330.    Based on Manufacturer Defendants’ false and untrue misrepresentations that were

reasonably relied upon, Ford County has sustained and will continue to sustain damages and is

entitled to damages in an amount in excess of $75,000.00.

                                             COUNT V

                                 FRAUD THROUGH SILENCE

                               (Against Manufacturer Defendants)

       331.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       332.    At all relevant times, the Manufacturer Defendants were aware of the risk of

addiction from the use of opioid products and the subsequent affects from the misuse, abuse and

over-prescription of opioids, especially those opioid products manufactured and distributed by

Manufacturer Defendants.       Manufacturer Defendants were in the possession of all relevant

information concerning the risk of addiction from the use of its opioid products, and it was not

possible through the exercise of reasonable diligence for any third-party including healthcare

providers, patients, the public, or Plaintiff to obtain that information.

       333.    The Manufacturer Defendants had a duty and obligation to inform healthcare

providers, patients and the public of the risk of addiction from the use of opioid products, and the

subsequent effects from the misuse, abuse and over-prescription of opioids, especially those opioid

products manufactured and distributed by Manufacturer Defendants.

       334.    The Manufacturer Defendants intentionally withheld the true risks of addiction from
the use of opioid products from healthcare providers, patients and the public. Instead of sharing the



                                                 106
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 109 of 282. PageID #: 255




true risks, Manufacturer Defendants intentionally misled healthcare providers, patients and the

public by minimizing the impacts from the prescription and usage of opioid products and instead

provided information that served to nullify, cancel out, and render meaningless any written warnings

about addiction, however inadequate, regarding the risk of addiction from the use of opioid products.

       335.    It was justifiable for healthcare providers, patients, and the public to rely upon

communications from Manufacturer Defendants concerning the risks of opioid usage, including

addiction, since Manufacturer Defendants were in the possession of all relevant information.

       336.    Based on Manufacturer Defendants’ failure to communicate the true risks associated

with the use of opioid products, Ford County has sustained and will continue to sustain damages and

is entitled to damages in an amount to be determined at trial which is in excess of $75,000.00.

                                            COUNT VI

                           NEGLIGENT MISREPRESENTATION

                              (Against Manufacturer Defendants)

       337.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       338.    At all relevant times mentioned herein, Manufacturer Defendants made many

misrepresentations to healthcare providers, patients, and the public in their advertising which, as

described in this Petition, was misbranded, misleading, and contrary to the prescription label.

       339.    Manufacturer Defendants are liable for negligent misrepresentation because they

supplied information in the course of their business to healthcare providers and patients, including

those in Ford County. Because the representatives referred to in this Petition were employed or were

supplied by Manufacturer Defendants, they had a duty to exercise reasonable and ordinary care and

skill, in accordance with applicable standards of conduct, to adequately warn healthcare providers
about the risks of addiction from the use of opioid products and to not over-promote and over-market



                                                107
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 110 of 282. PageID #: 256




opioid products so as to nullify, cancel out, and render meaningless any written warnings about

addiction, however inadequate, regarding the risk of addiction from the use of opioid products.

       340.    Manufacturer Defendants intentionally breached their duty to exercise reasonable and

ordinary care by negligently misrepresenting the true risks of addiction from the use of opioid

products to healthcare providers, patients and the public. Moreover, Manufacturer Defendants have

nullified, cancelled out or otherwise rendered meaningless any warnings in the labels about any

addiction risk as an intended result of marketing, sales and promotional efforts designed to stimulate

the use of opioid products for patients who should not have been using those drugs, or should have

used them only as a last resort after pursuing other alternatives, including less addictive drugs.

       341.    As a direct and proximate cause of Manufacturer Defendants’ unreasonable and

negligent conduct, Ford County has suffered and will continue to suffer harm, and is entitled to

damages in an amount in excess of $75,000.00.

                                           COUNT VII

                              NEGLIGENT FAILURE TO WARN

                              (Against Manufacturer Defendants)

       342.    Ford County re-alleges and incorporates by reference each of the allegations

contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this

Cause of Action.

       343.    At all relevant times, Manufacturer Defendants had a duty to exercise reasonable and

ordinary care and skill and in accordance with applicable standards of conduct in adequately warning

healthcare providers about the dangerous risk of addiction from the use of opioid products.

       344.    Manufacturer Defendants also owed a duty to make a reasonable disclosure of the

nature and probable consequences and dangers of the prescription of opioids, including but not

limited to the potential for misuse, abuse, and over-prescription of opioids, and breach of this duty
prevented intelligent informed consent to the prescription and use of opioids.



                                                 108
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 111 of 282. PageID #: 257




         345.   Although Manufacturer Defendants did provide written warnings on opioid product

containers in compliance with appropriate regulatory standards, Manufacturer Defendants’ actions in

over-promoting, over-marketing, and minimizing the risk of addiction served to nullify, cancel out

and render meaningless those written warnings about the risk of addiction from the use of such

opioid products.

         346.   Manufacturer Defendants did not act in the manner of a reasonably prudent

manufacturer and seller in that Manufacturer Defendants could and should have taken additional

precautions but instead placed their own financial interests over and above that of the health, safety

and welfare of patients and the public.

         347.   Manufacturer Defendants breached their duty to exercise reasonable and ordinary

care by affirmatively misleading and subsequently failing to warn healthcare providers about the true

risk of addiction from the use of opioid products. Moreover, Manufacturer Defendants have

nullified, cancelled out and otherwise rendered meaningless any warnings in the labels about any

addiction risk as an intended result of marketing, sales and promotional efforts designed to

stimulate the use of opioid products for patients who should not have been using those drugs, or

should have used them only as a last resort after pursuing other alternatives, including less addictive

drugs.

         348.   As a direct and proximate cause of Manufacturer Defendants’ unreasonable and

negligent conduct, Ford County has suffered and will continue to suffer harm, and is entitled to

damages in an amount in excess of $75,000.00.

                                           COUNT VIII

                                    UNJUST ENRICHMENT

                                     (Against All Defendants)

         349.   Ford County re-alleges and incorporates by reference each of the allegations
contained in the preceding paragraphs of this Petition for Damages as though fully alleged in this



                                                 109
      Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 112 of 282. PageID #: 258




Cause of Action.

         350.   A claim for unjust enrichment in Kansas requires the defendant to have received a

benefit from another with an appreciation or knowledge of the benefit received by the defendant, and

the acceptance of the benefit by the defendant under such circumstances as to make it inequitable for

the defendant to retain the benefit without payment of its value.

         351.   Each Defendant herein was required to take reasonable steps to prevent the misuse,

abuse, and over-prescription of opioids.

         352.   Rather than prevent or mitigate or wide proliferation of opioids into Ford County,

each Defendant instead chose to place its monetary interests first and each Defendant profited from

prescription opioids sold in Ford County.

         353.   Each Defendant also failed to maintain effective controls against the unintended and

illegal use of the prescription opioids it or he manufactured, distributed, or caused to be prescribed,

again choosing instead to place its monetary interests first.

         354.   Each Defendant therefore knowingly received and accepted the benefit from the

wrongful sale and distribution of prescription opioids to and within Ford County under

circumstances which make it inequitable for Defendants to retain such benefit without making

payment to Ford County.

         355.   Defendants have been unjustly enriched at the expense of Ford County. As a result,

Ford County is entitled to judgment disgorging each Defendant of such benefit in an amount in

excess of $75,000.00.

VI.      REQUEST FOR RELIEF

         WHEREFORE, Ford County prays for judgment as follows:

         1.     An Order declaring that Defendants have created a public nuisance in violation of

K.S.A. 22-3901 and other applicable state and common law;
         2.     An Order enjoining Defendants from performing any further acts in violation of



                                                 110
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 113 of 282. PageID #: 259




K.S.A. 22-3901 and other applicable state law;

       3.      An Order mandating that Defendants abate the public nuisance that they have created

in Ford County by paying the Board of County Commissioners of the County of Ford, State of

Kansas, the monetary sum determined at trial to be reasonably necessary and sufficient to abate such

public nuisance;

       4.      An Order that Defendants are negligent under Kansas law;

       5.      An Order that Defendants engaged in fraud under Kansas law;

       6.      An Order that Defendants have been unjustly enriched at the expense of Ford County

under Kansas law;

       7.      An Order that Ford County is entitled to recover all measures of damages permissible

under common law and the statutes identified herein in an amount in excess of $75,000 to be

determined at trial;

       8.      An Order that judgment be entered against Defendants in favor of Ford County;

       9.      Compensatory damages in a sum greater than $75,000 to be determined at trial; and

       10.     An Order awarding Plaintiff its taxable costs and such other and further relief as the

Court may deem just and appropriate under the circumstances.

                                              Respectfully submitted,


                                              _/s Gary D. White Jr.
                                              Gary D. White Jr. KS #15103
                                              Dustin L. Van Dyk KS #23313
                                              Palmer Law Group, L.L.P.
                                              2348 SW Topeka Blvd # 100
                                              Topeka, KS 66611
                                              Tel:     (785) 233-1836
                                              Fax:    (785) 233-3703
                                              Email: gwhite@jpalmerlaw.com
                                                       dvandyk@jpalmerlaw.com

                                              and



                                                 111
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 114 of 282. PageID #: 260




                                               Jeffrey H. Reeves (Pro Hac Vice to be Filed)
                                               Cheryl Priest Ainsworth (Pro Hac Vice to be
                                               Filed)
                                               Kevin N. Royer (Pro Hac Vice to be Filed)
                                               THEODORA ORINGHER PC
                                               535 Anton Boulevard, Ninth Floor
                                               Costa Mesa, California 92626-7109
                                               Tel: (714) 549-6200
                                               Fax: (714) 549-6201
                                               Email: jjreeves@tocounsel.com
                                                       cainsworth@tocounsel.com
                                                       kroyer@tocounsel.com

                                               Counsel for Plaintiff


VII.   DEMAND FOR JURY TRIAL

       Plaintiff The Board of County Commissioners of the County of Ford, State of Kansas hereby

demands a trial by jury on all causes of action, claims, and issues that are properly triable by a jury

under the Constitution and laws of the State of Kansas.



                                               _/s/ Gary D. White Jr.
                                               Gary D. White Jr. KS #15103
                                               Dustin L. Van Dyk KS #23313




                                                 112
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 115 of 282. PageID #: 261
                                                              ELECTRONICALLY FILED
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Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Actavis Inc
                                    4601 E Douglas Ave #700
                                    Wichita, KS 67218


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
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Documents to be served with the Summons:
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             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 116 of 282. PageID #: 262
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vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Actavis LLC
                                    4601 E Douglas Ave #700
                                    Wichita, KS 67218


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 117 of 282. PageID #: 263
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                                                                    2020 Sep 01 PM 4:16
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                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Actavis Pharma Inc
                                    4601 E Douglas Ave #700
                                    Wichita, KS 67218


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 118 of 282. PageID #: 264
                                                              ELECTRONICALLY FILED
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Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Allergan USA Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 119 of 282. PageID #: 265
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Amerisourcebergen Corporation
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 120 of 282. PageID #: 266
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Amerisourcebergen Drug Corporation
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 121 of 282. PageID #: 267
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 100 Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




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Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 122 of 282. PageID #: 268
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
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                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 110 LLC
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
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             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 123 of 282. PageID #: 269
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 122 LLC
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 124 of 282. PageID #: 270
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 132 LLC
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 125 of 282. PageID #: 271
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 200 Llc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 126 of 282. PageID #: 272
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 414 LLC
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 127 of 282. PageID #: 273
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health 5 LLC
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 128 of 282. PageID #: 274
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health Inc
                                    4400 Easton Commons Way #125
                                    Columbus, OH 43219


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 129 of 282. PageID #: 275
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cardinal Health Pharmacy Services LLC
                                    112 SW 7th Street #3C
                                    Topkea, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 130 of 282. PageID #: 276
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Cephalon Inc
                                    3411 Silverside Rd Tatnall #104
                                    Wilmington, DE 19810


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 131 of 282. PageID #: 277
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 01 PM 4:16
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Dillons Compaines
                                    2900 SW Wanamaker Drive #204
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/01/2020 04:23:36 PM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 132 of 282. PageID #: 278
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Endo Health Solutions Inc
                                    1209 Orange Street
                                    Wilmington, DE 19801


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
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Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 133 of 282. PageID #: 279
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Endo Pharmaceuticals Inc
                                    1209 Orange Street
                                    Wilmington, DE 19801


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 134 of 282. PageID #: 280
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Hikma Pharmaceuticals USA Inc
                                    120 South Central Ave
                                    Clayton, MO 63105


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 135 of 282. PageID #: 281
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Janssen Pharmaceutica Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 136 of 282. PageID #: 282
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Janssen Pharmaceuticals Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 137 of 282. PageID #: 283
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Johnson & Johnson
                                    1 Johnson & Johnson Plz
                                    Brunswick, NJ 08933


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 138 of 282. PageID #: 284
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    John Kapoor
                                    6610 N 29th Place
                                    Phoenix, AZ 85016


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 139 of 282. PageID #: 285
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Kroger Limited Partnership
                                    251 Little Falls Drive
                                    Wilmington, DE 19808


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 140 of 282. PageID #: 286
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mallinckrodt LLC
                                    120 South Central Ave
                                    Clayton, MO 63105


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 141 of 282. PageID #: 287
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mckesson Corporation
                                    2900 SW Wanamaker Drive
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 142 of 282. PageID #: 288
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mcqueary Bros Drug Company LLC
                                    2900 SW Wanamaker Drive #204
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 143 of 282. PageID #: 289
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Michael Babich
                                    18391 North 97th Place
                                    Scottsdale, AZ 85255


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 144 of 282. PageID #: 290
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mylan Institutional Inc
                                    208 So Lasalle Street #814
                                    Chicago, IL 60604


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 145 of 282. PageID #: 291
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mylan NV
                                    600 N 2nd Street #401
                                    Harrisburg, PA 17101


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 146 of 282. PageID #: 292
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Mylan Pharmaceuticals Inc
                                    1627 Quarrier Street
                                    Charleston, WV 25311


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 147 of 282. PageID #: 293
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Novartis Pharmaceuticals
                                    2900 SW Wanamaker Drive #204
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 148 of 282. PageID #: 294
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Ortho-Mcneil-Janssen Pharmaceuticals Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 149 of 282. PageID #: 295
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Par Pharmaceutical Companies
                                    28 Liberty Street
                                    New York, NY 10005


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 150 of 282. PageID #: 296
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Par Pharmaceuticals Inc
                                    28 Liberty Street
                                    New York, NY 10005


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 151 of 282. PageID #: 297
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Specgx LLC
                                    120 South Central Ave
                                    Clayton, MO 63105


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 152 of 282. PageID #: 298
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Teva Pharmaceuticals Usa
                                    4601 E Douglas Ave #700
                                    Wichita, KS 67218


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 153 of 282. PageID #: 299
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Walgreen Co
                                    2900 SW Wanamaker Drive #204
                                    Topeka, KS 66614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 154 of 282. PageID #: 300
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Walmart Inc
                                    112 SW 7th Street #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 155 of 282. PageID #: 301
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Watson Laboratories Inc
                                    Steve Anderson 26814 W Oraibi Dr
                                    Buckeye, AZ 85396-7944


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 156 of 282. PageID #: 302
                                                              ELECTRONICALLY FILED
                                                                    2020 Sep 02 AM 9:32
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Watson Pharmaceuticals Inc
                                    4601 E Douglas Ave #700
                                    Wichita, KS 67218


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 09:51:57 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 157 of 282. PageID #: 303
                                                              ELECTRONICALLY FILED
                                                                   2020 Sep 02 AM 11:51
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Walgreens #7817
                                    2900 SW Wanamaker Dr #204
                                    Topeka, KS 6614


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 11:56:15 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 158 of 282. PageID #: 304
                                                              ELECTRONICALLY FILED
                                                                   2020 Sep 02 AM 11:51
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Walmart #372
                                    112 SW 7th St #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 11:56:15 AM


Documents to be served with the Summons:
Petition for Damages
             Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 159 of 282. PageID #: 305
                                                              ELECTRONICALLY FILED
                                                                   2020 Sep 02 AM 11:51
Ford County Commissioners                               CLERK OF THE FORD COUNTY DISTRICT COURT
                                                              CASE NUMBER: 2020-CV-000090
vs.
Allergan PLC, et al. et. al.
                                                        SUMMONS



To the above-named Defendant/Respondent:


                                    Walmart East Lp
                                    112 SW 7th St #3C
                                    Topeka, KS 66603


You are hereby notified that an action has been commenced against you in this court. You are required to file your
answer or motion under K.S.A. 60-212, and amendments thereto, to the petition with the court and to serve a copy upon:


                                    Gary D White, Jr.
                                    Palmer Law Group, LLP
                                    2348 SW Topeka Blvd
                                    Topeka, KS 66611


within 21 days after service of summons on you.




Clerk of the District Court
Electronically signed on 09/02/2020 11:56:15 AM


Documents to be served with the Summons:
Petition for Damages
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 160 of 282. PageID #: 306
                                                             ELECTRONICALLY FILED
                                                              2020 Sep 16 AM 10:51
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Summons- Mallinckrodt PLC



                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-16 10:51:37   page 1 of 2
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 161 of 282. PageID #: 307




                IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                              CIVIL DEPARTMENT

BOARD OF COUNTY COMMISSIONERS OF           )
THE COUNTY OF FORD,                        )
STATE OF KANSAS                            )
                        Plaintiff,         )
                                           )
  vs.                                      )                Case No. 2020 CV 90
                                           )
ALLERGAN, PLC et. al. et. al..             )
                                           )
                               Defendant. )
__________________________________________ )

                                          SUMMONS

TO:    MALLINCKRODT, PLC
       3 Lotus Park
       The Causeway
       Staines-Upon-Thames, Surrey
       TW18
       3AG
       United Kingdom

       You are hereby notified that an action has been commenced against you in this Court.
You are required to file your Answer to the Petition with the Court and to serve a copy upon:

       Gary D. White, Jr.
       Dustin L. Van Dyk
       Palmer Law Group, L.L.P
       2348 Topeka Boulevard
       Topeka, Kansas 66611-1286
       Attorneys for Plaintiff

within thirty (30) days of service upon you. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the Petition. Any related claim which you may have
against the Plaintiff must be stated as a counter claim in your Answer, or you will be barred from
making such claim in any other action.

                                             CLERK OF THE DISTRICT COURT
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 162 of 282. PageID #: 308
                                                             ELECTRONICALLY FILED
                                                              2020 Sep 16 AM 10:51
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Summons- Allergan



                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-16 10:51:36   page 1 of 2
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 163 of 282. PageID #: 309




                IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                              CIVIL DEPARTMENT

BOARD OF COUNTY COMMISSIONERS OF           )
THE COUNTY OF FORD,                        )
STATE OF KANSAS                            )
                        Plaintiff,         )
                                           )
  vs.                                      )                Case No. 2020 CV 90
                                           )
ALLERGAN, PLC et. al. et. al..             )
                                           )
                               Defendant. )
__________________________________________ )

                                          SUMMONS

TO:    ALLERGAN PLC
       Clonshaugh Business &
       Technology Park
       Dublin, D17 E400, Ireland


       You are hereby notified that an action has been commenced against you in this Court.
You are required to file your Answer to the Petition with the Court and to serve a copy upon:

       Gary D. White, Jr.
       Dustin L. Van Dyk
       Palmer Law Group, L.L.P
       2348 Topeka Boulevard
       Topeka, Kansas 66611-1286
       Attorneys for Plaintiff

within thirty (30) days of service upon you. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the Petition. Any related claim which you may have
against the Plaintiff must be stated as a counter claim in your Answer, or you will be barred from
making such claim in any other action.

                                             CLERK OF THE DISTRICT COURT
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 164 of 282. PageID #: 310
                                                             ELECTRONICALLY FILED
                                                              2020 Sep 16 AM 10:51
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Summons- Teva Pharmaceutical Industries LTD



                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-16 10:51:37   page 1 of 2
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 165 of 282. PageID #: 311




                IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                              CIVIL DEPARTMENT

BOARD OF COUNTY COMMISSIONERS OF           )
THE COUNTY OF FORD,                        )
STATE OF KANSAS                            )
                        Plaintiff,         )
                                           )
  vs.                                      )                Case No. 2020 CV 90
                                           )
ALLERGAN, PLC et. al. et. al..             )
                                           )
                               Defendant. )
__________________________________________ )

                                          SUMMONS

TO:    TEVA PHARMACEUTICAL INDUSTRIES, LTD
       5 Basel Street
       PO Box 3190
       Petach, Tikva 4951033 Isreal

       You are hereby notified that an action has been commenced against you in this Court.
You are required to file your Answer to the Petition with the Court and to serve a copy upon:

       Gary D. White, Jr.
       Dustin L. Van Dyk
       Palmer Law Group, L.L.P
       2348 Topeka Boulevard
       Topeka, Kansas 66611-1286
       Attorneys for Plaintiff

within thirty (30) days of service upon you. If you fail to do so, judgment by default will be
taken against you for the relief demanded in the Petition. Any related claim which you may have
against the Plaintiff must be stated as a counter claim in your Answer, or you will be barred from
making such claim in any other action.

                                             CLERK OF THE DISTRICT COURT
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 166 of 282. PageID #: 312
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 167 of 282. PageID #: 313
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 168 of 282. PageID #: 314
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 169 of 282. PageID #: 315
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 170 of 282. PageID #: 316
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 171 of 282. PageID #: 317
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 172 of 282. PageID #: 318
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 173 of 282. PageID #: 319
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 174 of 282. PageID #: 320
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 175 of 282. PageID #: 321
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 176 of 282. PageID #: 322
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 177 of 282. PageID #: 323
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 178 of 282. PageID #: 324
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 179 of 282. PageID #: 325
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 180 of 282. PageID #: 326
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 181 of 282. PageID #: 327
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 182 of 282. PageID #: 328
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 183 of 282. PageID #: 329
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 184 of 282. PageID #: 330
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 185 of 282. PageID #: 331
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 186 of 282. PageID #: 332
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 187 of 282. PageID #: 333
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 188 of 282. PageID #: 334
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 189 of 282. PageID #: 335
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 190 of 282. PageID #: 336
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 191 of 282. PageID #: 337
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 192 of 282. PageID #: 338
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 193 of 282. PageID #: 339
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 194 of 282. PageID #: 340
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 195 of 282. PageID #: 341
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 196 of 282. PageID #: 342
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 197 of 282. PageID #: 343
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 198 of 282. PageID #: 344
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 199 of 282. PageID #: 345
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 200 of 282. PageID #: 346
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 201 of 282. PageID #: 347
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 202 of 282. PageID #: 348
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 203 of 282. PageID #: 349
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 204 of 282. PageID #: 350
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 205 of 282. PageID #: 351
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 206 of 282. PageID #: 352
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 207 of 282. PageID #: 353
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 208 of 282. PageID #: 354
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 209 of 282. PageID #: 355
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 210 of 282. PageID #: 356
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 211 of 282. PageID #: 357
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 212 of 282. PageID #: 358
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 213 of 282. PageID #: 359
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:04
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 214 of 282. PageID #: 360
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 215 of 282. PageID #: 361
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 216 of 282. PageID #: 362
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 217 of 282. PageID #: 363
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 218 of 282. PageID #: 364
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 219 of 282. PageID #: 365
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 220 of 282. PageID #: 366
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 221 of 282. PageID #: 367
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 222 of 282. PageID #: 368
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 223 of 282. PageID #: 369
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 224 of 282. PageID #: 370
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 225 of 282. PageID #: 371
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 226 of 282. PageID #: 372
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 227 of 282. PageID #: 373
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 228 of 282. PageID #: 374
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 229 of 282. PageID #: 375
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 230 of 282. PageID #: 376
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 231 of 282. PageID #: 377
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 232 of 282. PageID #: 378
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 233 of 282. PageID #: 379
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 234 of 282. PageID #: 380
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 235 of 282. PageID #: 381
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 236 of 282. PageID #: 382
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 237 of 282. PageID #: 383
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 238 of 282. PageID #: 384
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 239 of 282. PageID #: 385
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 240 of 282. PageID #: 386
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 241 of 282. PageID #: 387
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 242 of 282. PageID #: 388
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 243 of 282. PageID #: 389
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 244 of 282. PageID #: 390
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 245 of 282. PageID #: 391
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 246 of 282. PageID #: 392
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 247 of 282. PageID #: 393
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 248 of 282. PageID #: 394
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 249 of 282. PageID #: 395
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 250 of 282. PageID #: 396
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 251 of 282. PageID #: 397
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 252 of 282. PageID #: 398
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 253 of 282. PageID #: 399
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 254 of 282. PageID #: 400
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 255 of 282. PageID #: 401
                                      ELECTRONICALLY FILED
                                            2020 Sep 21 PM 3:21
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 256 of 282. PageID #: 402
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 257 of 282. PageID #: 403
                                      ELECTRONICALLY FILED
                                            2020 Sep 22 PM 3:13
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 258 of 282. PageID #: 404
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 259 of 282. PageID #: 405
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 260 of 282. PageID #: 406
                                      ELECTRONICALLY FILED
                                            2020 Sep 22 PM 3:13
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 261 of 282. PageID #: 407
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 262 of 282. PageID #: 408
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 263 of 282. PageID #: 409
                                      ELECTRONICALLY FILED
                                            2020 Sep 22 PM 3:13
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 264 of 282. PageID #: 410
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 265 of 282. PageID #: 411
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 266 of 282. PageID #: 412
                                      ELECTRONICALLY FILED
                                            2020 Sep 22 PM 3:13
                                CLERK OF THE FORD COUNTY DISTRICT COURT
                                      CASE NUMBER: 2020-CV-000090
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 267 of 282. PageID #: 413
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 268 of 282. PageID #: 414
     Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 269 of 282. PageID #: 415
                                                      ELECTRONICALLY FILED
                                                       2020 Sep 23 AM 9:58
                                           CLERK OF THE FORD COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2020-CV-000090




               IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                         SIXTEENTH JUDICIAL DISTRICT

                                              )
THE BOARD OF COUNTY
                                              )
COMMISSIONERS OF THE COUNTY
                                              )
OF FORD, STATE OF KANSAS,
                                              )
                                              )
                             Plaintiff,
                                              )         Case No. 2020-CV-90
                                              )
v.
                                              )
                                              )
ALLERGAN PLC, et al.,
                                              )
                                              )
                             Defendants.
                                              )


     NOTICE OF DISMISSAL WITHOUT PREJUDICE AS TO MYLAN DEFENDANTS

        COMES NOW the plaintiff, The Board of County Commissioners of the County of Ford,

State of Kansas, by and through their attorney, Gary D. White, Jr., of Palmer Law Group, L.L.P.,

and pursuant to K.S.A. 60-241(a)(1)(A)(i) hereby dismisses without prejudice its claims only as

to defendants Mylan N.V., Mylan Pharmaceuticals, Inc. and Mylan Institutional, Inc. Plaintiff’s

claims against the remaining defendants remain pending.

                                    Respectfully submitted,

                                    /s/ Gary D. White, Jr.
                                    GARY D. WHITE, JR., #15103
                                    Palmer Law Group, L.L.P.
                                    2348 S.W. Topeka Blvd.
                                    Topeka, KS 66611-1286
                                    gwhite@jpalmerlaw.com
                                    (785) 233-1836 (Office)
                                    (785) 233-3703 (Fax)
                                    Attorney for Plaintiff




                                                  1
      Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 270 of 282. PageID #: 416
                                                ELECTRONICALLY FILED
                                                      2020 Sep 28 PM 12:12
                                           CLERK OF THE FORD COUNTY DISTRICT COURT
                                                 CASE NUMBER: 2020-CV-000090
HINKLE LAW FIRM LLC
1617 North Waterfront Parkway, Suite 400
Wichita, Kansas 67206
Telephone:      316-267-2000
Facsimile:      316-630-8466

                         IN THE SIXTEENTH JUDICIAL DISTRICT
                        DISTRICT COURT, FORD COUNTY, KANSAS
                                  CIVIL DEPARTMENT

THE BOARD OF COUNTY
COMMISSIONERS OF THE COUNTY OF
FORD, STATE OF KANSAS,
           Plaintiff,                             CASE NO. 2020-CV-000090

vs.

ALLERGAN PLC, et al,
          Defendants.

(PURSUANT TO K.S.A. CHAPTER 60)

                                     ENTRY OF APPEARANCE

         COMES NOW, Sean D. Walsh of Hinkle Law Firm LLC, and hereby enters his

appearance as Attorney for Defendants Walmart Inc.; Wal-Mart Stores East, LP; and Wal-Mart

Stores East, LP d/b/a Walmart Supercenter #372 in the above-captioned matter.

                                            Respectfully Submitted,

                                            HINKLE LAW FIRM LLC
                                            1617 North Waterfront Parkway, Suite 400
                                            Wichita, Kansas 67206
                                            Telephone:    316-267-2000
                                            Facsimile:    316-630-8466
                                            E-mail:       swalsh@hinklaw.com


                                            By /s/ Sean D. Walsh
                                            Sean D. Walsh, SC No. 25052
                                            Attorneys for Walmart Inc.; Wal-Mart Stores East,
                                            LP; and Walmart Supercenter #372
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 271 of 282. PageID #: 417



IN THE SIXTEENTH JUDICIAL DISTRICT, DISTRICT COURT, FORD COUNTY, KANSAS, CIVIL DEPARTMENT
CASE NO. 2020-CV-000090; The Board of County Commissioners of the County of Ford, State of Kansas
ENTRY OF APPEARANCE
Page 2 of 2




                                     CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of September, 2020, a true and correct copy of the
above and foregoing ENTRY OF APPEARANCE was submitted to the Court’s E-Filing system,
which will send a notice of electronic filing to the participating parties including:

          Gary D. White Jr., KS #15103
          Dustin L. Van Dyk, KS #23313
          Palmer Law Group, L.L.P.
          2348 SW Topeka Boulevard, Suite #100
          Topeka, Kansas 66611
          Telephone: 785-233-1836
          Facsimile: 785-233-3703
          E-mail: gwhite@jpalmerlaw.com
          E-mail: dvandyk@jpalmerlaw.com
          Attorneys for Plaintiff

          Jeffrey H. Reeves
          Cheryl Priest Ainsworth
          Kevin N. Royer
          Theodora Oringher PC
          535 Anton Boulevard, Ninth Floor
          Costa Mesa, California 92626-7109
          Telephone: 714-549-6200
          Facsimile: 714-549-6201
          E-mail: jjreeves@tocounsel.com
          E-mail: cainsworth@tocounsel.com
          E-mail: kroyer@tocounsel.com
          Attorneys for Plaintiff

 And the original was filed with the Court using the eFlex System at:

          Ford County District Court
          Rhonda Whitney, Clerk of the Court
          101 West Spruce
          P.O. Box 197
          Dodge City, Kansas 67801
          https://filer.kscourts.org/

                                                              By /s/ Sean D. Walsh
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 272 of 282. PageID #: 418
                                                             ELECTRONICALLY FILED
                                                              2020 Sep 28 PM 12:19
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Clerk's Order Extending Time to Answer or
                           Otherwise Plead


                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-28 12:18:58   page 1 of 4
      Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 273 of 282. PageID #: 419



HINKLE LAW FIRM LLC
1617 North Waterfront Parkway, Suite 400
Wichita, Kansas 67206
Telephone:      316-267-2000
Facsimile:      316-630-8466

                         IN THE SIXTEENTH JUDICIAL DISTRICT
                        DISTRICT COURT, FORD COUNTY, KANSAS
                                  CIVIL DEPARTMENT

THE BOARD OF COUNTY
COMMISSIONERS OF THE COUNTY OF
FORD, STATE OF KANSAS,
           Plaintiff,                               CASE NO. 2020-CV-000090

vs.

ALLERGAN PLC, et al,
          Defendants.

(PURSUANT TO K.S.A. CHAPTER 60)

      CLERK’S ORDER EXTENDING TIME TO ANSWER OR OTHERWISE PLEAD

         Pursuant to K.S.A. § 60-212(a)(1)(A)(i) and Rule 113 of the Supreme Court of Kansas,

Rules Relating to District Courts, Defendants Walmart Inc.; Wal-Mart Stores East, LP; and Wal-

Mart Stores East, LP d/b/a Walmart Supercenter #372 should be and hereby are granted fourteen

(14) additional days, until October 15, 2020, in which to Answer or otherwise plead herein.

         Submitted on this 28th day of September, 2020, and effective as of the electronic file

stamp date and time by the Clerk of the District Court, Ford County Sixteenth Judicial District.
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 274 of 282. PageID #: 420



IN THE SIXTEENTH JUDICIAL DISTRICT, DISTRICT COURT, FORD COUNTY, KANSAS, CIVIL DEPARTMENT
CASE NO. 2020-CV-000090; The Board of County Commissioners of the County of Ford, State of Kansas
CLERK’S ORDER EXTENDING TIME TO ANSWER OR OTHERWISE PLEAD
Page 2 of 3


                                                     Respectfully Submitted,

                                                     HINKLE LAW FIRM LLC
                                                     1617 North Waterfront Parkway, Suite 400
                                                     Wichita, Kansas 67206
                                                     Telephone:    316-267-2000
                                                     Facsimile:    316-630-8466
                                                     E-mail:       swalsh@hinklaw.com


                                                     By /s/ Sean D. Walsh
                                                     Sean D. Walsh, SC No. 25052
                                                     Attorneys for Walmart Inc.; Wal-Mart Stores East,
                                                     LP; and Walmart Supercenter #372

                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of September, 2020, a true and correct copy of the
above and foregoing CLERK’S ORDER EXTENDING TIME TO ANSWER OR OTHERWISE
PLEAD was submitted to the Court’s E-Filing system, which will send a notice of electronic
filing to the participating parties including:

          Gary D. White Jr., KS #15103
          Dustin L. Van Dyk, KS #23313
          Palmer Law Group, L.L.P.
          2348 SW Topeka Boulevard, Suite #100
          Topeka, Kansas 66611
          Telephone: 785-233-1836
          Facsimile: 785-233-3703
          E-mail: gwhite@jpalmerlaw.com
          E-mail: dvandyk@jpalmerlaw.com
          Attorneys for Plaintiff
    Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 275 of 282. PageID #: 421



IN THE SIXTEENTH JUDICIAL DISTRICT, DISTRICT COURT, FORD COUNTY, KANSAS, CIVIL DEPARTMENT
CASE NO. 2020-CV-000090; The Board of County Commissioners of the County of Ford, State of Kansas
CLERK’S ORDER EXTENDING TIME TO ANSWER OR OTHERWISE PLEAD
Page 3 of 3


          Jeffrey H. Reeves
          Cheryl Priest Ainsworth
          Kevin N. Royer
          Theodora Oringher PC
          535 Anton Boulevard, Ninth Floor
          Costa Mesa, California 92626-7109
          Telephone: 714-549-6200
          Facsimile: 714-549-6201
          E-mail: jjreeves@tocounsel.com
          E-mail: cainsworth@tocounsel.com
          E-mail: kroyer@tocounsel.com
          Attorneys for Plaintiff

 And the original was filed with the Court using the eFlex System at:

          Ford County District Court
          Rhonda Whitney, Clerk of the Court
          101 West Spruce
          P.O. Box 197
          Dodge City, Kansas 67801
          https://filer.kscourts.org/

                                                             By /s/ Sean D. Walsh
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 276 of 282. PageID #: 422
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                                                               2020 Sep 28 PM 2:04
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Order Extending Time to Plead



                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-28 14:04:11   page 1 of 4
  Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 277 of 282. PageID #: 423




                   IN THE SIXTEENTH JUDICIAL DISTRICT
                DISTRICT COURT OF FORD COUNTY, KANSAS
                            CIVIL DEPARTMENT

THE BOARD OF COUNTY             )
COMMISSIONERS OF THE COUNTY     )
OF FORDM STATE OF KANSAS,       )
                                )
                  Plaintiff,    )
v.                              )         Case No. 2020-CV-000090
                                )
ALLERGAN PLC                    )
ALLERGAN USA, INC.              )
ACTAVIS INC                     )
WATRSON PHARMACEUTICALS, INC )
n/k/a ACTAVIS INC               )
WATSON LABORATORIES, INC.       )
ACTAVIS LLC                     )
ATCAVIS PHARMA, INC f/k/a       )
WATSON PHARMA, INC.             )
TEVA PHARMECEUTICAL             )
INDUSTRIES LTD                  )
TEVA PHARMACEUTICALS USA        )
INC.                            )
CEPHALON, INC                   )
ENDO HEALTH SOLUTIONS INC       )
ENDO PHARMACEUTICALS, INC       )
PAR PHARMACEUTICALS, INC        )
JANSSEN PHARMECEUTICALS, INC. )
ORTHO-MCNEIL-JANSSEN            )
PHARMACEUTICALS, INC. n/k/a     )
JANSSEN PHARMACEUTICALS INC. )
JANSSEN PHARMACEUTICA, INC n/k/a)
JANSSEN PHARMACEUTICALS, INC. )
JOHNSON & JOHNSON               )
MALLINCKRODT, PLC               )
MALLINCKRODT LLC                )
SPECGX LLC                      )
MYLAN N.V.                      )
MYLAN PHARMACEUTICALS, INC.     )
MYLAN INSTITUTIONAL, INC.       )
HKMA PHARMACEUTICALS USA        )
INC. f/k/a WEST-WARD            )
PHARMACEUTICALS CORP.           )
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 278 of 282. PageID #: 424




JOHN KAPOOR, an individual       )
MICHAEL BABICH, an individual    )
AMERISOURCEBERGEN                )
CORPORATION                      )
MCQUEARY BROS. DRUG COMPANY )
LLC                              )
CARDINAL HEALTH, INC             )
CARDINAL HEALTH 5, LLC           )
CARDINAL HEALTH, 100, INC.       )
CARDINAL HEALTH, 100, LLC        )
CARDINAL HEALTH 110, LLC         )
CARINDAL HEALTH 122, LLC         )
CARDINAL HEALTH 132, LLC         )
CARDINAL HEALTH 200, LLC         )
CARDINAL HEALTH 414, LLC         )
CARDINAL HEALTH PHARMACY         )
SERVICES, LLC                    )
NOVARTIS PHARMACEUTICALS         )
CORPORATION f/k/a SANDOZ, INC.   )
WALGREEN CO.                     )
WANGREEN CO. dba WALGREENS       )
#7817                            )
WALMART INC.                     )
WAL-MART STORES EAST, LP         )
WAL-MART STORES EAST, LP dba     )
WALMART SUPERCENTER #372         )
KROGER LIMITED PARTNERSHIP I     )
DILLON COMPANIES, LLC            )
DOES 1 through 1000,             )
                                 )
                     Defendants. )
                                 )
Pursuant to K.S.A. Chapter 60

                          ORDER EXTENDING TIME TO PLEAD

       Defendant, Walgreen Co., is granted fourteen (14) additional calendar days from the 30th

day of September, 2020, until the 14th day of October, 2020, in which to answer or otherwise

plead to the Plaintiff’s Petition. By Order of the Clerk, pursuant to Supreme Court Rule 113.

       This Order is effective as of the date and time shown on the electronic file stamp.



                                              -2-
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 279 of 282. PageID #: 425




APPROVED:

FOULSTON SIEFKIN LLP
1551 N. Waterfront Parkway, Suite 100
Wichita, KS 67206-4466
316-291-9788
866-559-6540
jdegraffenreid@foulston.com

  /s/ Jeff P. DeGraffenreid
  Jeff P. DeGraffenreid, KS #15694
  Attorneys for Defendants




                                        -3-
Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 280 of 282. PageID #: 426
                                                             ELECTRONICALLY FILED
                                                               2020 Sep 28 PM 3:04
                                                   CLERK OF THE FORD COUNTY DISTRICT COURT
                                                         CASE NUMBER: 2020-CV-000090




Court:                     Ford County District Court

Case Number:               2020-CV-000090

Case Title:                Ford County Commissioners vs. Allergan PLC, et al.

Type:                      Clerk's Extension of Time



                                                       SO ORDERED.




                                                       /s/ Michelle Adams, Deputy Clerk



Electronically signed on 2020-09-28 15:04:33   page 1 of 3
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 281 of 282. PageID #: 427




GILLILAND GREEN LLC
Attorneys at Law
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Hutchinson, KS 67504-2977
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Facsimile (620) 669-9426
tdower@gglawks.com
tparkins@gglawks.com

                IN THE DISTRICT COURT OF FORD COUNTY, KANSAS
                          SIXTEENTH JUDICIAL DISTRICT

THE BOARD OF COUNTY COMMISSION OF )
THE COUNTY OF FORD, STATE OF KANSAS, )
                                     )
     Plaintiff,                      )
vs.                                  )                       Civil Action No. 2020-CV-000090
                                     )
ALLERGAN PLC, et al.,                )
                                     )
     Defendants.                     )
                                     )


                              CLERK'S EXTENSION OF TIME

       Pursuant to K.S.A. § 60-212(a)(1)(A)(i) and Rule 113 of the Supreme Court of Kansas,

Rules Relating to District Courts, and upon the timely application of the Defendant Dillon

Companies, LLC, the initial time to plead to the petition in this action is hereby extended fourteen

days from September 30, 2020, to October 14, 2020.

                                                     CLERK OF THE DISTRICT COURT OF
                                                     FORD COUNTY, KANSAS

APPROVED BY:

GILLILAND GREEN LLC

By /s/ Thomas A. Dower
  Thomas A. Dower, SC# 12894
  Torrance R. Parkins, SC #26014
  Attorneys for Defendant Dillon Companies, LLC
   Case: 1:20-op-45263-DAP Doc #: 5 Filed: 09/29/20 282 of 282. PageID #: 428




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 28th day of September, 2020, I electronically filed the foregoing

document with the Clerk of the Court. Further, I served a true and correct copy of the same by

electronic mail and/or via the eFlex notification system to:

       Sean D. Walsh
       HINKLE LAW FIRM LLC
       1617 North Waterfront Parkway, Suite 400
       Wichita, Kansas 67206
       swalsh@hinklaw.com
       Attorneys for Walmart Inc.; Wal-Mart Stores East, LP;
       and Walmart Supercenter #372

       Gary D. White Jr., KS #15103
       Dustin L. Van Dyk, KS #23313
       Palmer Law Group, L.L.P.
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       Topeka, Kansas 66611
       gwhite@jpalmerlaw.com
       dvandyk@jpalmerlaw.com
       Attorneys for Plaintiff


                                                      /s/Thomas A. Dower
                                                      Thomas A. Dower, SC #12894




                                                  2
